Case 10-06112          Doc 1-8     Filed 09/13/10 Entered 09/13/10 11:15:41                Desc Motion
                                     to Remand Page 1 of 301




                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

In re:                                           )        Misc. No. 10-06502-JEM
                                                 )
MINOR FAMILY HOTELS, LLC,                        )        Related Chapter 11 Case:
                                                 )        Bankr. W.D. Va. No. 10-62543-WEA
         Debtor.                                 )
                                                 )
                                                 )
SPECIALTY FINANCE GROUP LLC,                     )        (Removed from
                                                 )        State Court of Fulton County
         Plaintiff,                              )        Case No. 2009EV006754F)
                                                 )
         v.                                      )
                                                 )
MINOR FAMILY HOTELS, LLC and                     )
HALSEY MINOR,                                    )
                                                 )
         Defendants.                             )

              SPECIALTY FINANCE GROUP LLC’S EMERGENCY MOTION
              TO REMAND AND INCORPORATED MEMORANDUM OF LAW

         Plaintiff Specialty Finance Group LLC (“SFG”) hereby files its Emergency Motion to

Remand and Incorporated Memorandum of Law (“Motion”), respectfully showing this Court as

follows.1


    1
      SFG understands that Debtor recently filed a Motion for Inter-District Transfer (“Transfer Motion”) on
September 4, 2010. [Doc. 2.] SFG’s Remand Motion should be decided before Debtor’s Transfer Motion, as
SFG’s Motion poses a threshold jurisdictional issue. See, e.g., Rayonier Wood Prods., LLC v. ScanWare,
Inc. (In re ScanWare, Inc.), 411 B.R. 889, 898 (Bankr. S.D. Ga. 2009) (motion to remand should be decided
before motion to transfer). If SFG’s Remand Motion is granted, Debtor’s Transfer Motion will be moot. If
SFG’s Motion is not granted, SFG anticipates responding to Debtor’s Transfer Motion within the timeframe
provided under the applicable rules.
Case 10-06112        Doc 1-8     Filed 09/13/10 Entered 09/13/10 11:15:41              Desc Motion
                                   to Remand Page 2 of 301




                               I. PRELIMINARY STATEMENT

       This action should be remanded to the Georgia state court, where it is on the verge of finally

being resolved, because the primary relevant factors under 28 U.S.C. § 1452(b) dictate remand,

including the following: (1) the extensive proceedings to date in the Georgia state court, (2) the fact

that Georgia state law controls the parties’ claims, (3) the interests of comity and judicial economy

in allowing the Georgia state court to resolve this action, as opposed to having a new court expend

judicial resources in connection with getting up to speed in this action, (4) the avoidance of

duplicative efforts by the parties, and (5) MFH and Mr. Minor’s improper forum shopping.

       First, there have been extensive proceedings to date in the Georgia state court. During the

past year and a half since this action’s inception, the parties have exchanged hundreds of written

discovery requests, produced and reviewed hundreds of thousands of documents and taken more

than thirty-five (35) depositions. Fact discovery has been completed and expert discovery is nearing

completion. The parties have filed motions and cross-motions for summary judgment, and the

Georgia state court has scheduled oral argument on the pending motions for summary judgment to

take place in less than six weeks, on October 20-21, 2010. To the extent this action is not fully

resolved at summary judgment, the Georgia state court has specially set this case for a three-week

trial beginning in less than two months, on November 1, 2010.

       Second, state law controls the parties’ claims. This dispute arises from a $23.69 million loan

made by SFG to MFH and guaranteed by Mr. Minor. The loan documents provide that Georgia law

governs the claims between the parties, and further provide that MFH and Minor consented to the




                                                  2
Case 10-06112        Doc 1-8     Filed 09/13/10 Entered 09/13/10 11:15:41             Desc Motion
                                   to Remand Page 3 of 301




jurisdiction of Georgia courts in connection with same. SFG’s claims, as well as MFH and Minor’s

counterclaims, are all state law claims governed by Georgia law.

       Third, the interests of comity and judicial economy likewise dictate that this action should be

remanded to the Georgia state court. The Georgia state court has invested an incredible amount of

judicial resources familiarizing itself with the relevant factual and legal issues in connection with

managing this action and moving it toward a fair and prompt resolution. During the past year and a

half, the Georgia state court has ruled on approximately ten (10) separate discovery motions, held

four (4) separate status conferences/hearings, and entered three (3) detailed case management orders

in connection with ensuring the orderly administration and resolution of this action. Judicial

resources should not be unnecessarily expended educating a new court on all of these matters.

       Fourth, remanding this case not only will conserve valuable judicial resources, but also will

help avoid duplication of effort by the parties. To date, SFG has spent almost $3 million in

attorneys’ fees and expenses in connection with litigating this action, primarily responding to MFH

and Minor’s efforts to expand and delay it. A significant portion of these fees and expenses have

been incurred in connection with educating the Georgia state court with regard to the various factual

and legal issues relating to this dispute. SFG should not be forced to duplicate these efforts in

connection with bringing a new court up to speed, especially when it is so close to having this matter

resolved by the Georgia state court.

       Finally, this case should be remanded because it is a clear case of forum shopping by Minor

and MFH. While MFH and Minor have previously attempted to prevent this action from being




                                                  3
Case 10-06112         Doc 1-8    Filed 09/13/10 Entered 09/13/10 11:15:41             Desc Motion
                                   to Remand Page 4 of 301




litigated in the Georgia state court (through a meritless motion to stay and similarly baseless motion

to dismiss), MFH’s most recent tactic -- to declare bankruptcy on the eve of the trial in this action,

improperly remove it to federal court, and then seek to have it transferred to Virginia -- is

particularly egregious. MFH’s eleventh-hour removal is a desperate attempt at forum shopping and

a last-ditch effort to thwart SFG’s ongoing attempts to finally conclude this matter. This is further

confirmed by the timing of MFH’s bankruptcy filing, as there has been no recent change in MFH’s

financial condition that would warrant a bankruptcy filing at this time. Accordingly, it should be

rejected.

         For all of the above reasons, and as set forth in more detail below, this Court should remand

this case to the Georgia state court.

                                 II. FACTUAL BACKGROUND

A.       MFH Obtains a Loan From SFG and Then Defaults.

         More than two and a half years ago, in March of 2008, SFG loaned MFH $23.69 million to

build a hotel.2 Contemporaneously therewith, in a separate agreement, Minor guaranteed the loan.

[Doc. 3-5.] The documents evidencing the loan, as well as the guaranty, provide that Georgia

substantive law governs claims arising from the loan or guaranty. [Doc. 3-3 (§XI); Doc. 3-4 (§8.18);

Doc. 3-5 (§23).] The loan documents and guaranty also provide that MFH and Minor consent to the




     2
    The loan was evidenced by a loan agreement and promissory note, copies of which are attached to
SFG’s Complaint in the underlying Georgia lawsuit. [Doc. 3-4; 3-3.]




                                                  4
Case 10-06112         Doc 1-8     Filed 09/13/10 Entered 09/13/10 11:15:41            Desc Motion
                                    to Remand Page 5 of 301




jurisdiction of Georgia courts in connection with any such dispute. [Doc. 3-4 (§8.19); Doc. 3-5

(§24).]


          The hotel was to be completed no later than March 7, 2009. [Doc. 3-4 (§1.05).] Payments of

principal to SFG under the loan were to begin on April 1, 2010. [Doc. 3-3 (§I.C.); Doc. 3-4 (§3.30)].

          Several months after the loan closed, MFH defaulted. Specifically, MFH had mismanaged

the project so poorly that it had become significantly over-budget. Under the loan documents, an

over-budget project constitutes an event of default. [Doc. 3-4 (§ 3.25).] Not only did MFH cause

the project to become over-budget, MFH actively attempted to conceal this fact from SFG, as

confirmed by documentary evidence and witness testimony obtained by SFG through discovery in

this matter.

          Based on the fact that the project was over-budget, as well as various other defaults, SFG

accelerated all amounts due under the loan and guaranty (approximately $10.5 million), and

subsequently initiated an action against MFH and Minor in February of 2009 in the State Court of

Fulton County, State of Georgia. [Doc. 3-1.] This action consists of a claim by SFG against MFH

based on MFH’s breach of the loan agreement. Id. It also includes a separate claim by SFG against

Minor under the guaranty. Id. Both of SFG’s claims are state law claims, as they arise under and

are governed by Georgia law. MFH and Minor subsequently asserted counterclaims against SFG in

this action. [Doc. 3-33.] While meritless, these claims also are state law claims that are governed by

Georgia law. Id.




                                                  5
Case 10-06112            Doc 1-8      Filed 09/13/10 Entered 09/13/10 11:15:41                 Desc Motion
                                        to Remand Page 6 of 301




B.         The Georgia State Court and SFG Have Expended a Significant Amount of Time and
           Resources During the Past Year and a Half Bringing This Action to a Final Resolution.

           During the past year and a half, the parties have litigated their state law claims extensively in

this action, and are only weeks away from having their claims resolved either through summary

judgment or trial.

           Extensive fact discovery has been completed. During the fact discovery period, the parties

exchanged hundreds of interrogatories, requests for admission, and requests for production of

documents. In response to the voluminous requests for production of documents, hundreds of

thousands of electronic and paper documents have been produced and reviewed. The parties also

have taken more than thirty-five (35) depositions of party and non-party witnesses around the

country. Expert discovery has commenced and concludes in less than thirty (30) days.3

           Both sides already have filed motions and cross-motions for summary judgment, which

collectively encompass all of the parties claims against one another. Supplemental briefing on these

pending summary judgment motions is scheduled to be completed by October 12, 2010. See Ex. 1 at

71. Indeed, the Georgia state court has scheduled oral argument on these pending dispositive

motions in a little over a month, on October 20-21, 2010. Id. at 72. The Georgia state court

indicated that it would hear any Daubert motions at that time as well. Id. at 71-72. To the extent this

action is not fully resolved at the summary judgment hearing on October 20-21, the Georgia state

court also has specially set this case for trial beginning on November 1, 2010. Id. at 72-73.


     3
         See Transcript of June 8, 2010 Hearing in this case at 71, attached hereto as Exhibit “1.”




                                                        6
Case 10-06112          Doc 1-8      Filed 09/13/10 Entered 09/13/10 11:15:41                   Desc Motion
                                      to Remand Page 7 of 301




        Moreover, now that fact discovery has concluded and expert discovery is on the verge on

concluding, the Georgia state court recently ordered the parties to mediate this case by September

30, 2010. [Doc. 3-36.] Per the Georgia state court’s order, the parties have scheduled mediation for

September 29-30.

        Not only is this litigation in its final stages (indeed, a case cannot be much closer to

conclusion), the Georgia state court has invested an incredible amount of judicial resources

familiarizing itself with the relevant factual and legal issues in connection with managing this

litigation and moving it toward a fair and prompt resolution. In fact, unlike many cases, where a

court does not become acquainted with the claims and parties until the dispositive motion stage or

trial, the Georgia state court has been involved with this case since its inception. For example,

shortly after this case was instituted, MFH and Minor moved to dismiss this action, or, in the

alternative, to stay it in favor of the Virginia action they filed against their developer/agent, in which

they subsequently added SFG as a party.4 In connection with denying MFH and Minor’s meritless

motions to stay and dismiss, the Georgia state court was required to familiarize itself with the factual

and legal issues in connection with evaluating the relevant equitable factors to be considered in




    4
       MFH and Minor give the misimpression in their Notice of Removal [Doc. 1] that the Virginia action
they filed against their developer/agent was the “first-filed action” vis-à-vis SFG. However, at the time SFG
filed this action against MFH and Minor, MFH and Minor had not filed any claims against SFG in Virginia or
elsewhere. Indeed, SFG did not even become a party to the Virginia action until nearly a month after SFG
filed this action against MFH and Minor. Accordingly, it is this action, not the Virginia action, that was first-
filed between MFH, Minor and SFG.




                                                       7
Case 10-06112         Doc 1-8      Filed 09/13/10 Entered 09/13/10 11:15:41                 Desc Motion
                                     to Remand Page 8 of 301




reaching its determination. In doing so, the Court held that the various equitable factors favored

resolution of the dispute between MFH, Minor and SFG in Georgia.5

        Shortly thereafter, in July of 2009, the Georgia state court considered the first of many

discovery related motions, which necessitated a ruling on the overall scope of discovery. Again, in

connection with resolving numerous discovery disputes throughout the second half of 2009 and the

better part of 2010, the Georgia state court had to gain an understanding of the factual and legal

claims and defenses of the respective parties for purposes of determining whether a particular

category of documents should be produced and/or whether a particular witness should be made

available for deposition.6 During the past year and a half, the Georgia state court ruled on

approximately ten (10) separate discovery motions. Indeed, at the request of the parties, the Georgia

state court ordered the parties’ respective 30(b)(6) corporate depositions to be conducted at the

courthouse, in close proximity to the judge’s chambers, so that the Georgia state court could be

readily available to address objections on sensitive areas of inquiry, such as those related to the

assertion of the attorney-client privilege.

        In addition to addressing the various discovery-related and other motions, the Georgia state

court held numerous status conferences, which involved entering case management orders and




    5
      See Transcript of April 8, 2009 Hearing in the Georgia Action at 56-57, attached hereto as Exhibit “2.”
    6
      See Exs. 2 and 3; see also Transcripts of March 19, 2010 and July 29, 2010 Hearings in this action,
attached hereto as Exhibits “3” and “4,” respectively.




                                                     8
Case 10-06112        Doc 1-8      Filed 09/13/10 Entered 09/13/10 11:15:41              Desc Motion
                                    to Remand Page 9 of 301




setting forth various case deadlines to ensure the prompt and orderly administration of this action.7

To date, the Georgia state court has entered three separate case management orders in this action.8

         All of the above efforts of the Georgia state court, as well as by SFG (which has incurred

approximately $3 million in attorneys’ fees in litigating this action), have led the parties to the final

stages of the action before the Georgia state court.

C.       Recognizing That Resolution of This Action Was Imminent, MFH and Minor Engage
         in an Eleventh-Hour Attempt to Avoid Resolution by the Georgia State Court.

         MFH and Minor have been trying to frustrate the Georgia state court’s adjudication of this

matter since its filing in February 2009. As noted above, following SFG’s initiation of this action,

MFH and Minor added SFG to a lawsuit that MFH and Minor filed in Virginia against their

developer/agent, Hotel Charlottesville. Shortly thereafter, MFH and Minor moved to have this

action dismissed or stayed based upon their contention that the Virginia action was “first-filed.” The

Georgia state court disagreed, finding that this action should proceed in Georgia and further

indicating its intent to move forward with adjudication of this action on an “expedited” basis. See

Ex. 3 at 57 (where Georgia state court stated that it “is prepared to handle this matter on an

expedited basis”).

         Despite the Georgia state court’s efforts to move this action forward, MFH and Minor

repeatedly expanded the scope of this action by conducting sweeping and far-reaching discovery.


     7
    See Exs. 1, 2, 3 and 4.
     8
    See Stipulated Case Management Order, attached hereto as Exhibit “5;” Second Stipulated Case
Management Order [Doc. 3-35]; and Ex. 1.




                                                   9
Case 10-06112        Doc 1-8     Filed 09/13/10 Entered 09/13/10 11:15:41               Desc Motion
                                  to Remand Page 10 of 301




Indeed, Minor’s efforts were so overbroad, the Georgia state court ordered MFH and Minor to

reimburse SFG for more than $100,000 in costs related to electronic discovery. See April 20, 2010

Order from Georgia state court, attached hereto as Exhibit “6.”

       Notwithstanding Minor’s initial forum shopping and delay tactics, Minor and MFH

understood that SFG ultimately would have its day in court. Indeed, at the most recent status

conference before the Georgia state court, the court indicated that it was not inclined to further delay

the summary judgment hearing or trial dates. Recognizing that judgment day was near, MFH and

Minor embarked upon their latest forum shopping and delay strategy -- have MFH file for

bankruptcy, remove this action to federal court under the bankruptcy code, and then attempt to have

it transferred to federal bankruptcy court in Virginia. Through this scheme, MFH and Minor are

simply trying to avoid the prompt adjudication of this action before the Georgia state court,

something they were unsuccessful in doing at the inception of this action.

       The timing of MFH’s bankruptcy filing confirms the motive behind MFH and Minor’s latest

forum shopping scheme. Notably, nothing has changed with respect to MFH’s financial condition

recently that would cause it to have to seek bankruptcy protection now. The hotel project has been

stagnant for more than eighteen (18) months. SFG has not sought to foreclose on the property.

MFH has no other business purpose other than the development of the hotel, as it is a single-purpose

entity, designed solely for this undertaking. It generates no revenue and has no ongoing business

operations. In fact, the only change to MFH’s financial condition has been recently obtaining an




                                                  10
Case 10-06112          Doc 1-8       Filed 09/13/10 Entered 09/13/10 11:15:41                    Desc Motion
                                      to Remand Page 11 of 301




arbitration award against its developer/agent, Hotel Charlottesville. However, this award would be

an asset, rather than a liability, and therefore would weigh against the filing of bankruptcy.

         The only relevant new developments relate to the trial dates of the Georgia and Virginia

actions. The court in the Virginia action recently indicated a few weeks ago for the first time that

the trial of that case would not take place until February of 2012. Recently, the Georgia state court

indicated that it would keep the trial date in this action on November 1, 2010. Desperate to avoid a

prompt resolution of this matter before the Georgia state court, MFH and Minor engaged in the

aforementioned forum shopping scheme.

                      III. ARGUMENT AND CITATION OF AUTHORITY

A.       All of the Primary Equitable Factors Under Sections 1334 and 1452 Support
         Abstention and Remand.

         Under Section 1452(b), this Court may remand this case based on “any equitable ground” it

deems appropriate. 28 U.S.C. § 1452(b) (emphasis added).9 The primary factors courts consider in

connection with determining whether to remand a case are: (1) the extent of proceedings in the

underlying state court action; (2) whether state law controls the parties’ claims; (3) the interest of

comity and judicial economy in connection with allowing the state court to resolve the action; (4) the


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      Similarly, under Section 1334(c)(1), this Court may abstain from hearing a matter arising under, arising
in, or related to a bankruptcy case when it is “in the interest of justice, or in the interest of comity with State
courts or respect for State law.” The relevant factors under these two statutes are similar, if not identical.
See, e.g., Rayonier Wood Prods., LLC v. ScanWare, Inc. (In re ScanWare, Inc.), 411 B.R. 889, 897 (Bankr.
S.D. Ga. 2009) (“Discretionary abstention and equitable remand are ‘kindred statutes.’ Both favor ‘comity
and the resolution of state law questions by state courts.’”); Borne v. New Orleans Health Care, Inc., 116 B.R.
487, 494 (E.D. La 1990) (“[T]he considerations underlying discretionary abstention and remand are the
same”).




                                                        11
Case 10-06112        Doc 1-8     Filed 09/13/10 Entered 09/13/10 11:15:41              Desc Motion
                                  to Remand Page 12 of 301




avoidance of duplicative efforts by the parties; and (5) whether the parties have engaged in forum

shopping. See. e.g., Puritan Lace, Co. v. Perfect Home, LLC (In re Perfect Home, LLC), 231 B.R.

358, 363 (Bankr. N.D. Ala. 1999) (finding that remand was proper based on, inter alia, the fact that

“the state court judge is intimately aware of the issues involved in this proceeding and is better

equipped to handle this case with judicial efficiency”); Cook v. Griffin, 102 B.R. 875, 877 (N.D. Ga.

1989) (“where the dispute involves purely state law concerns . . . the court will let the state court

interpret state law”); Rayonier Wood Prods., LLC v. ScanWare, Inc. (In re ScanWare, Inc.), 411

B.R. 889, 898 (Bankr. S.D. Ga. 2009) (“comity and respect for state jurisdiction are compelling

considerations” in finding that abstention and remand are proper); In re Norrell, 198 B.R. 987, 998

(Bankr. N.D. Ala 1996) (“judicial economy will be served if all issues . . . were tried in the state

court, which is currently in the best posture to provide a prompt resolution of these issues”); Puritan

Lace, 231 B.R. at 362 (exercising discretionary abstention based on, among other considerations,

that the debtor’s removal was “clearly a case of forum shopping”). In this case, each and every one

of these factors weighs heavily in favor of remand.

       1.      There Have Been Extensive Proceedings To Date in This Action.

       The vast majority of cases considering remand and abstention issues under Sections

1334(c)(1) and 1452(b) have involved cases that were promptly removed before the state court had

devoted substantial efforts on readying the matter for trial. Where, as here, there has been

substantial investment of time by the state court, the reported decisions uniformly favor abstention

and remand. See, e.g., Massey Energy Co. v. West Virginia Consumers for Justice, 351 B.R. 348,




                                                  12
Case 10-06112        Doc 1-8     Filed 09/13/10 Entered 09/13/10 11:15:41              Desc Motion
                                  to Remand Page 13 of 301




353-54 (E.D. Va. 2006) (ordering permissive abstention and remand in case involving solely state

law issues that had been pending in state court for 15 months before removal and which state court

had actively managed to get it ready for trial, including ruling on “numerous discovery motions from

both parties,” and had set a final trial date for which “no further continuances would be granted”); In

re Siragusa, 27 F.3d 406, 409 (9th Cir.1994) (affirming permissive abstention in case where belated

bankruptcy action represented “an attempt at ‘an end run over the state court jurisdiction,’ which

was tantamount to a finding that the proceeding in bankruptcy court involved forum-shopping”); In

re Shop & Go, Inc., 124 B.R. 915, 917-18 (Bankr. M.D. Fla. 1991) (finding permissive abstention

and remand appropriate when the “[t]he state court ha[d] made substantial progress in determining

the issues involved” and “discovery is largely completed so that the matter can be set for trial

promptly in state court”); Puritan Lace, 231 B.R. at 363 (finding that remand was proper based on,

among other considerations, the fact that “the state court judge is intimately aware of the issues

involved in this proceeding and is better equipped to handle this case with judicial efficiency,” and

also finding that the debtor’s removal of the state court action just months before trial demonstrated

an obvious attempt to “delay and miss” its trial date)

       In Allen County Bank & Trust Co. v. Valvmatic Intern. Corp., 51 B.R. 578, 582-83 (D. Ind.

1985), the court was faced with a similar eleventh-hour bankruptcy filing and removal of a state law

case from state court on the eve of trial. The Allen court determined that “general comity

considerations weigh in favor of remand or permissive abstention” and that “[t]here are no reasons

evident to this court why this state law action, the resolution of which involves no issues of




                                                  13
Case 10-06112        Doc 1-8     Filed 09/13/10 Entered 09/13/10 11:15:41                Desc Motion
                                  to Remand Page 14 of 301




bankruptcy law, is not better adjudicated in the more appropriate forum: the state court in which it

was initially filed.” Id. In making its ruling, the Allen court made the following observations:

       The state court in this action can timely adjudicate this action. . . . The case was
       ready for trial before a court already familiar with the case and the legal issues
       presented, legal issues wholly involving state law. The action, presumably, can be
       promptly tried upon remand as all the preparation appears done. To retain this
       matter would cause duplicative and uneconomical use of scarce judicial
       resources. The state court has expertise in the resolution of this type of case,
       presenting state law questions and is better able to adjudicate this action. . . . .
       [D]elay is sure to occur as another court must familiarize itself with the case and
       find time in its schedule to try the case. The bankruptcy estate's administration
       will be helped by a speedy adjudication in state court. It will not hinder the
       estate that the action will be decided in state court; what will appear to hinder
       the administration is further delay or a less than certain reading of the
       controlling state law. It appears a more consistent result, resolving state law issues,
       would obtain in state court where the matter had been for almost two years prior to
       the filing of the removal petition.

Id. at 582 (emphasis added).

       The facts of the instant case are virtually identical to the facts in Allen. As in Allen, this case

was pending in the trial court for more than a year and a half, with extensive discovery and motion

practice. As in Allen, the Georgia state court is already familiar with the legal issues presented in

this case. As in Allen, this action is governed by state law, instead of federal law. As in Allen,

MFH improperly removed this case only weeks before the scheduled trial date. Finally, as in Allen,

if not remanded, another court will expend scarce judicial resources and duplicate the Georgia state

court’s efforts in getting up to speed, which will inevitably create delay and prejudice SFG. Thus, as

in Allen, this Court should abstain from exercising jurisdiction and remand this action.




                                                  14
Case 10-06112        Doc 1-8      Filed 09/13/10 Entered 09/13/10 11:15:41               Desc Motion
                                   to Remand Page 15 of 301




        2.      State Law Controls the Parties’ Claims.

        Courts also routinely remand actions that have been removed to bankruptcy courts where the

underlying action involves state law claims. See, e.g., Cook, 102 B.R. at 877 (“where the dispute

involves purely state law concerns . . . the court will let the state court interpret state law”). Indeed,

under similar circumstances, the Bankruptcy Court for the Southern District of Georgia sua sponte

found that remand was necessary under Section 1334(c)(1) because the underlying complaint merely

stated a state law cause of action arising from a default on a promissory note. See Chapter 11

Bankruptcy Estates of Durango Ga. Paper Co. v. North River, LLC, (Durango Ga. Paper Co.), 2009

Bankr. LEXIS 4243 (Bankr. S.D. Ga. May 8, 2009). In so holding, the court reasoned that the “state

court system has clear jurisdiction and adjudication in the state court system would bring finality . . .

[and] is best suited to adjudicate this matter to a prompt final adjudication.” Id. at *5.

        Here, there is no question that state law controls the parties’ claims. This dispute arises from

a $23.69 million loan made by SFG to MFH and guaranteed by Mr. Minor. The loan documents

provide that Georgia law governs the claims between the parties. Indeed, SFG’s claims, as well as

MFH and Minor’s counterclaims currently pending in this action, are state law claims governed by

Georgia law. Given that all of the claims involved in this action are state law claims, and given that

MFH and Minor consented to the adjudication of such claims in Georgia, the Georgia state court is

the proper forum for adjudication this proceeding and the Georgia state court is best suited to deal

with these issues. Allen, 51 B.R. at 582; Rayonier Wood, 411 B.R. at 898.




                                                   15
Case 10-06112        Doc 1-8     Filed 09/13/10 Entered 09/13/10 11:15:41              Desc Motion
                                  to Remand Page 16 of 301




       3.      The Interests of Comity and Judicial Economy Are Best Served By Allowing the
               Georgia State Court to Resolve This Action.

       Comity and judicial economy interests likewise dictate that this action should be remanded to

the Georgia state court. See, e.g., Cook, 102 B.R. at 877 (“Section 1334(c) expresses a strong

congressional desire that in . . . non-core proceedings the federal courts should not rush to usurp the

traditional precincts of the state courts”); Puritan Lace, , 231 B.R. at 363 (finding that remand was

proper based on, among other considerations, the fact that “the state court judge is intimately aware

of the issues involved in this proceeding and is better equipped to handle this case with judicial

efficiency”); Allen, 51 B.R. at 582-83 (remanding case and finding that retaining case would have

caused “duplicative and uneconomical use of scarce judicial resources”).

       As discussed above, the Georgia state court has invested an incredible amount of judicial

resources familiarizing itself with the relevant factual and legal issues in connection with managing

this action and moving it toward a fair and prompt resolution. During the past year and a half, the

Georgia state court has ruled on approximately ten (10) separate discovery motions, has held four (4)

separate status conferences/hearings, and has entered three (3) separate case management orders in

connection with ensuring the orderly administration and resolution of this action. Judicial resources

should not be unnecessarily expended educating a new court on all of these matters.

       Remanding this case to the Georgia state court is the most efficient and prompt way to bring

finality to this matter, especially in light of the eminent summary judgment hearing on October 20-

21, 2010 and the trial on November 1, 2010. Further, by remanding this case back to the Georgia

state court and resolving it in the next two months, MFH would know its respective rights and



                                                  16
Case 10-06112         Doc 1-8    Filed 09/13/10 Entered 09/13/10 11:15:41             Desc Motion
                                  to Remand Page 17 of 301




obligations to SFG, which would not hinder, but actually help facilitate the administration of MFH’s

bankruptcy case. See In re Norrell, 198 B.R. 987 (Bankr. N.D. Ala. 1996). In Norrell, the Court

determined that remand to state court would benefit the administration of the debtor’s bankruptcy

estate because:

       the state court should be in a better position to insure the timely adjudication of the
       case than this Court, which would basically be forced to start trial preparation from
       scratch. Trial of the case in state court, as opposed to the bankruptcy court, will not
       impede the administration of the debtor’s bankruptcy case, but instead, will facilitate
       the administration of the bankruptcy case.

198 B.R. at 996.

       Similarly, in this case, the Georgia state court is in a much better position to adjudicate the

proceeding in a timely fashion. If this case were transferred to the Virginia Bankruptcy Court, that

court would be forced to start trial preparation from scratch and would negate the extensive time and

effort spent by both the Georgia state court and SFG over the past year and a half in connection with

moving this matter toward a resolution. Thus, this factor also weighs in favor of remand.

       4.         Remanding This Action Would Avoid Duplication of Efforts By the Parties.

       Remanding this case not only will conserve valuable judicial resources, but also will help

avoid duplication of effort by the parties, which is another factor favoring remand. See, e.g., ADT

Sec. Servs., Inc. v. Firstline Sec., Inc., 2008 U.S. Dist. LEXIS 95537 at *4 (D. Colo. Nov. 13, 2008)

(finding that a remand would “prevent duplication of the judicial process”). To date, SFG has spent

almost $3 million in attorneys’ fees and expenses in connection with litigating this action, primarily

responding to MFH and Minor’s efforts to expand and delay it. A significant portion of these fees




                                                 17
Case 10-06112        Doc 1-8     Filed 09/13/10 Entered 09/13/10 11:15:41               Desc Motion
                                  to Remand Page 18 of 301




and expenses have been incurred in connection with educating the Georgia state court with regard to

the various factual and legal issues relating to this dispute. SFG should not be forced to duplicate

these efforts in connection with bringing a new court up to speed, especially when it is so close to

having this matter resolved. See Puritan Lace, 231 B.R. at 361 (holding that debtor’s removal of its

state court action just months before trial demonstrated an obvious attempt to “delay and miss” its

trial date).

        In addition to the expenses SFG would incur in connection with bringing a new court up to

speed, SFG would also be prejudiced in that it would cause SFG further delay in connection with

recovering the $10.5 million in loan proceeds it has advanced. This debt has been due and owing

since February of 2009.

        Finally, if this case were transferred to the Virginia Bankruptcy Court, SFG would be forced

to incur additional expense litigating this matter in a foreign state, thus negating a valuable pre-

petition bargained-for right in the loan documents and guaranty, whereby that MFH and Minor

consented to the jurisdiction of the Georgia state court in connection with any disputes with SFG.

        5.      MFH and Minor Have Engaged in Improper Forum Shopping.

        Finally, this case should be remanded because it is a clear case of forum shopping by Minor

and MFH. See, e.g., Puritan Lace, 231 B.R. at 362 (exercising discretionary abstention based on,

among other considerations, that the debtor’s removal was “clearly a case of forum shopping.”).

        As noted above, MFH and Minor have been trying to frustrate the Georgia state court’s

adjudication of this matter since its filing in February 2009. First, following SFG’s initiation of this




                                                  18
Case 10-06112         Doc 1-8      Filed 09/13/10 Entered 09/13/10 11:15:41                 Desc Motion
                                    to Remand Page 19 of 301




action, MFH and Minor added SFG to the Virginia lawsuit against their developer/agent, and then

moved to have this action dismissed or stayed, based upon their contention that the Virginia action

was “first filed.” After the Georgia state court denied MFH and Minor’s motion, and indicated to

MFH and Minor that it was moving forward with this case on an expedited basis, MFH and Minor

next sought to delay and expand this action by conducting sweeping and far-reaching discovery.

These efforts ultimately backfired, as the Georgia state court ordered MFH and Minor to reimburse

SFG for more than $100,000 in costs related to electronic discovery.

         When the Georgia state court recently indicated that it was not inclined to further delay the

summary judgment hearing or trial dates, and after the Virginia court indicated several weeks ago

for the first time that the Virginia action would not be tried until 2012, MFH filed for bankruptcy,

removed this action to federal court under the bankruptcy code and then sought to have it transferred

to federal bankruptcy court in Virginia. As if the aforementioned stall tactics by MFH and Minor

were not enough to confirm their transparent forum shopping scheme, the timing of MFH’s

bankruptcy filing only further confirms it, especially given that nothing has changed with respect to

MFH’s financial condition recently that would cause it to have to seek bankruptcy protection now.10

         Based on all of the above considerations, this Court should remand this action to the Georgia

state court pursuant to Section 1452(b).




    10
       As noted above, the only change to MFH’s financial condition has been recently obtaining an
arbitration award against its developer/agent, Hotel Charlottesville. However, this award, would be an asset,
rather than a liability, and therefore would weigh against the filing of bankruptcy.




                                                     19
Case 10-06112       Doc 1-8     Filed 09/13/10 Entered 09/13/10 11:15:41             Desc Motion
                                 to Remand Page 20 of 301




B.     This Case is a Non-Core Proceeding Involving Exclusively State Law Claims and
       Counterclaims That All Accrued Long Before MFH’s Bankruptcy Filing.

       In addition to the equitable factors supporting remand, another relevant consideration is that

this case is a non-core proceeding (contrary to MFH’s repeated contentions in its Notice of

Removal). To determine whether a case qualifies as a “core” proceeding, the Eleventh Circuit has

adopted the following test:

       If the proceeding involves a right created by the federal bankruptcy law, it is a core
       proceeding; for example, an action by the trustee to avoid a preference. If the
       proceeding is one that would arise only in bankruptcy, it is also a core proceeding;
       for example, the filing of a proof of claim or an objection to the discharge of a
       particular debt. If the proceeding does not invoke a substantive right created by the
       federal bankruptcy law and is one that could exist outside of bankruptcy it is not a
       core proceeding; it may be related to the bankruptcy because of its potential effect,
       but under [28 U.S.C] section 157(c)(1) it is an "otherwise related" or non-core
       proceeding.

Welt v. MJO Holding Corp. (In re Happy Hocker Pawn Shop, Inc.), 212 Fed. Appx. 811, 816 (11th

Cir. 2006) (quoting Wood v. Wood, 825 F.2d 90 (5th Cir. 1987)).

       First, this case does not involve any rights created by federal bankruptcy law. All of the

claims and counterclaims are state law causes of action arising from a construction loan made by

SFG to MFH. Every single one of these claims and counterclaims accrued long before the filing of

MFH’s bankruptcy petition. Second, the case did not arise out of the bankruptcy. Again, both the

initial claims by SFG and the counterclaims by MFH and Minor were asserted pre-petition and do

not arise out of the bankruptcy proceeding. Third, this case does not invoke a substantive right

created by the federal bankruptcy law, and as demonstrated by the case’s 19-month history, could

and obviously did exist outside of bankruptcy court.



                                                20
Case 10-06112        Doc 1-8     Filed 09/13/10 Entered 09/13/10 11:15:41             Desc Motion
                                  to Remand Page 21 of 301




       Thus, this case clearly does not qualify as a “core” proceeding, but instead simply “relates

to” a case under title 11. See Welt, 212 Fed. Appx. 817; see also Ellenberg v. R.J. Griffin & Co. (In

re Midland Mech. Contrs.), 196 B.R. 653, 656 (Bankr. N.D. Ga. 1996) (“As a general rule, state law

actions for the breach of a pre-petition contract will not give rise to a core proceeding in

bankruptcy”); Johnson v. Engel (In re Johnson), 2005 Bankr. LEXIS 2763 (Bankr. N.D. Ga. Dec. 7,

2005) (“As Plaintiff’s lawsuit was filed before the bankruptcy petition was filed, it is not a core

proceeding.”).

       Further, as noted above, this action consists purely of state law claims, and only the form of

the proceeding is a bankruptcy law proceeding. Norrell, 198 B.R. 996. If MFH is found liable to

SFG in the State Court Action, the enforcement of that claim will “remain in the hands of the home

bankruptcy court, a result which satisfies the only federal interest in this case.” Rayonier, 411 B.R.

at 898. Thus, as with the other factors discussed above, the non-core status of the claims and

counterclaims, along with the other equitable factors, weighs heavily in favor of remand.

C.     At the Very Minimum, this Court Should Sever the Claims Against Minor, a Non-
       Debtor, and Remand Them to the Georgia State Court.

       As set forth above, this Court should remand this action to Georgia state court pursuant to

Section 1452(b). However, in the event that this Court declines to remand as to MFH, it should, at

the very minimum, sever and remand SFG’s claims against Minor, who did not file bankruptcy.

From the outset, it appears that MFH had little in the way of valuable assets to satisfy its financial

obligations to SFG under the loan, and that SFG would have to focus its collection efforts on Minor

in his capacity as guarantor. There is ample authority supporting this result. See, e.g., In re Cometk



                                                 21
Case 10-06112       Doc 1-8     Filed 09/13/10 Entered 09/13/10 11:15:41             Desc Motion
                                 to Remand Page 22 of 301




Electronics, Inc., 23 B.R. 449, 451 (Bankr. S.D.N.Y. 1982) (“If [Plaintiff] aims to satisfy its claim

on the promissory notes by seeking to enforce Miss Weiss’ guarantee, this Court will not prevent

such action against Miss Weiss, a non-debtor, and will permit remand of the action to New York

state court”); Schumacher v. White, 429 B.R. 400, 406 (E.D.N.Y. 2010) (“Merely because White

was guaranteeing a separate contract between plaintiff and a corporation that is now in bankruptcy

does not automatically bring this suit within the jurisdiction of the Bankruptcy Court”).

                                       IV. CONCLUSION

       For all of the foregoing reasons, SFG respectfully requests that this Court GRANT its Motion

and remand this case to the Georgia state court.


       Respectfully submitted this 8th day of September, 2010.


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                                                   22
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                           to Remand Page 23 of 301




                    EXHIBIT “1”
Case 10-06112         Doc 1-8     Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                                   to Remand Page 24 of 301




1

    2           IN THE STATE COURT OF FULTON COUNTY

    3                STATE OF GEORGIA
         SPECIALTY FINANCE GROUP)
    4    ,LLC,          )
             PLAINTIFF, )
    5                )
         VS.           )CIVIL ACTION FILE NO. 09EV006754
    6                )
         MINOR FAMILY HOTELS,LLC)
    7                )
             DEFENDANTS. )
    8    ______________________ )

    9

    10

    11

    12             EXPEDITE MOTION HEARING

    13                  ___

    14        BEFORE THE HONORABLE SUSAN FORSLING, JUDGE
            FULTON COUNTY JUSTICE CENTER TOWER - COURTROOM 2F
    15        FULTON COUNTY STATE COURT, ATLANTA, GEORGIA
                    JUNE 8, 2010
    16

    17

    18

    19

    20 APPEARANCES OF COUNSEL:

    21         FOR THE PLAINTIFF: BOB ALPERT
                         ATTORNEY AT LAW
    22         FOR THE DEFENDANT: BETTY SHUMENER
                         ATTORNEYS AT LAW
    23    _____________________________________________________________
                    OCTAVIA L. WINFREY
    24              CERTIFIED COURT REPORTER
                FULTON COUNTY JUSTICE CENTER TOWER
    25              ATLANTA, GEORGIA 30303
                      770-873-5548



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Case 10-06112    Doc 1-8     Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                              to Remand Page 25 of 301




   1      THE COURT: ALL RIGHT. HAVING READ ALL OF THESE

   2    FASCINATING PAPERS, IT SEEMS TO ME THAT WHAT THIS BOILS

   3    DOWN TO TODAY ARE TWO ISSUES. ISSUES AS IT RELATES TO

   4    THE DEPOSITIONS AND THE 12 -- 30(B)6 ISSUES ON THE

   5    DEPOSITIONS AND WHETHER FACT DISCOVERY SHOULD BE

   6    EXTENDED, POTENTIALLY SOME ISSUES WITH RESPECT TO RULE 26

   7    DISCLOSURES. HAVE I MISSED ANYTHING?

   8      MR. DOUGLASS: I DON'T THINK SO.

   9      THE COURT: THAT'S KIND WHERE YOU ALL ARE?

   10     MR. DOUGLASS: I THINK YOU'RE RIGHT.

   11     THE COURT: ALL RIGHT. GOOD. SO I HAVE READ ALL

   12   THIS STUFF. I HAVE STUFF HIGHLIGHTED. ALL RIGHT. WHO

   13   WANTS TO START AND WHICH ISSUE DO YOU WANT TO START?

   14     MR. ALPERT: MY NAME IS BOB ALPERT. I'M WITH THE

   15   LAW FIRM OF MORRIS MANNING AND MARTIN HERE IN ATLANTA.

   16   AND OUR FIRM REPRESENTS THE PLAINTIFF IN THIS MATTER,

   17   SPECIALTY FINANCE GROUP, LLC. SEATED DIRECTLY TO MY

   18   RIGHT IS JEFF DOUGLASS OF OUR FIRM AND TO JEFF'S RIGHT IS

   19   JONATHAN WALDMAN OF OUR FIRM.

   20     THE COURT: DO YOU WANT TO GO AHEAD AN MAKE

   21   INTRODUCTIONS HERE? DOES THAT HELP YOU? OKAY.

   22     MS. SHUMENER: BETTY SHUMENER FOR THE DEFENSE .

   23     THE COURT: SHE'S FROM CALIFORNIA.

   24     MS. SHUMENER: YEAH.

   25     MR. BRANNAN: ART BRANNAN ALSO FOR THE DEFENDANT,




                                 2
Case 10-06112    Doc 1-8    Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                             to Remand Page 26 of 301




   1    BOTH OF US ARE WITH DLA PIPER,LLP.

   2      THE COURT: ALL RIGHT. GO AHEAD.

   3      MR. ALPERT: JUDGE FORSLING, WE ASKED FOR A STATUS

   4    CONFERENCE WITH THE COURT TO TRY AND SEE IF THE COURT CAN

   5    HELP US REACH AN AGREEMENT WITH RESPECT TO THE COMPLETING

   6    FACT DISCOVERY AND, FRANKLY, THE REST OF DISCOVERY AND

   7    THE REST OF THE DEADLINES IN THE CASE, BUT THEY'RE ALL TO

   8    CERTAIN EXTENT TIED TOGETHER.

   9      THE COURT: AND A TRIAL DATE SET, RIGHT?

   10     MR. ALPERT: YOU'RE EXACTLY RIGHT. YOU'RE EXACTLY

   11   RIGHT. WE HAD DONE A FAIR BIT OF DISCOVERY IN MARCH AND

   12   APRIL AND, UNFORTUNATELY, WE WERE UNABLE TO COMPLETE THAT

   13   DISCOVERY. AND WE WERE UNABLE TO COMPLETE THAT

   14   DISCOVERY, YOUR HONOR, PRIMARILY BECAUSE DEFENDANTS AND

   15   VARIOUS THIRD PARTIES THAT ARE AFFILIATED OR CONTROLLED

   16   BY THE DEFENDANTS REFUSE TO PRODUCE CERTAIN DOCUMENTS.

   17   AND THEY REFUSE TO PRODUCE A NUMBER OF DOCUMENTS RELATING

   18   TO THE DEFENDANT'S FINANCIAL CONDITION. AS YOU MAY

   19   RECALL, THE DEFENDANT'S FINANCIAL CONDITION IS AN ISSUE.

   20   ONE OF THE DEFAULTS THAT SFG HAS IDENTIFIED HAS BEEN A

   21   SIGNIFICANT CHANGE IN DEFENDANT'S FINANCIAL CONDITION.

   22     IN OPPOSITION TO THAT DEFAULT, DEFENDANT SUBMITTED A

   23   TWO-PAGE BALANCE SHEET PURPORTING TO REFLECT A NET WORTH

   24   OF $211,000,000. UPON RECEIPT OF THAT, WE IMMEDIATELY

   25   SENT THAT DISCOVERY TO THE DEFENDANTS AS WELL AS A NUMBER




                                3
Case 10-06112    Doc 1-8    Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                             to Remand Page 27 of 301




   1    OF OTHER PARTIES IN CONNECTION WITH OBTAINING THE

   2    INFORMATION. THE DEFENDANTS PRODUCED SOME INFORMATION,

   3    BUT THE VAST MAJORITY OF THE INFORMATION RELATING TO

   4    PRIVATE STOCK PURCHASES, THE DEFENDANT DID NOT PRODUCE.

   5    HE DID NOT PRODUCE IT, NOTWITHSTANDING THE FACT THAT HE

   6    CONTROLS THE INFORMATION AND HAD AN OBLIGATION UNDER

   7    9-11-34 TO PRODUCE IT. ULTIMATELY, WE TOOK THE

   8    DEFENDANT'S DEPOSITION AND WE LEARNED AT THE DEPOSITION

   9    SOME INTERESTING THINGS, FIRST OF ALL, THAT HE DIDN'T OWN

   10   THE STOCK AT ALL, THAT THE STOCK, NOTWITHSTANDING THE

   11   FACT THAT HE REPRESENTED THAT ON HIS BALANCE SHEET, IT

   12   TURNS OUT THAT HIS COMPANY, A COMPANY THAT HE HAS

   13   IDENTIFIED AS MINOR VENTURES THAT HE, ACCORDING TO HIM,

   14   FAIRLY, BOLDLY IN HIS DEPOSITION PROCLAIMED "IT IS ME".

   15   I OWN IT. I CONTROL IT. ANYTHING THAT HAS MY NAME ON IT

   16   IS MINE. THEY ACTUALLY OWN THE STOCK. WELL, AS YOU

   17   MIGHT IMAGINE --

   18     THE COURT: IS THIS AN LLC OR WHAT IS MINOR.

   19     MR. ALPERT: IT'S AN LLC. AS YOU MIGHT IMAGINE, THE

   20   VALUE OF THE STOCK THAT MR. MINOR IS REFLECTING ON THE

   21   BALANCE SHEET AS HIS HAS A DIFFERENT VALUE. IF IT'S

   22   OWNED BY A COMPANY, THEN IT'S SUBJECT TO OTHER FINANCIAL

   23   AND LEGAL OBLIGATIONS THAT NEED TO BE SATISFIED BEFORE

   24   ANY PROFITS OR TRANSFER TO MR. MINOR.

   25     HE PRODUCED NONE OF INFORMATION FOR MINOR VENTURES




                                4
Case 10-06112    Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                            to Remand Page 28 of 301




   1    THAT WE ASKED FOR. HE PRODUCED NONE OF THE INFORMATION

   2    REGARDING VARIOUS COMPANIES, PRIVATE COMPANIES HE CLAIMS

   3    HE OWNED. SO, WHEN WE COULDN'T GET IT FROM HIM -- AND

   4    THIS IS AFTER WE REACHED AN AGREEMENT WITH DEFENDANT'S

   5    COUNSEL AND SAID THEY WERE GOING TO PRODUCE AND FULLY

   6    RESPOND TO OUR DISCOVERY, PRIOR TO THE HEARING, THE LAST

   7    HEARING WE WERE HERE WHERE YOU ISSUED THE ORDER DIRECTING

   8    THEM TO PAY THE DISCOVERY COSTS. WE'RE NOT GETTING IT

   9    FROM THEM. AND SO ANY DISPARATE ATTEMPT, SINCE THEY'RE

   10   NOT COMPLYING WITH THEIR DISCOVERY OBLIGATIONS, WE

   11   STARTED TO SEND OUT REQUEST DIRECTLY TO THE THIRD,

   12   PARTIES GETTING SUBPOENAS ISSUED IN VIRGINIA AND

   13   CALIFORNIA. ALL THOSE COMPANIES MR. MINOR HAS A

   14   CONTINUING RELATIONSHIP WITH. HE OWNS 100 PERCENT OF

   15   MINOR VENTURES, LLC. HE OR A MEMBER OF MINOR VENTURES,

   16   LLC IS A CONTROLLING SHAREHOLDER AND/OR ON THE BOARD OF

   17   DIRECTORS OF THOSE COMPANIES. THOSE COMPANIES WON'T

   18   PRODUCE THE INFORMATION TO US. WE HAVE TO GO THROUGH

   19   VARIOUS MOTIONS TO COMPEL AND HARANGUING AND HARANGUING.

   20   AND NEEDLESS TO SAY, JUDGE, AS YOU MIGHT EXPECT, WE CAN'T

   21   GET THE INFORMATION. WE CAN'T TAKE THEIR DEPOSITIONS.

   22   WE CAN'T HAVE OUR FINANCIAL CONSULTANT REVIEW THE

   23   INFORMATION, SO WE CAN'T IDENTIFY AN EXPERT SO, IT

   24   BASICALLY HAS SET BACK EVERYTHING.

   25     THE COURT: LET ME JUST STOP YOU THERE. I ALSO




                                5
Case 10-06112    Doc 1-8     Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                              to Remand Page 29 of 301




   1    RECOLLECT THAT AT ONE POINT THERE WAS AN ISSUE ABOUT THE

   2    ACCOUNTANT AND THE ACCOUNTANT PRIVILEGE. IS THAT ALL

   3    ISSUE WHAT HAS SORT OF INITIAL TO THE FINANCIAL?

   4      MR. ALPERT: YES.

   5      THE COURT: BUT I UNDERSTOOD Y'ALL RESOLVED MOST OF

   6    THAT. AM I RIGHT ON THAT?

   7      MR. ALPERT: I THINK THAT WE DID RESOLVE IT. AND I

   8    THAT WE GOT -- EXCUSE ME. WE RECEIVED A FAIR BIT OF

   9    INFORMATION. I WOULD DEFER TO MR. DOUGLASS.

   10     THE COURT: ALL RIGHT. BUT THAT'S NOT REALLY --

   11   WE'RE TALKING ABOUT SOMETHING ALMOST -- NOT WHERE THE

   12   ACCOUNTANTS FORM IN TERMS APPEAL STATEMENTS AND AUDITING

   13   AND THAT KIND OF STUFF. WE'RE REALLY TALKING ABOUT MORE

   14   YOU'RE SEEKING INFORMATION IN THE CUSTODY, POSSESSION OR

   15   CONTROL OF MR. MINOR AS IT RELATES TO ASSETS AND THINGS

   16   THAT WOULD BE PART OF HIS FINANCIAL NETWORK, INCLUDING

   17   STOCKS AND INCLUDING OWNERSHIP INTEREST AND ASSETS FOR

   18   THESE VARIOUS COMPANIES, INCLUDING THE LLC HE MAY OWN.

   19     MR. ALPERT: EXACTLY.

   20     THE COURT: THAT'S WHAT WE'RE TALKING ABOUT RIGHT

   21   NOW.

   22     MR. ALPERT: EXACTLY. EXACTLY. WE ASKED FOR IT FOR

   23   MR. MINOR. WE ASKED FOR IT DIRECTLY FROM THE COMPANIES.

   24   HE HASN'T GIVEN IT TO US. AND THEN WE WENT TO THE

   25   COMPANIES, THEY HAVE OBJECTED, SO WE BASICALLY HAVE BEEN




                                 6
Case 10-06112    Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                            to Remand Page 30 of 301




   1    STONEWALLED AND WE HAVE BEEN THWARTED FROM OBTAINING THE

   2    DOCUMENTS AND THE INFORMATION WE NEED TO REVIEW THE

   3    FINANCIAL CONSULTANT TO THEN GO GET PREPARED FOR IT AND

   4    TAKE SOME DEPOSITIONS AND IDENTIFY WHETHER OR NOT WE EVEN

   5    NEED TO DISCLOSE AN EXPERT.

   6      THE COURT: ALL RIGHT. AND I UNDERSTAND THE CASCADE

   7    EFFECT FROM THAT. AND I'M GOING TO HEAR FROM HER WHAT

   8    HER SIDE OF THE STORY IS, BUT IN A NUTSHELL WHAT HAS BEEN

   9    THE ARTICULATED REASON FOR NOT PROVIDING THIS

   10   INFORMATION?

   11     MR. ALPERT: WELL, THAT'S AN EXCELLENT QUESTION,

   12   YOUR HONOR. I DON'T KNOW WHAT MR. MINOR'S REASON FOR NOT

   13   PROVIDING THE INFORMATION IS. I GUESS MR. MINOR COULD

   14   TAKE THE POSITION THAT CERTAIN OF THIS INFORMATION IS NOT

   15   WITHIN HIS POSSESSION, CUSTODY OR CONTROL, THAT THE

   16   INFORMATION, CERTAINLY IF IT ISN'T IN THE CUSTODY AND

   17   CONTROL OF HIS LLC. HOWEVER, THAT IS A DISTINCTION

   18   WITHOUT A DIFFERENCE. AND THE CASE LAW AND THE STATUTE

   19   CLEARLY STATE THAT A FORMAL CORPORATE DISTINCTION SUCH AS

   20   THAT WILL NOT TAKE THE DISCOVERY OUTSIDE YOUR CONTROL.

   21   HE OWNS 100 PERCENT OF MINOR VENTURES, LLC. HE'S

   22   ENTITLED TO ALL THOSE PROFITS. HE CONTROLS IT. HE

   23   CONTROLS THE DOCUMENT.

   24     THE COURT: AND DID SFG LOOK AT THIS LLC AND ALL

   25   THESE OTHER COMPANIES WHEN THEY DETERMINING WHETHER OR




                                7
Case 10-06112    Doc 1-8    Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                             to Remand Page 31 of 301




   1    NOT TO LOAN HIM THIS MONEY?

   2      MR. ALPERT: WELL, GOOD QUESTION, YOUR HONOR.

   3      THE COURT: I THINK MAYBE THE QUESTION IS

   4    NECESSARILY GOOD TO ANSWER.

   5      MR. ALPERT: YEAH, I MEAN EXCELLENT POINT. IT'S A

   6    COMPANY THAT WAS IDENTIFIED IN BALANCE SHEETS BY

   7    MR. MINOR AND IT WAS SPECIFICALLY IDENTIFIED IN THE

   8    BALANCE SHEET THAT DEFENDANTS SUBMITTED IN SUPPORT OF

   9    THEIR MOTION FOR CROSS SUMMARY JUDGMENT AND IN OPPOSITION

   10   TO OUR MOTION FOR SUMMARY JUDGMENT. SO IT IS RELEVANCE.

   11   THERE'S NO QUESTION AS TO THE RELEVANCE.

   12     AND I DON'T WANT YOU TO MISS THIS POINT. IT'S VERY

   13   IMPORTANT. WHEN HE LISTED ON THE BALANCE SHEET, IT SAYS

   14   THIS IS MY BALANCE SHEET, MR. MINOR. WE SIT DOWN AT HIS

   15   DEPOSITION AND ONE OF THE FEW QUESTIONS HE DID ANSWER

   16   DIRECTLY WAS, ACTUALLY, I DON'T OWN THAT. THAT IS OWN BY

   17   MINOR VENTURES. SO, ONCE THAT COMES INTO PLAY, THEN THE

   18   INFORMATION BECOMES EVEN MORE IMPORTANT TO UNDERSTAND

   19   WHAT'S HAPPENING WITH MINOR VENTURES.

   20     NOW WE HAVE BEEN ABLE TO GET CERTAIN PIECES OF

   21   INFORMATION FROM SOME OF THE COMPANIES. THERE ARE THREE

   22   NAMED COMPANIES THAT PRIVATE STOCK HAS OWNED. THERE'S PAX

   23   FIRE (PHONETIC). THERE'S OPEN D&S. THERE'S SCOTT LABS.

   24   WE HAVE BEEN NEGOTIATING AND GOING BACK AND FORTH WITH

   25   THEM. WE HAVE BEEN ABLE TO GET CERTAIN INFORMATION FROM




                                8
Case 10-06112    Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                            to Remand Page 32 of 301




   1    THEM RECENTLY, BUT THE POINT IS WE STILL WEREN'T ABLE TO

   2    GET THE INFORMATION IN A TIMELY FASHION. SO THAT'S ONE

   3    BIG CHUNK OF WHAT HAS BEEN GOING ON.

   4      AND I WANT YOU TO UNDERSTAND, JUDGE, WHEN WE HAD

   5    THESE ISSUES, WE SAT DOWN -- I SHOULD SAY WE WERE ON THE

   6    TELEPHONE. I WAS TRAVELING IN NEW YORK AND JEFF WAS IN

   7    ATLANTA AND BETTY -- MS. SHUMENER AND MR. O WERE IN

   8    CALIFORNIA. AND WE HAD A CONFERENCE CALL TO TALK ABOUT

   9    ALL THIS. AND WE SAID, HEY, LISTEN. WE HAVEN'T GOTTEN

   10   THE INFORMATION. WE'VE GOT -- OBVIOUSLY, WHEN WE DIDN'T

   11   GET IT, WE POSTPONED ALL OF THOSE DEPOSITIONS.

   12     THE COURT: RIGHT.

   13     MR. ALPERT: OKAY. AND WE ALSO POSTPONED THE

   14   DEPOSITION OF MINOR'S LAWYER, GARY SHEPHERD -- NOT

   15   BECAUSE HE WAS NECESSARILY RELATED TO THE FINANCIAL

   16   INFORMATION, BUT WE WERE GOING TO GO OUT TO SAN FRANCISCO

   17   TO DO ALL THESE DEPOSITIONS. WE WERE GOING TO TRY AND

   18   CONSERVE COSTS. WHAT WE WANT TO DO IS DO THEM ALL AT THE

   19   SAME TIME, SO WE PUT THAT ONE OFF AS WELL. WE SAT DOWN

   20   AND TALKED AMONGST OURSELVES AND WE DISCUSSED IN BROAD

   21   BRUSH STROKES GENERALLY AN AGREEMENT SAYING, HEY, WE

   22   PROBABLY NEED TO EXTEND FACT DISCOVERY TO GET SOME OF

   23   THIS STUFF DONE. HERE IS WHAT WE NEED TO DO. AND

   24   GENERALLY SPEAKING, WE NEVER REACHED AN AGREEMENT, BUT

   25   GENERALLY SPEAKING, COUNSEL FOR DEFENDANTS WAS IN FAVOR




                                9
Case 10-06112    Doc 1-8    Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                             to Remand Page 33 of 301




   1    OF IT. THEY WERE LIKE, YOU KNOW, WE GOT SOME FACT

   2    DISCOVERY WE NEED TO DO AS WELL. WE WANT TO DO THE

   3    PARTICIPATING BANKS. WE WANT TO FINISH MR. SHEATH. WE

   4    WANT TO GIVE A 30(B)6. WE WANT TO DO THAT. AND WE SAID,

   5    WELL, LET'S SEE IF WE CAN'T WORK SOMETHING OUT. AT THE

   6    END OF THAT CONVERSATION, COUNSEL FOR DEFENDANT SAID,

   7    WELL, UNLESS YOU AGREE TO GIVE US A 30(B)6 DEPOSITION OF

   8    SFG ON ALL OF THE ISSUES THAT WE ASKED FOR, WE'RE NOT

   9    GOING TO AGREE WITH YOU ON ANYTHING. SO, THAT'S WHEN IT

   10   BECAME APPARENT WE WEREN'T GOING TO BE ABLE TO AGREE AND

   11   THAT'S WHEN WE NOTED. WE SENT IN THE NOTICE TO THE COURT

   12   SAYING, HEY, WE THINK WE NEED SOME HELP.

   13     THE COURT: OKAY.

   14     MR. ALPERT: WHAT I FOUND A LITTLE DISINGENUOUS IS

   15   FOR COUNSEL FOR DEFENDANTS TO COME UP WITH E-MAILS TO MS.

   16   WILLINGHAM SAYING, WHAT ARE YOU TALKING ABOUT FACT

   17   DISCOVERY? FACT DISCOVERY IS CLOSED. YOU HAVE TO COMPLY

   18   WITH THE COURT'S ORDER. AND I FOUND THAT A LITTLE BIT

   19   DISINGENUOUS GIVEN THE CONVERSATIONS THAT WERE GOING ON

   20   AND GIVEN THE FACT THAT IT'S CLEAR WE DID EVERYTHING WE

   21   COULD. WHEN WE SAT HERE BEFORE YOUR HONOR, I THINK IT

   22   WAS TWO MONTHS AGO -- BUT I THINK WHAT YOUR HONOR SAID AT

   23   THAT TIME WAS YOU KNOW WHAT, GUYS, I KNOW YOU GUYS WANT

   24   TO MOVE THIS THING ALONG PRETTY FAST. THIS IS A TIGHT

   25   SCHEDULE, OKAY.




                                10
Case 10-06112    Doc 1-8    Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                             to Remand Page 34 of 301




   1      THE COURT: YEAH, I THOUGHT IT WAS FAIRLY

   2    AGGRESSIVE.

   3      MR. ALPERT: IT WAS VERY AGGRESSIVE AND YOU SAID IF

   4    YOU NEED TO COME AND YOU NEED SOME MORE TIME, SEE IF YOU

   5    CAN WORK IT OUT AMONGST YOURSELVES; IF NOT, COME BACK

   6    HERE AND WE'LL FIGURE IT OUT. WE'RE THE PLAINTIFF AND

   7    YOU KNOW --

   8      THE COURT: YOU WANT YOUR TRIAL DATE. I UNDERSTAND.

   9      MR. ALPERT: WE WANT TO GET FORWARD, YOUR HONOR, NO

   10   BUT WE CAN'T DO IT WITHOUT THE INFORMATION AND WE REALLY

   11   FEEL LIKE -- YOU KNOW, WE REALLY FEEL LIKE WE HAVE BEEN

   12   THWARTED HERE. AND IT'S VERY FRUSTRATING FOR US. THERE

   13   WERE ANOTHER NUMBER OF DISCOVERY ISSUES HERE THAT -- IN

   14   CONNECTION WITH COMPLETING DISCOVERY DEPOSITIONS THAT WE

   15   WEREN'T ABLE TO COMPLETE. AND THAT I THINK NEED TO BE

   16   ADDRESSED AS WELL, BUT WITH RESPECT TO NOT GETTING THE

   17   INFORMATION THAT WE ASKED FOR, I MEAN THAT'S THE RUB OF

   18   KIND OF WHAT'S GOING ON.

   19     THE COURT: AND AS A RESULT OF -- THE SCENARIO YOU

   20   JUST DESCRIBED, LET ME JUST BE AS NEUTRAL BECAUSE I

   21   HAVEN'T HEARD FROM YOU YET. THE PROBLEM IS ONE, YOU

   22   DON'T HAVE YOUR FACT DISCOVERY. AND AS TRIAL LAWYERS WE

   23   ALL KNOW THAT WITHOUT FACT DISCOVERY, EXPERT WITNESS

   24   DESIGNATIONS CAN'T HAPPEN AND -- I MEAN, IT CAN --

   25   REALLY, EVERYTHING CAN KIND OF COME TO A GRINDING HALT.




                                11
Case 10-06112    Doc 1-8    Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                             to Remand Page 35 of 301




   1    ALL RIGHT. AND SO, THAT'S WHERE WE'RE. ALL RIGHT.

   2      LET ME ASK YOU ONE OTHER QUESTION BEFORE I TALK TO

   3    MS. SHUMENER. THIS IS ON THE 30(B)6 ISSUE. I UNDERSTAND

   4    WHY IT IS THAT YOU DON'T WANT A WHOLE NEW ROUND. AND I

   5    UNDERSTAND THAT YOU PUT YOUR PEOPLE UP. BUT ON THE OTHER

   6    HAND, THEIR POSITION -- THEY HAVEN'T REALLY SET IT THIS

   7    WAY, BUT THEY DON'T WANT TO BE AT TRIAL AND ALL OF A

   8    SUDDEN MR. WITNESS SAYS, WELL, YEAH, I'M AN INDIVIDUAL

   9    HERE AND I CAN'T FIND A COMPANY. AND THEY ARGUE TO THE

   10   JURY, WELL, THESE ARE GREAT, BUT THESE ARE JUST THEIR OWN

   11   FOLKS. THEY'RE NOT BINDING COMPANY. IS THERE ANY REASON

   12   WHY THERE CAN'T BE A STIPULATION THAT THESE FOLKS SPEAK

   13   FOR THE COMPANY AND, THEREFORE, AVOID POTENTIALLY -- AND

   14   I WILL HEAR FROM THEM, SOME THIRD ADDITIONAL 30(B)N6.

   15     MR. ALPERT: AGREE.

   16     THE COURT: YOU'RE NOT TRYING TO GO WIGGLE OUT FROM

   17   THAT.

   18     MR. ALPERT: NO.

   19     THE COURT: AND THAT'S THE ONLY QUESTION, I HAVE.

   20     MR. ALPERT: NO, NOT AT ALL, YOUR HONOR.

   21     THE COURT: AND AS LONG AS YOU'RE NOT TRYING WIGGLE

   22   OUT, WE CAN PROBABLY WORK THROUGH THAT WITHOUT HAVING TO

   23   DUPLICATE. AND I DO UNDERSTAND THAT THERE ARE CERTAIN

   24   THAT YOU ARE WILLING TO DESIGNATE BECAUSE THEY HAVEN'T

   25   SPOKEN. BUT, YOU KNOW, THAT'S ALWAYS THE ISSUE. YOU




                                12
Case 10-06112      Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                              to Remand Page 36 of 301




   1    KNOW THAT.

   2      MR. ALPERT: NO QUESTION, JUDGE. I AGREE 100

   3    PERCENT AND I FEEL CONFIDENT WE CAN WORK THROUGH IT. MY

   4    ONLY -- I THINK WE WOULD NEED TO KIND OF WALK THROUGH IT.

   5    AND WE'RE HAPPY TO DO IT BECAUSE WHAT YOU HAVE IS

   6    SOMETIMES, YOU HAVE PEOPLE THAT ARE IN THE COMPANY. THEY

   7    GET ASKED A QUESTION AND IT'S OBVIOUSLY A VERY NERVE

   8    RACKING EXPERIENCE FOR THEM. UNDER ROADS, LAWYERS ASKING

   9    THEM QUESTIONS. THEY'RE NERVOUS. AND THEY ANSWER A

   10   QUESTION THAT THEY KNOW NOTHING ABOUT, THAT'S COMPLETELY

   11   OUTSIDE THE SCOPE OF WHAT THEY KNOW. BUT IF WE WILL GO

   12   THROUGH THIS AND I'M HAPPY TO SIT DOWN AND KIND OF WALK

   13   THROUGH IT AND DO IT EXACTLY THE WAY THIS COURT SUGGESTS.

   14   I AGREE.

   15     THE COURT: I JUST WANT TO MAKE SURE. A FAIR READ OF

   16   THAT WAS, OH, GOSH, THEY'RE TRYING WIGGLE HERE.

   17     MR. ALPERT: YEAH.

   18     THE COURT: SO THEY CAN'T HAVE IT BOTH WAYS. ALL

   19   RIGHT. I'M COMFORTABLE WITH THAT RESPONSE. THAT WAS ONE

   20   OF MY STICKIES TO MYSELF SAID TO ME. ALL RIGHT. NOW LET

   21   ME HEAR FROM YOU, MS. SHUMENER. YOU CAME ALL THE WAY FROM

   22   CALIFORNIA.

   23     MS. SHUMENER: FIRST, I GUESS I WOULD LIKE TO START

   24   OFF WITH I'M NOT AWARE OF ANY DOCUMENTS THAT ARE IN

   25   MR. MINOR'S POSSESSION, CUSTODY OR CONTROL THAT WE HAVE




                                13
Case 10-06112    Doc 1-8    Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                             to Remand Page 37 of 301




   1    NOT PRODUCED, OTHER THAN THE ONES THAT ARE PRIVELEDGED.

   2    I WILL HAVE TO GO BACK AND CHECK IF THERE ARE ANY SUCH

   3    THINGS, BUT IT HAS BEEN MY UNDERSTANDING WE HAVE PRODUCED

   4    WELL OVER 20,000 DOCUMENTS, 20,000 PAGES OF DOCUMENTS AND

   5    PROBABLY QUIET A BIT MORE THAN THAT REGARDING HIS

   6    FINANCIAL CONDITION, OKAY.

   7      SO I'M AT A LITTLE BIT OF A LOSS AS TO WHAT THEY'RE

   8    TALKING ABOUT TO BE HONEST WITH YOU.

   9      THE COURT: LET ME STOP YOU THERE. HAVE YOU-ALL

   10   TAKEN A POSITION THAT IF IT'S IN THE LLC OR ONE OF THESE

   11   THREE COMPANIES THAT IT'S NOT IN HIS POSSESSION, CUSTODY

   12   OR CONTROL? HAVE YOU ALL TAKEN THAT POSITION?

   13     MS. SHUMENER: NOT YET.

   14     THE COURT: YET. WELL, BEFORE WE GET TO THAT -- NOT

   15   YET, BUT HAVE YOU PRODUCED DOCUMENTS OF THOSE COMPANIES

   16   YET?

   17     MS. SHUMENER: MY UNDERSTANDING IS -- AND I'M NOT

   18   DODGING THIS QUESTION. MY UNDERSTANDING IS FIRST THAT

   19   THE REALM OF DOCUMENTS THAT WE PRODUCED IN THE FINANCIAL

   20   RECORDS IT DID HAVE INFORMATION REGARDING THOSE

   21   PARTICULAR COMPANIES. IT WASN'T -- I DON'T KNOW WHAT HIS

   22   WEALTH IS OTHER THAN HIS INTEREST IN THOSE COMPANIES.

   23   AND WE PRODUCED DOCUMENTS REGARDING EXPENSES OF THE

   24   COMPANY, THE INCOMES OF THE COMPANY, THE ASSETS OF THE

   25   COMPANY, SO I'M NOT SURE WHAT THEY'RE REFERRING TO, ONE.




                                14
Case 10-06112      Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                              to Remand Page 38 of 301




   1      THE COURT: OKAY.

   2      MS. SHUMENER: NUMBER TWO, THEY HAVE SERVED A

   3    SEPARATE SUBPOENA ON MINOR VENTURES. THEY SERVED THAT

   4    SUBPOENA ON APRIL 1. NOW THEY'RE TRYING TO SET -- AND

   5    AGAIN, I'M -- I DON'T KNOW IF MINOR VENTURES HAS

   6    DOCUMENTS OVER AND ABOVE WHAT MR. MINOR HAS EVEN PRODUCED

   7    ALREADY.

   8      THE COURT: OKAY. NOW LET ME ASK YOU THIS, SO IF

   9    THERE'S A SUBPOENA OUT THERE APRIL 1, HOW COME WE DON'T

   10   KNOW ABOUT THOSE DOCUMENTS AND IT'S JUNE 8TH? I MEAN, IT

   11   WOULD HAVE BEEN ANSWERED AND WE WOULD HAVE SAID WE DON'T

   12   HAVE DOCUMENTS OR WOULD HAVE ANSWERED SAYING WE DO AND

   13   THEY'RE PRIVELEDGED OR IN THE ANSWER SAY, WE GOT SOME

   14   THAT ARE PRIVILEGE AND THERE ARE SOME NOT. HOW COME WE

   15   DON'T KNOW?

   16     MS. SHUMENER: THERE WAS -- I JUST RECENTLY SAW IT,

   17   AS WELL AS MY ASSOCIATES. I DON'T KNOW THE INTRICACIES

   18   OF THAT. I WOULD HAVE TO COME BACK TO THE COURT ON THAT

   19   PARTICULAR ONE. MY UNDERSTANDING IS THAT WE WERE MEETING

   20   AND CONFERRING ON THAT SUBPOENA. I BELIEVE THAT THE

   21   LATEST REALM WAS WE WOULD PRODUCE THINGS SHOWING

   22   EVALUATIONS. WE WENT OUT AND FOUND OUT MINOR VENTURES

   23   DIDN'T HAVE DOCUMENTS SHOWING EVALUATIONS OF THE

   24   COMPANIES IN WHICH IT HELD STOCK. AND SO, THAT WAS MY

   25   UNDERSTANDING OF WHERE THIS ENDED UP. THEY HAVE




                                15
Case 10-06112      Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                              to Remand Page 39 of 301




   1    SUBPOENAED LINDA ROSSMAN. WE PRODUCED ALL OF HER

   2    DOCUMENTS THAT WE HAD RECEIVED AND THERE WERE THOUSANDS

   3    OF THEM.

   4      THEY HAVE SUBPOENAED RAY THORNSON AND WE DON'T

   5    CONTROL HIM. THEY GOT THE DOCUMENTS FROM HIM AND WGAS.

   6    THEY'RE CLAIMING THEY HAVEN'T GOT ALL OF THE DOCUMENTS,

   7    BUT HE WAS ANOTHER PERSON WHO HELPED IN THE PREPARATION

   8    OF THE BALANCE SHEET AND KNOWS THE EVALUATION OF THE

   9    COMPANIES. I AM NOT AWARE, FRANKLY, OF DOCUMENTS THAT

   10   WE'RE WITHHOLDING SAYING, NO, YOU CAN'T HAVE THESE.

   11   OKAY. THAT'S MY -- I'M REPRESENTING THAT TO THE COURT.

   12   I'M NOT PLAYING WORD GAMES. I'M TELLING YOU FROM WHAT I

   13   KNOW -- AND I THOUGHT I DID A PRETTY GOOD JOB OF TALKING

   14   TO FOLKS AND ASKING, DID WE PRODUCE THIS? DID WE PRODUCE

   15   THIS? DID WE PRODUCE THIS?

   16     I WILL SAY THAT IN OUR TELEPHONE CONVERSATION --

   17   FIRST OF ALL, THEY HAD ASKED TO HAVE A CONVERSATION TO

   18   EXTEND THE FACT DISCOVERY CUT OFF DATE THE WEEK OF MAY

   19   10TH. I SAID, SO YOU GOT DEPOSITIONS SCHEDULED EVERY

   20   SINGLE DAY. WHEN ARE WE SUPPOSED TO DO IT? THEY

   21   FINALLY, AFTER CANCELING EACH ONE, DAY AFTER DAY, OKAY,

   22   ON THE LAST DEPOSITION, THEY SAID ON THURSDAY, WELL,

   23   SINCE WE'RE CANCELING GARY SHEPHERD'S DEPOSITION FRIDAY,

   24   WHY DON'T WE TALK ON FRIDAY. WHAT TIME DO YOU HAVE

   25   AVAILABLE? I SHOT BACK AN E-MAIL IMMEDIATELY SAYING I'M




                                16
Case 10-06112     Doc 1-8     Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                               to Remand Page 40 of 301




   1    AVAILABLE AT 1:00. LET'S DO IT AT 1:00 OR 1:30,

   2    SOMETHING AROUND THAT TIME. OH, SUDDENLY THEY COULDN'T

   3    DO IT. THEY NEXT DAY I GET A MESSAGE ON FRIDAY, CAN WE

   4    DO IT EARLIER? OKAY. WELL AT THIS POINT IN TIME I'VE

   5    ALREADY GOT CONFERENCE CALLS SCHEDULED. THEN WE WERE

   6    SUPPOSED TO DO IT MONDAY. WE MADE OURSELVES AVAILABLE

   7    MONDAY. THEY COULDN'T DO IT MONDAY. SO THEN WE DID THE

   8    CALL ON TUESDAY. WHEN WE DID THE CALL ON TUESDAY, IT WAS

   9    MR. ALPERT WHO SAID, WE WOULD LIKE TO EXTEND THE

   10   DISCOVERY CUT OFF DATE, BUT WE WOULD LIKE TO KEEP THE

   11   EXPERT WITNESSES CHANGED THE SAME DAY AND WE WOULD LIKE

   12   TO KEEP THE MOTION FOR SUMMARY JUDGMENT AND THE TRIAL

   13   DATE THE SAME DAY. I SAID, I'M WITH YOU 100 PERCENT ON

   14   THE MOTION FOR SUMMARY JUDGMENT AND THE TRIAL DATE.

   15   HOWEVER, I SAID IF WE'RE GOING TO CONTINUE WITH FACT

   16   DISCOVERY, WHICH COULD IMPACT THE OPINIONS OF THE

   17   EXPERTS, WE NEED TO EXTEND THAT CUT OFF DATE AS WELL.

   18   AND AFTER FACT DISCOVERY CUT OFF, WE CAN TRUNCATE THE

   19   TIME WITHIN WHICH WE TAKE THE EXPERTS' DEPOSITIONS SO

   20   THAT WE DON'T HAVE TO MOVE THE DATES ON SUMMARY JUDGMENT

   21   AND TRIAL.

   22      THE COURT: BUT HADN'T YOU ALREADY DESIGNATED A

   23   COUPLE AT THAT POINT?

   24      MS. SHUMENER: NO.

   25      THE COURT: OKAY.




                                  17
Case 10-06112       Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                               to Remand Page 41 of 301




   1      MS. SHUMENER: NO, IT HAD NOT BEEN DESIGNATED. THIS

   2    IS MAY 17TH AND THE EXPERT DESIGNATIONS WERE DUE I THINK

   3    MAY 24TH.

   4      THE COURT: YOU'RE RIGHT. OKAY.

   5      MS. SHUMENER: OKAY. SO THEY SAID, FINE. YOU KNOW

   6    WHAT, WE WILL PRESENT YOU WITH A PROPOSED CASE MANAGEMENT

   7    ORDER, A NEW SCHEDULING ORDER. WE'LL GET THAT TO YOU.

   8    THEY DIDN'T SAY EXACTLY WHEN, BUT WE'LL GET THAT TO YOU.

   9      WE THEN SEND THEM AN E-MAIL SAYING, YOU KNOW,

   10   BECAUSE IT'S BULKY. YOU'VE GOT THESE BIG EXPERT REPORTS

   11   WITH ALL OF THEIR EXHIBITS THAT ARE BEING PREPARED AND

   12   THEY'RE HUSTLING OUR EXPERTS SAYING, UNTIL WE'VE GOT

   13   SOMETHING, YOU GOT TO BE READY. WE GOT A COURT ORDER IN

   14   PLACE. WE CANNOT DESIGNATE. WE CANNOT PRODUCE THE

   15   REPORT. WE SEND THEM A MESSAGE SAYING WE WOULD LIKE TO

   16   DO THE EXCHANGE BY FEDERAL EXPRESS. I THINK IT WAS A

   17   MONDAY -- AND WE'RE SENDING THIS TO THEM, I THINK, ON

   18   FRIDAY. I'M NOT SURE. THEY SEND BACK, WELL, OKAY. FED

   19   EX IS JUST PEACHY. FED EX IS FINE. WE DON'T WANT TO --

   20   WE'RE GOING TO RESERVE OUR RIGHTS. WE'RE NOT GOING TO

   21   DESIGNATE ALL OF OUR EXPERTS RIGHT NOW. WE'RE RESERVING

   22   OUR RIGHT TO DESIGNATE SOME OF THEM LATER ON. OKAY.

   23     WE GIVE THEM, PER THE COURT ORDER, WE GOT NO

   24   PROPOSED SCHEDULING ORDER FROM THEM. WE GOT NO

   25   EXPLANATION AS TO WHY WE HAVEN'T GOTTEN A PROPOSED




                                 18
Case 10-06112    Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                            to Remand Page 42 of 301




   1    SCHEDULING ORDER. WE ARE BOUND BY THE CURRENT ORDER TO

   2    EXCHANGE EXPERT WITNESSES. THEY ENLISTED OURS AND THEN

   3    THEY GO AND SAY OH, GEE, WE NOW WANT TO GO SEEK AN

   4    EXTENSION OF THE DISCOVERY CUT OFF DATE. AND THEN THEY

   5    SAY, WELL, YOU MISREAD MY "ALL" STATEMENT. WHEN I SAID

   6    THAT WE WEREN'T GOING TO DESIGNATE ALL, I MEANT THAT WE

   7    WEREN'T GOING TO DESIGNATE ANY. WE WERE JUST GOING TO

   8    GET YOURS. AND I THINK -- I HONESTLY BELIEVE THAT WE

   9    HAVE BEEN PREJUDICED BY THIS TACTIC. AND I WILL NOTE

   10   WITH RESPECT TO THE DISCOVERY CUT OFF THAT THEY HAVE NOT

   11   FILED ONE MOTION TO COMPEL ANY THIRD PARTY TO PRODUCE

   12   DOCUMENTS. THEY HAVE NOT FILED ONE MOTION TO COMPEL.

   13   THE MOTIONS THAT THEY FILED EONS AGO ABOUT THE FINANCIAL

   14   RECORDS, WE PRODUCED THOSE AND WE RESOLVED THOSE ISSUES.

   15   AND I DON'T KNOW IF THEY USE THE MAGIC WORDS THAT WE'RE

   16   TAKING THE MOTION OFF THE CALENDAR, BUT THOSE DOCUMENTS

   17   HAVE BEEN EXCHANGED. OKAY. I DID NOT -- WE MADE OUR

   18   WITNESSES AVAILABLE WHENEVER THEY ASKED FOR THEM. I

   19   TRIED TO TURN AROUND PROMPTLY AND MAKE THOSE WITNESSES

   20   AVAILABLE. THERE HAS BEEN -- AND I MAY SAY NOBODY IS

   21   SITTING IN A PERFECT POSITION WITH DISCOVERY. WE HAVE

   22   NOT GOTTEN --

   23     THE COURT: I NEVER FOUND A CASE WHERE EVERYBODY

   24   HAS.

   25     MS. SHUMENER: THAT'S THE POINT. AND WE CAN GO ON




                                19
Case 10-06112        Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                                to Remand Page 43 of 301




   1    LIKE THIS.

   2      THE COURT: AND THAT'S WHY I'M HERE TO FIGURE OUT

   3    HOW DO WE GET OFF THE DIME AND NOT POINT FINGERS AT

   4    FOLKS.

   5      MS. SHUMENER: WELL, I'M HAVING A HARD TIME BECAUSE

   6    WE'VE BEEN PREJUDICED NOW.

   7      THE COURT: WELL THAT I'M NOT ON LETTER. WE'LL GET

   8    TO THAT POINT -- BUT I MEAN AT THIS POINT, I THINK IT'S

   9    TO A CREDIT THAT NOBODY FILED A MOTION TO COMPEL. I

   10   MEAN, THIS BASICALLY IS A MOTION TO COMPEL. IF YOU

   11   REALLY READ THE PAPERS. THERE'S A LOT OF A ACRIMONY

   12   BETWEEN BOTH PARTIES. AND THE BOTTOM LINE IS HOW DO WE

   13   GET OFF THE DIME AND GET PASSED THE ACRIMONY AND HOLD

   14   FAST TO OUR TRIAL DATE AND OUR MOTION DATE. I'M HERE TO

   15   TELL YOU GUYS, IF WE DON'T -- I HAVE GIVEN YOU ALL THREE

   16   WEEKS. I'VE NOW SHAVED YOU BY ONE DAY, BUT I HAVE GIVEN

   17   YOU ALL ALMOST THREE WEEKS. I DON'T HAVE ANOTHER THREE

   18   WEEKS UNTIL THE BEGINNING OF THE YEAR, SO WE NEED TO PULL

   19   TIGHT. SO MY WHOLE POINT IS THERE'S ENOUGH

   20   QUOTE-ON-QUOTE BLAME, MISUNDERSTANDING, LACK OF

   21   COMMUNICATION, BAD FAITH ALLEGATIONS ON BOTH SIDES. I

   22   WANT TO MOVE OFF THE DIME.

   23      MS. SHUMENER: CAN I JUST ADDRESS THE 30(B)6

   24   DEPOSITIONS AS WELL, PLEASE, IF YOU DON'T MIND?

   25      THE COURT: SURE. NO, I DON'T MIND.




                                  20
Case 10-06112      Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                              to Remand Page 44 of 301




   1      MS. SHUMENER: IT IS NOT ADEQUATE TO FOUR OR FIVE

   2    INDIVIDUALS --

   3      THE REPORTER : I'M SORRY. I DIDN'T HEAR YOU.

   4      MS. SHUMENER: FOR THE FIVE INDIVIDUALS THAT WERE

   5    DEPOSED. THIS IS A BANK, BY THE WAY, THAT MADE 1.5

   6    BILLION DOLLARS ALONE BEFORE OUR LOAN WAS EVEN MADE. AND

   7    THIS IS NOT WHAT I WOULD CONSIDER A SMALL LITTLE COMPANY,

   8    BUT EVEN IT IF IT WERE, THEY WOULD HAVE TO SHOW THAT

   9    THERE'S A HUGE PRESUMPTION HERE AND THERE HAS BEEN NO

   10   SHOWING ME BY SFG ABOUT IT, THAT THE QUESTIONS I INTEND

   11   TO ASK THE 30(B)6 WITNESSES ARE IDENTICAL TO THE

   12   QUESTIONS I'VE ASKED.

   13     THE COURT: IT IS OR IS NOT.

   14     MS. SHUMENER: IT IS NOT.

   15     THE COURT: WELL, I HAVEN'T SEEN A SHOWING A BODY OF

   16   RESPECT OF ANY DIFFERENCE OF WHAT YOU WANTED. I HAVEN'T

   17   SEEN IT.

   18     MS. SHUMENER: WELL, I DID NOT ASK THEM ANY

   19   QUESTIONS THAT I CAN RECALL ABOUT COMPLIANCE WITH THE

   20   DEFAULTS ALLEGED IN THE COMPLAINT. EVERY -- THE LOAN

   21   AGREEMENT THAT THEY'RE RELYING ON HAS CERTAIN CONDITIONS

   22   PROCEEDING TO THEIR DEFENDING DEFAULT. I HAVE NOT GONE

   23   THROUGH AND ASKED THEM WITH RESPECT TO THE FIVE

   24   RECIDIVITY DEFAULTS THAT THEY HAVE ALLEGED IN THE

   25   COMPLAINT, WHICH BY THE WAY ARE NOT OVERLY BROAD TOPICS.




                                 21
Case 10-06112    Doc 1-8    Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                             to Remand Page 45 of 301




   1    IT'S BUDGET OVERRUNS, THE COMPLETION DATE OF THE PROJECT.

   2    THESE ARE WHETHER MR. MINOR GAVE THEM HIS FINANCIAL

   3    STATEMENTS IN THE CLAIM, WHETHER HIS FINANCIAL CONDITION

   4    DETERIORATED AS OF THE TIME THAT HE DECLARED THE DEFAULT

   5    AND THERE'S ONE OTHER -- OH, AND WHETHER WE HAD A RIGHT

   6    TO TERMINATE THE DEVELOPER. THESE ARE THE FIVE DEFAULTS.

   7      THE COURT: WELL, RESPECTFULLY, THE 30(B)6 NOTICE

   8    THAT I SAW WASN'T SO TAILORED. IF I SAW A 30(B)6 NOTICE

   9    THAT SAYS PUT UP ONE PERSON THAT WILL ADDRESS THE

   10   ARTICULATED REASONS FOR DEFAULT BY SFG, I WOULD LOOK AT

   11   IT DIFFERENTLY. WHAT I SAW WAS FIVE OR SIX VERY BROAD

   12   TOPICS THAT HAVE BEEN TOUCHED UPON, AS I UNDERSTAND IT,

   13   BY THE REPS, BUT IT'S A WHOLE DIFFERENT MATTER, I WOULD

   14   THINK YOU WOULD AGREE, MR. ALPERT, TO PUT ONE PERSON UP

   15   WHO SAYS HERE ARE OUR FIVE COMPANY REASONS FOR THE

   16   DEFAULT. AND HERE -- HERE'S THE DOCUMENTS AND HERE'S

   17   WHAT BACKED IT UP. HAS ANYBODY TESTIFIED TO THAT YET?

   18     MR. ALPERT: YES AND NO, YOUR HONOR. LET ME EXPLAIN

   19   WHAT I MEAN. AND I WILL ANSWER YOUR SUGGESTION, YOUR

   20   HONOR, BECAUSE I THINK IT MIGHT BE OKAY. IN CONNECTION

   21   WITH DISCOVERY, THEY'RE NOT ONLY DEPOSITIONS, BUT AS YOU

   22   KNOW INTERROGATORIES. AND DEFENDANT SERVED COMPREHENSIVE

   23   INTERROGATORIES ON OUR CLIENT. IN CONNECTION WITH THOSE

   24   INTERROGATORIES, THEY ASKED A NUMBER OF INTERROGATORIES

   25   ABOUT THE FACTS THAT SUPPORT YOUR DEFAULT, THE FACT THAT




                                 22
Case 10-06112    Doc 1-8     Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                              to Remand Page 46 of 301




   1    SUPPORT THIS CLAIM. WE ANSWERED THOSE QUESTION UNDER

   2    OATH.

   3      THE COURT: OKAY. ONE VERIFICATION?

   4      MR. ALPERT: ONE VERIFICATION BY DILLON PETIGARA

   5    (PHONETIC). THEY HAD IT ALL MONTHS BEFORE THEY TOOK

   6    MR. PETIGARA'S DEPOSITION AND THEY MADE THE DECISION NOT

   7    TO PUT IT IN FRONT OF HIM AND NOT TO ASK HIM QUESTIONS

   8    ABOUT IT. I MEAN, THIS IS THE CLASSIC SECOND BITE AT THE

   9    APPLE.

   10     THE COURT: WELL, I DO THINK THOUGH -- AND THE

   11   REASON THAT MAY BE THERE IS AN ISSUE IS THAT I THINK

   12   THERE WAS SOME DISCUSSION ABOUT, HEY, LET'S GET THESE

   13   DEPOSITIONS AND THEN WE'LL TALK ABOUT 30(B)6 LATER. THAT

   14   COULD BE ONE REASON, RIGHT?

   15     MR. ALPERT: YES.

   16     THE COURT: AND YOU AND I, ALL OF US HAVE TRIED

   17   COMPLICATED CASES BEFORE. AND WE ALL KNOW THAT IT'S

   18   REALLY DIFFICULT TO TAKE A STACK OF INTERROGATORIES AND

   19   SHOW THEM TO A WITNESS AND HAVE ANY MEANINGFUL

   20   PRESENTATION TO A JURY. AND SO, THE BETTER WAY TO DO

   21   IT -- AND, YES, MAYBE I SHOULD FUSS AT YOU AND YOU

   22   PERHAPS SHOULD HAVE DONE IT AT THE TIME IT WENT AROUND,

   23   BUT IT'S WITHOUT A 30(B)6 DESIGNATION. AND I CAN

   24   UNDERSTAND POTENTIALLY WHY YOU DIDN'T. I DO THINK IT

   25   MIGHT BE REASONABLE IN ORDER TO HAVE AN EFFECTIVE




                                23
Case 10-06112     Doc 1-8    Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                              to Remand Page 47 of 301




   1    PRESENTATION TO THE JURY TO HAVE ONE PERSON DESIGNATED AS

   2    THE PERSON IN CHARGE OF ARTICULATING FOR THE COMPANY THE

   3    REASONS FOR THE DEFAULT.

   4      MR. ALPERT: AND, JUDGE, IN THE SPIRIT OF COMPROMISE

   5    AND WANTING TO, IF I MAY BORROW THE PHRASE, GET OFF THE

   6    DIME, I'M HAPPY TO DO IT.

   7      THE COURT: IT'S PROBABLY A NICKEL HERE AT THIS

   8    POINT.

   9      MS. SHUMENER: UNTIL LATER IT'S A QUARTER.

   10     MR. ALPERT: I'M HAPPY TO DO IT, BUT THE ONLY THING

   11   THAT I WOULD ASK IS THAT WE BE GIVEN THE SAME

   12   OPPORTUNITY.

   13     THE COURT: IN WHAT REGARD?

   14     MR. ALPERT: WE WANT TO ASK THE 30(B)6

   15   REPRESENTATIVE OF MINOR FAMILY HOTELS THE SAME THING,

   16   JUST WALK THROUGH AND ASK THESE S AND NOT GET A RESPONSE

   17   OF I'M NOT A LAWYER. I DON'T KNOW.

   18     MS. SHUMENER: EXCUSE ME, YOUR HONOR. THEY HAVE

   19   NEVER SERVED A 30(B)6 DEPOSITION NOTICE. NOW WE'RE NOT

   20   EXTENDING DISCOVERY.

   21     MR. ALPERT: YES, WE HAVE.

   22     MR. DOUGLASS: WE HAVE.

   23     MS. SHUMENER: WHEN DID YOU SERVE A 30(B)6.

   24     MR. ALPERT: PRIOR TO COMING OUT TO SAN FRANCISCO

   25   FOR THE DEPOSITION OF MR. MINOR.




                                    24
Case 10-06112      Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                              to Remand Page 48 of 301




   1      MS. SHUMENER: AND WE REFUSED TO DESIGNATE A

   2    WITNESS?

   3      MR. ALPERT: WE NEVER GOT TO IT.

   4      THE COURT: IT ALL JUST PROBABLY GOT CAUGHT UP IN

   5    THE SAME 30(B)6 WORLD?

   6      MR. ALPERT: WELL, WHAT HAPPENED IS WE COULDN'T EVEN

   7    GET TO IT BEFORE THEY STOPPED THE DEPOSITION.

   8      MS. SHUMENER: WHAT ARE YOU TALKING ABOUT? YOU

   9    DEPOSED MR. MINOR FOR TWO SOLID DAYS. YOU NEVER

   10   MENTIONED ANYTHING ABOUT A 30(B)6.

   11     THE COURT: HE WASN'T DESIGNATED.

   12     MR. ALPERT: HE WASN'T DESIGNATED AND WE NEVER GOT

   13   THERE.

   14     MS. SHUMENER: WELL, WE NEVER EVEN DISCUSSED THE

   15   30(B)6 DEPOSITION.

   16     MR. ALPERT: WE SENT YOU THE NOTICE.

   17     THE COURT: THAT'S THE POINT. THAT'S THE POINT. WE

   18   HAVEN'T DISCUSSED IT. YOU ALL HAVEN'T DISCUSSED IT AND

   19   IT NEEDS TO BE DISCUSSED. CAN YOU -- ANY CHANCE YOU CAN

   20   CALL UP WHEN IT WAS, APPROXIMATELY, THAT WAS FILED, THE

   21   30(B)6, JUST TO SETTLE THIS ISSUE.

   22     MR. ALPERT: JONATHAN, CAN YOU GO OUTSIDE THE

   23   COURTROOM PLEASE AND JUST GIVE A CALL AND TRACK THAT DOWN

   24   WITH THERESA?

   25     THE COURT: THE 30(B)6 THAT WOULD HAVE PRIOR TO THE




                                  25
Case 10-06112    Doc 1-8    Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                             to Remand Page 49 of 301




   1    END OF FACT DISCOVERY FOR THE MINOR FAMILY HOTELS

   2    30(B)6 -- OR CAROL MAY HAVE IT ON THE DOCKET. WAS IT

   3    FILED WITH US.

   4      MR. DOUGLASS: I'M SURE IT WAS NOT.

   5      THE COURT: IT WAS NOT. ALL RIGHT. WELL WITHOUT

   6    FINGER POINTING, NAME CALLING, IT SEEMS TO ME THE BEST

   7    WAY TO MOVE OFF THE NICKEL, DIME, PENNY, THE MARK AND

   8    MOVE THE 30(B)6'S, IF YOU HAVE ALREADY SERVED ONE IS A

   9    GOOSE-GANDER RULE, ONE EACH. WE CAN LIMIT IT BY TIME.

   10   WE CAN UNDERSTAND THAT WE ARE NOT GOING TO SPEND EIGHT,

   11   TEN HOURS AGAIN. WE'RE NOT GOING PLOW OVER OLD GROUND.

   12   WE ALL HAVE EACH SIDE TRADE TOPICS. YOURS WILL BE

   13   WHATEVER, YOU KNOW, I WANT TO KNOW THE SIX REASONS FOR

   14   DEFAULT AND WHATEVER THEY ARE.

   15     MS. SHUMENER: I ALSO WANT THE DOCUMENT RETENTION.

   16     THE COURT: WHATEVER. THEY NEVER FOUGHT OVER THAT.

   17   AND THAT WOULD NOT BE A SLICE AT THIS. THEY AGREED TO

   18   THAT. AS I UNDERSTAND YOUR PAPERS, YOU HAVE ALWAYS

   19   AGREED TO THAT.

   20     MR. ALPERT: YES, YOUR HONOR.

   21     THE COURT: SO THAT'S A GIVEN. AND THEN THE MOVE,

   22   THE 30(B)6 WOULD BE EACH OF YOU HAVE ONE. YOU IDENTIFY

   23   YOUR TOPICS. IF YOU FUSS OVER YOUR TOPICS AND YOU CAN'T

   24   AGREE ON YOUR TOPICS, YOU LET ME KNOW AND I EITHER

   25   APPROVE OR DISAPPROVE YOUR TOPICS. THOSE NEED TO HAPPEN.




                                26
Case 10-06112      Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                              to Remand Page 50 of 301




   1    THEY NEED TO HAPPEN IN MY JUDGMENT TO EFFECT ORDERLY

   2    PRESENTATION OF EVIDENCE TO A JURY.

   3      MS. SHUMENER: CAN I ASK YOU YOUR HONOR A QUESTION,

   4    A FAVOR?

   5      THE COURT: SURE. FAVOR. SURE.

   6      MS. SHUMENER: COULD YOU PLEASE DESIGNATE THE TIME?

   7      THE COURT: WHAT DO YOU THINK IS REASONABLE?

   8      MS. SHUMENER: I WOULD HAVE SAID, IF YOU ASKED ME,

   9    FOR EACH SIDE TO HAVE SEVEN HOURS, BUT IF THEY THINK THAT

   10   THAT'S TOO MUCH, I'M WILLING TO HAVE EACH SIDE GO FOUR

   11   HOURS.

   12     THE COURT: I WOULD THINK AFTER EVERYTHING, FOUR

   13   OUGHT TO DO IT.

   14     MS. SHUMENER: OKAY. BUT I WOULD LIKE FOUR REAL

   15   HOURS, NOT FOUR HOURS -- NO, I'M SERIOUS. I MEAN, THEY

   16   SAY WE HAVE 40 HOURS OF DEPOSITION. THEY HAD AS MUCH

   17   TIME OF LIVE DEPOSITION TESTIMONY AS WE HAVE WITH TWO

   18   WITNESSES THAT WE HAVE WITH FIVE.

   19     THE COURT: HOW DO YOU DEFINE A REAL HOUR?

   20     MS. SHUMENER: I DEFINE IT AS TESTIMONY TIME. IT'S

   21   ON THE RECORD AS THE TIME YOU TAKE FOR BREAKS, THE TIME

   22   YOU TAKE FOR LUNCH AND --

   23     THE COURT: AND ARGUING.

   24     MS. SHUMENER: AND, FRANKLY, I WOULD LIKE THE TIME

   25   FOR ARGUING THE OBJECTIONS TO EXCLUDED BECAUSE --




                                27
Case 10-06112    Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                            to Remand Page 51 of 301




   1      THE COURT: ALL RIGHT. FOUR HOURS OF TESTIMONY

   2    TIME.

   3      MS. SHUMENER: FOUR HOURS OF TESTIMONY TIME.

   4      THE COURT: OKAY. AND I THINK THAT'S FAIR TO BOTH

   5    SIDES BUT, AGAIN, NAIL THESE TOPICS DOWN IN ADVANCE,

   6    EXCHANGE THEM. AND IF THERE'S AN ARGUMENT ABOUT A TOPIC,

   7    LET ME KNOW.

   8      MS. SHUMENER: AND CAN WE HAVE IT UNDERSTOOD BECAUSE

   9    I FIND THESE DEPOSITIONS TO BE VERY DISRUPTIVE. CAN WE

   10   HAVE IT UNDERSTOOD WITH THE 30(B)6 DEPOSITIONS, WE CAN

   11   HAVE THE STANDING OBJECTION AS TO FORM SO THAT EACH

   12   QUESTION IS NOT DISRUPTED WITH A LONG MONOLOGUE.

   13     THE COURT: DO YOU HAVE ANY PROBLEM WITH THAT?

   14     MR. ALPERT: I DON'T THINK I GENERALLY HAVE A

   15   PROBLEM, JUDGE, AS LONG AS WE UNDERSTAND WHAT THE FORM OF

   16   OBJECTION IS.

   17     THE COURT: CORRECT.

   18     MR. ALPERT: SO I'M SURE WE CAN FIGURE THAT OUT.

   19     THE COURT: WE'LL WORK THAT OUT. ALL RIGHT. THAT I

   20   THINK WILL HELP EVERYBODY.

   21     MS. SHUMENER: SO WE DON'T HAVE TO STATE THE

   22   OBJECTIONS DURING THE DEPOSITION, WE CAN GO THROUGH?

   23     THE COURT: WELL, FORM, THE LAWYERS HUMBLY,

   24   RESPECTFULLY USE FORM AS AN UMBRELLA FOR OBJECTIONS THAT

   25   REALLY OUGHT TO BE ARTICULATED LIKE PRIVILEGE -- LIKE I




                                28
Case 10-06112      Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                              to Remand Page 52 of 301




   1    DON'T KNOW, WHAT ELSE, LEADING.

   2      MR. ALPERT: WELL, LEADING IS A FORM, FORM,

   3    FOUNDATION.

   4      THE COURT: SOMETHING THAT CAN BE CURED, I WANT IT

   5    CURED.

   6      MS. SHUMENER: WELL, I SEE WHAT YOU'RE SAYING.

   7      THE COURT: BECAUSE OTHERWISE YOU GOT FULL TYPES

   8    THAT ARE UNUSABLE. I TEACH ON DEPOSITIONS. AND YOU KNOW

   9    WHAT HAPPENS? LAWYERS TAKE WHAT THEY THINK ARE TWO DAYS

   10   WORTH OF GREAT DEPOSITIONS. THEY GET TO TRIAL AND THEY

   11   CANNOT USE THEM BECAUSE --

   12     MS. SHUMENER: IF SAID -- BUT WHEN I SAID OBJECTION,

   13   VAGUE OR OBJECTION, CALLS FOR SPECULATION OR OBJECTION,

   14   OVER BROAD, I GET THIS YOU'RE COACHING THE WITNESS NUMBER

   15   ONE BUT, YET, THEY MAKE THE EXACT SAME OBJECTIONS.

   16     THE COURT: YOU WANT ME TO SIT IN ON THESE?

   17     MS. SHUMENER: I WOULD. I WOULD LOVE IT IF YOU SAT

   18   IN ON THESE, YOUR HONOR, OR A PRIVATE REFEREE. I WOULD

   19   LOVE IT.

   20     MR. ALPERT: JUDGE, I WILL TELL YOU WHAT WE WOULD

   21   REALLY LIKE -- AND WE ARE GOING TO HAVE TO TOUCH ON THIS

   22   TOPIC. WE TALKED ABOUT MAKING MR. MINOR AVAILABLE FOR

   23   TWO DAYS. IT WAS AN ABSOLUTE CIRCUS. IT WAS A CIRCUS.

   24   WE COULD NOT GET A STRAIGHT ANSWER FROM MR. MINOR. HE

   25   CURSED REPEATEDLY, BOTH HE AND HIS COUNSEL WERE -- AND




                                29
Case 10-06112     Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                             to Remand Page 53 of 301




   1    YOU CAN HEAR IT ON THE TAPE. THEY ARE LAUGHING AT THE

   2    QUESTIONS. IT TOOK US TWO FULL DAYS TO GET A COUPLE OF

   3    HOURS OF TESTIMONY. IT WAS UNLIKE ANYTHING I'VE EVER

   4    SEEN IN MY LIFE.

   5      THE COURT: ALL RIGHT. LET'S HAVE THEM HERE. LET'S

   6    DO THE DEPOSITIONS HERE. DO BOTH OF THEM HERE AND I WILL

   7    GIVE YOU A WHOLE DAY.

   8      MS. SHUMENER: WHEN WE WERE LAUGHING? I REALLY,

   9    SINCERELY RECENT. WHEN WE LAUGHING, MR. ALPERT WAS

   10   LAUGHING. AND WE WERE LAUGHING AT THE DOCUMENTS BECAUSE

   11   SOME OF THINGS SAID IN THEM. MR. MINOR TESTIFIED AT

   12   LENGTH AND EXTENSIVELY. IF YOU TAKE A LOOK AT HOW MANY

   13   HOURS HE ANSWERED QUESTIONS, I WELCOME THE DEPOSITION.

   14     THE COURT: WOULD YOU GO GET MY CALENDAR, PLEASE?

   15   THIS IS FAIR TO BOTH SIDES. ALL RIGHT. WE'LL TAKE THEM

   16   HERE. WE'LL TAKE THEM BOTH HERE. CAN MR. MINOR BE HERE

   17   AND MISTER WHO EVER HE IS BE HERE?

   18     MR. ALPERT: WE WILL MAKE SURE WE HAVE SOMEONE HERE.

   19     THE COURT: UNLESS YOU WANT TO GO SOMEWHERE ELSE?

   20     MS. SHUMENER: NO, NO.

   21     THE COURT: HERE IS FOR EVERYBODY?

   22     MS. SHUMENER: I THINK IT'S MUCH BETTER.

   23     THE COURT: ALL RIGHT. WE'LL DO THAT.

   24     MR. ALPERT: JUDGE, WHEN YOU SAY HERE, YOU MEAN

   25   RIGHT HERE?




                                30
Case 10-06112    Doc 1-8     Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                              to Remand Page 54 of 301




   1      THE COURT: YES. I HAVE DONE IT BACK IN THE JURY

   2    ROOM. I HAVE DONE IT IN HERE. I HAVE DONE IT -- AND I

   3    MAY END UP DOING IT THIS WAY BECAUSE I DON'T NECESSARILY

   4    NEED TO SIT THERE DURING WHOLE THING. I HAVE DONE IT.

   5    WHEN YOU DO IT HERE AND WHEN THINGS, PEOPLE IDENTIFY

   6    EXPERTS, THEY JUST BRING ME OUT AND TELL ME WHAT'S GOING

   7    ON AND I MAKE A DECISION RIGHT THERE. AND SO, INSTEAD OF

   8    SITTING THERE LOOKING OVER ANYBODY'S SHOULDER, I'M JUST

   9    RIGHT IN THE BACK. AND I'VE DONE THAT TWO, THREE, FOUR

   10   TIMES. AND IT TENDS TO WORK FOR BOTH SIDES.

   11     MR. ALPERT: I THINK IT'S A GREAT IDEA, JUDGE.

   12     THE COURT: ALL RIGHT. WE'LL DO IT HERE.

   13     MR. ALPERT: SIT IN FOR A WHILE, IF YOU COULD.

   14     THE COURT: I WILL ON EACH SIDE. ALL RIGHT. NOW IF

   15   I START ASKING QUESTIONS AT THE DEPOSITION, SHUT ME UP.

   16   IF I GET BACK INTO TRIAL LAWYER MODE, NO TRIAL LAWYER

   17   MODE. I DON'T WANT TO GO BACK.

   18     MS. SHUMENER: YOU CAN ASK ANYTHING YOU LIKE, YOUR

   19   HONOR.

   20     THE COURT: I DON'T WANT TO DO THAT. OKAY. SO I

   21   THINK THAT'S A FAIR RESOLUTION OF 30(B)6, BUT THAT AGAIN

   22   DOES NOT PRE-EMPTS YOU FROM TAKING HER DOCUMENT RETENTION

   23   30(B)6 DEPO. I'M NOT TRYING TO CRAMP YOU THAT.

   24     NOW LET'S TALK ABOUT TIMING. HOW FAST CAN WE GET

   25   ALL OF THIS DONE? DO YOU ALL HAVE YOUR PDA AND YOUR




                                 31
Case 10-06112    Doc 1-8    Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                             to Remand Page 55 of 301




   1    SCHEDULES HERE.

   2      MR. ALPERT: WE DO.

   3      THE COURT: OKAY. WE HAVE THE DATE -- I HAVE YOU

   4    FOR PRETRIAL ON THE 24TH SEPTEMBER. IS IT Y'ALL DAUBERT

   5    MOTION ON THE 2ND? IS THAT Y'ALL'S, SEPTEMBER 2ND?

   6      MR. ALPERT: MOTION FOR SUMMARY ON THE 2ND.

   7      THE COURT: AND DAUBERT ON THE 2ND, IF THERE ARE

   8    ANY. OKAY. ALL RIGHT. I'M MAKING SURE I'M GOING BACK

   9    THERE FOR THESE. SO, DO WE HAVE ANY DEADLINES FOR THE --

   10   DO WE HAVE ANYTHING -- A DEADLINE FOR THE COURT PRIOR TO

   11   THAT? I DON'T HAVE ANYTHING ON MY CALENDAR, BUT THAT

   12   MEANS Y'ALL HAVE YOUR INTERNAL DEADLINE.

   13     MR. ALPERT: RIGHT.

   14     THE COURT: ALL RIGHT. SO LET'S START FIRST WHEN DO

   15   YOU ALL THINK IT WOULD BE A REASONABLE DATE TO SET THESE

   16   MOTIONS DOWN?

   17     MR. ALPERT: YOU'RE TALKING ABOUT --

   18     THE COURT: NOT THE MOTIONS, THESE DEPOSITIONS, I

   19   BEG YOUR PARDON.

   20     MR. ALPERT: YOU'RE TALKING ABOUT THE 30(B)6

   21   DEPOSITIONS WE JUST DISCUSSED?

   22     THE COURT: YES, SIR. YES, SIR, MR. ALPERT.

   23     MR. ALPERT: I DON'T THINK THAT THERE'S -- WE CAN

   24   CALL OUR CLIENT, JUDGE. I DON'T SEE ANY REASON WHY WE

   25   COULD NOT GET IT DONE IN THE NEXT COUPLE OR THREE WEEKS.




                                32
Case 10-06112    Doc 1-8      Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                               to Remand Page 56 of 301




   1      THE COURT: OKAY. I HAVE -- MR. SCHAFER, CORRECT ME

   2    I'M WRONG, BUT DO I NO HAVE THE ENTIRE DAY OF JULY 9TH,

   3    FRIDAY AVAILABLE?

   4      THE CLERK: RIGHT.

   5      MS. SHUMENER: OH, BOY.

   6      THE COURT: IS THAT NOT A GOOD DAY FOR YOU?

   7      MS. SHUMENER: I JUST TOLD COUNSEL I'M ACTUALLY

   8    BEING DEPOSE. AND I WAS JUST TOLD COUNSEL THAT I WAS

   9    AVAILABLE ON JULY 9TH, BUT I CAN SEE IF I CAN MOVE IT.

   10     THE COURT: I'M TRYING TO THINK. YOU KNOW, IT'S DAY

   11   WHEN MY COURTROOM IS AVAILABLE. THESE FRIDAYS ARE GOOD,

   12   BUT THAT SEEMS TO BE THE ONLY FRIDAY I HAVE.

   13     MS. SHUMENER: LET ME JUST SEN AN E-MAIL.

   14     THE COURT: YES, MA'AM.

   15     MS. SHUMENER: AND SEE IF I CAN CLEAR OFF THE 9TH. I

   16   DON'T KNOW IF MR. MINOR IS AVAILABLE ON THE 9TH.

   17     THE COURT: ALL RIGHT. Y'ALL TAKE A MINUTE. LET

   18   THEM KNOW, TOO. I DON'T KNOW WHAT Y'ALL'S SCHEDULE IS,

   19   BUT I'M HAPPY TO PRE-EMPT MY CIVIL JURIES FROM THE 26,

   20   27, 28TH AND 29TH OF JULY TO HELP YOU ALL GET THROUGH

   21   THIS. I DO HAVE TO CALL ANYBODY IN. THE 26, 27, 28 AND

   22   29TH OF JULY. I HAVE CIVIL JURIES THAT WEEK, BUT

   23   MR. SCHAFER DON'T HAVE ANYBODY SPECIAL SET. ARE YOU ON

   24   VACATION THAT WEEK, MR. ALPERT?

   25     MR. ALPERT: I'M NEVER GOING TO LIVE THAT DOWN.




                                 33
Case 10-06112    Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                            to Remand Page 57 of 301




   1    I'VE GOT SOME EXPERT DEPOSITIONS IN NEW YORK ON THE 26TH

   2    AND 27TH. HOW ABOUT THE 29TH AND 30TH?

   3      THE COURT: NOT THE 30TH. I CAN'T GIVE YOU THE

   4    30TH.

   5      MR. ALPERT: HOW ABOUT THE 29TH.

   6      THE COURT: I CAN GIVE YOU THE 29TH AS AN

   7    ALTERNATIVE DATE AS WELL, SO EITHER ONE.

   8      MS. SHUMENER: SO THE 29TH FOR WHAT?

   9      THE COURT: THESE DEPOSITIONS.

   10     MS. SHUMENER: OH, FOR BOTH OF THEM IN ONE DAY.

   11     THE COURT: YES, MA'AM. AND THEN YOU DON'T HAVE TO

   12   JEOPARDIZE YOUR 9TH. YOU BETTER SEE IF MR. MINOR IS

   13   AVAILABLE ON THE 29TH. WOULD YOU CHECK WITH YOUR

   14   GENTLEMAN, PLEASE, SIR.

   15     MR. DOUGLASS: ABSOLUTELY. HE'S IS AVAILABLE.

   16   (WHEREUPON, OFF-THE-RECORD DISCUSSIONS OCCURRED.)

   17     THE COURT: LET'S PROTECT THAT DATE FOR NOW. I CAN

   18   ENTER AN ORDER. SO I THINK WE HAVE KIND OF TAKEN CARE OF

   19   THAT ISSUE IT SEEMS TO ME. AND, REMEMBER, I DO WANT YOU

   20   IN THE MEANTIME TO BEGIN THOSE TOPICS AND EXCHANGE THOSE

   21   AND NARROW THAT ISSUE FOR THE DAY.

   22     ALL RIGHT. NOW, THE NEXT ISSUE SEEMS TO BE ALL OF

   23   THESE DOCUMENTS THAT YOU CLAIM YOU DIDN'T KNOW THEY NEED

   24   AND YOU SAY CLEARLY THAT YOU NEED. IS THERE A PLACE

   25   WHERE THERE IS AN OUTSTANDING LIST OF WHAT YOU ARE




                                  34
Case 10-06112    Doc 1-8    Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                             to Remand Page 58 of 301




   1    REQUESTING?

   2      MR. ALPERT: YES, I THINK TO THE EXTENT THAT IT'S IN

   3    A NUMBER OF DIFFERENT DOCUMENTS, YOUR HONOR, WE CAN GO

   4    SYNTHESIZE THAT AND PUT IT IN ONE PLACE.

   5      THE COURT: THAT'S WHAT I WOULD LIKE.

   6      MR. ALPERT: I CAN TELL YOU THIS -- AND I DON'T HAVE

   7    ANY REASON TO BELIEVE THAT COUNSEL FOR DEFENDANT IS NOT

   8    BEING FORTHCOMING WITH RESPECT TO WHAT SHE KNOWS. IT'S

   9    MY UNDERSTANDING WE HAVE NOT RECEIVED A SINGLE DOCUMENT

   10   REGARDING MINOR VENTURES, LLC. AND WHAT'S IMPORTANT TO

   11   UNDERSTAND -- AND I THINK I TOUCHED ON IT CONCEPTUALLY,

   12   BUT I WANT TO ARTICULATE SOME SPECIFICS. MINOR VENTURES

   13   OWNS THE STOCK. MR. MINOR HAS IDENTIFIED IT AS HIS AND

   14   GIVEN HIMSELF FULL VALUE FOR IT. MINOR VENTURES, LET'S

   15   SAY OWNS A DOLLAR WORTH OF STOCK, OKAY. MINOR VENTURES

   16   GOT A LEASE. ITS GOT A PAYROLL. ITS GOT INSURANCE.

   17   IT'S GOT ALL THOSE. SO, AT THE END OF DAY WE DON'T KNOW

   18   ANYTHING ABOUT THE FINANCIAL OBLIGATIONS, THE TAX

   19   STRUCTURE, THE OWNERSHIP STRUCTURE.

   20     THE COURT: THE LIABILITY --

   21     MR. ALPERT: YEAH, TO FIGURE OUT --

   22     THE COURT: -- AGAINST THE ASSETS. I UNDERSTAND.

   23     MR. ALPERT: AND THAT'S WHAT YOU NEED TO UNDERSTAND.

   24   AND ALL THOSE DOCUMENTS GO TO CALCULATING THE VALUE OF

   25   THAT STOCK TO MR. MINOR. WE DON'T HAVE ANY OF THOSE




                                35
Case 10-06112    Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                            to Remand Page 59 of 301




   1    DOCUMENTS. AND I WILL TELL YOU WHY IT'S IMPORTANT. ONE

   2    OF THE REASONS IT'S IMPORTANT IS, YOU KNOW, WE RECENTLY

   3    LEARNED THAT MINOR VENTURES IS NOW SHUTTERING ITS

   4    OPERATIONS. IT HAS VANISHED FROM ITS SPACE, LEAVING ALL

   5    KINDS OF COMPUTER AND ART WORK AND STUFF. THE LANDLORD

   6    IS HUNTING THEM DOWN FOR UNPAID RENT. SO, I MEAN, WHAT

   7    ARE MINOR VENTURES, LLC. OBLIGATIONS?

   8      MS. SHUMENER: WHERE DID YOU GET THIS INFORMATION?

   9      MR. ALPERT: I THINK WE GOT FROM --

   10     MS. SHUMENER: BECAUSE I DON'T HAVE THIS

   11   INFORMATION.

   12     MR. ALPERT: WELL, YOU MAY WANT IT SINCE YOUR

   13   CLIENT'S FAMILY OS YOU ALL THREE MILLION DOLLARS, BETTY.

   14   YOU MAY WANT TO FIGURE IT OUT.

   15     MS. SHUMENER: NOT QUITE CLOSE.

   16     MR. ALPERT: DOES THAT DEPEND ON WHETHER OR NOT THE

   17   FRAUDULENT TRANSFER CHARGES STICK?

   18     MS. SHUMENER: SHAME ON YOU, MR. ALPERT.

   19     THE COURT: I'M NOT LISTENING TO ALL OF THIS. YOU

   20   DON'T HAVE TO WORRY ABOUT ALL THIS. I'M LISTENING.

   21     NOW LET ME MAKE SURE I'M CLEAR, THOUGH. WHEN

   22   MR. MINOR APPLIED FOR THIS LOAN, AM I TO UNDERSTAND THAT

   23   PART OF THE ASSETS THAT WERE CONSIDERED BY SFG IN

   24   DECIDING WHETHER TO LEND THIS MONEY WERE ASSETS

   25   ATTRIBUTABLE TO HIS LLC? AM I RIGHT ON THAT?




                                36
Case 10-06112    Doc 1-8    Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                             to Remand Page 60 of 301




   1      MR. ALPERT: I THINK YOU ARE. WE'LL DOUBLECHECK.

   2      THE COURT: DOUBLE CHECK. BECAUSE OTHERWISE IT

   3    MIGHT GO TO A CHANGE OF CIRCUMSTANCE THAT WOULD EFFECT

   4    HIM. AND I'M NOT SUGGESTING IT'S NOT RELEVANT, BUT IT

   5    WOULD BE CLEARLY RELEVANT -- AND I GOT TO BELIEVE IF HE

   6    APPLIED FOR A LOAN, HE WOULD HAVE ASSETS.

   7      MR. ALPERT: THERE MAY BE MORE THAN ONE BALANCE

   8    SHEET, BUT YOU GOT TO REMEMBER IT CLEARLY WAS IDENTIFIED

   9    IN THE BALANCE SHEET THAT WAS SUBMITTED BY DEFENDANTS IN

   10   RESPONSE TO THE MOTION FOR SUMMARY JUDGMENT. HOW DO WE

   11   NOT GET TO DISCOVER THAT INFORMATION?

   12     THE COURT: THAT'S RIGHT. WELL, PLUS I THINK SINCE

   13   YOU HAVE -- AS I UNDERSTAND ONE OF YOUR ALLEGATIONS FOR

   14   DEFAULT IS THAT THERE WAS A CHANGE IN FINANCIAL

   15   CIRCUMSTANCES.

   16     MR. ALPERT: IT IS ONE OF A NUMBER OF THEM.

   17     THE COURT: AND SO, IF SOMETHING HAD TO DO WITH THE

   18   LLC THAT CHANGED, EVEN IF IT WASN'T IDENTIFIED AS SORT OF

   19   FIRST RUN ASSET IN THE TERMS THAT HE APPLIED, IT STILL

   20   COULD EFFECT HIS FINANCIAL STATUS AND YOU'RE ENTITLED TO

   21   THAT DISCOVERY. AND I DON'T THINK THAT'S REALLY -- I

   22   THINK IT'S PRETTY MUCH IN THE GAME. I JUST WANTED TO

   23   MAKE SURE. OKAY.

   24     SO HERE'S WHAT WE GOT TO DO -- AND THIS IS WHY

   25   COMING INTO COURT IS REALLY A GOOD THING AND YOU ALL




                                37
Case 10-06112    Doc 1-8    Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                             to Remand Page 61 of 301




   1    VERY, VERY NICE TO DO THIS. I THINK WE NEED TO HAVE TO

   2    SYNTHESIZE, TO USE YOUR WORD, WHAT IT IS THAT YOU CLAIM

   3    THAT YOU DON'T HAVE THAT YOU HAVE ASKED FOR. AND LET

   4    THEM KNOW THAT BECAUSE -- AND IT MAY BE BECAUSE THEY ARE

   5    A BIG FIRM AND THEY TRAVEL. I THINK MR. O HAS SOME

   6    INFORMATION THAT YOU DON'T HAVE. AND I KNOW YOU'RE IN

   7    GOOD FAITH. I'M NOT SUGGESTING THAT. AND SO, WE WOULD

   8    DO THAT FIRST.

   9      MR. ALPERT: AGREED.

   10     THE COURT: THEN WE WOULD HAVE A RULE SIX TYPE

   11   CONVERSATION TO SAY WE WILL DO THIS. WE WON'T GIVE YOU

   12   THIS. WE WON'T GIVE IT TO YOU BECAUSE OF THIS OR WE

   13   THINK THIS IS PRIVILEGED AND HERE IS A OUR PRIVILEGED

   14   LOG. AND AT THAT POINT -- FROM THAT SYNTHESIS OR

   15   SYNTHESIZE A DISPUTED DOCUMENT LIST. AND IF YOU GUYS

   16   CAN'T AGREE ON THAT, THEN YOURS TRULY WILL AGREE ON THAT.

   17   AND IT SEEMS TO ME THAT WE NEED TO DO THAT SOONER VERSUS

   18   LATER. SO TO YOUR POINT, MS. SHUMENER, ALL OF THESE

   19   EXPERTS CAN BE DESIGNATED.

   20     NOW -- OKAY. SO LET'S TALK ABOUT IT AND THEN I WANT

   21   TO TALK ABOUT EXPERTS AND MAKE SURE THAT YOU'RE SATISFIED

   22   THAT YOU CANNOT WORK THROUGH THAT. REASONABLY HOW FAST

   23   CAN YOU GET THE SYNTHESIS LIST?

   24     MR. ALPERT: WE CAN GET THE SYNTHESIS LIST THIS

   25   WEEK, YOUR HONOR.




                                38
Case 10-06112    Doc 1-8     Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                              to Remand Page 62 of 301




   1      THE COURT: ALL RIGHT. THAT WILL BE THEN OH, GOSH,

   2    BY EVEN FRIDAY, WOULD YOU SAY?

   3      MR. ALPERT: YES.

   4      THE COURT: OKAY. SO YOU WILL GET THE SYNTHESIS LIST

   5    BY FRIDAY. MS. SHUMENER, REASONABLY WHEN CAN YOU LET

   6    THEM -- AND YOU SAY A, WE PRODUCED THIS. B, WE HAVE NOT

   7    BUT WILL PRODUCE THIS. AND THEN C, WE HAVE THESE BUT WE

   8    WILL NOT PRODUCE THESE FOR THE FOLLOWING REASONS? HOW

   9    LONG WOULD IT TAKE YOU TO GET THAT SORT OF RESPONSE BACK

   10   TO THE PLAINTIFF?

   11     MS. SHUMENER: THEY'RE GOING TO GET ME THEIR

   12   RESPONSE BY THE 11TH?

   13     THE COURT: THEY WILL GET YOU THE LIST BY THE 11TH,

   14   YES, MA'AM.

   15     MS. SHUMENER: HOW ABOUT THE 18TH?

   16     THE COURT: THAT WILL GIVE YOU A WEEK. THAT'S VERY

   17   FAIR. AND THEN HOW ABOUT BY THE 25TH, YOU ALL LET ME

   18   KNOW IF THERE ARE -- AFTER A CONVERSATION DURING THAT

   19   WEEK OR TWO OR THREE OR E-MAILS, BY THE 25TH, YOU LET ME

   20   KNOW IF THERE'S AREAS OF DISPUTE.

   21     MR. ALPERT: I'M HAPPY TO DO THAT, YOUR HONOR. IS

   22   THERE A WAY WE CAN -- AND I THINK THAT TIMEFRAME MAKES A

   23   LOT OF SENSE. TO THE EXTENT WE AGREE ON DOCUMENT

   24   CATEGORIES, CAN WE GET THAT ROLLING?

   25     THE COURT: SURE. THAT MEANS TO ROLL




                                39
Case 10-06112     Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                             to Remand Page 63 of 301




   1    SIMULTANEOUSLY.

   2      MR. ALPERT: AS SOON AS WE AGREE TO IT, IT GETS

   3    SENT. IT'S NOT BEING HELD UP AS PART OF A CONTINUING

   4    MOTION

   5      THE COURT: ABSOLUTELY. NO. ANYTHING THAT'S AGREED

   6    TO IS SENT. IN OTHER WORDS --

   7      MS. SHUMENER: OH, NO, WE'LL BE GATHERING THE

   8    DOCUMENTS. I DON'T KNOW. I JUST HAVE TO SAY MR. MINOR

   9    LIVES IN SAN FRANCISCO, MAYBE. AND I DON'T KNOW WHERE

   10   THE DOCUMENTS ARE THAT THEY'RE ASKING FOR BUT, OBVIOUSLY,

   11   IF WE'RE SAYING WE'RE GOING TO PRODUCE, WE'LL GO GET

   12   THEM. I MEAN, I JUST DON'T KNOW IF I HAVE THEM IN MY

   13   POSSESSION TO TURN THEM OVER.

   14     MR. ALPERT: I'M NOT TALKING ABOUT FROM LOGISTICAL

   15   ISSUES. ALL I'M SAYING IS, SOMETIMES IF YOU GOT EIGHT

   16   POINTS TO NEGOTIATE ON THE TABLE, NOBODY IS GOING TO

   17   COMMIT TO ANYTHING UNTIL THEY'RE ALL RESOLVED.

   18     MS. SHUMENER: NO, NO, NO.

   19     MR. ALPERT: MY POINT IS IF YOU ARE GOING TO AGREE,

   20   IT'S GOING TO --

   21     THE COURT: WHATEVER YOU AGREE TO GETS PRODUCED.

   22   AND IT'S LIKE ROLLING ADMISSIONS, IT'S A ROLLING

   23   PRODUCTION. THE ONLY THING THAT GETS HELD OUT IS

   24   ANYTHING THAT'S CLAIMED TO BE PRIVELEDGED AND YOU'RE

   25   FUSSING OVER. AND THEN I WILL KNOW BY JUNE 25TH WHAT




                                40
Case 10-06112    Doc 1-8    Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                             to Remand Page 64 of 301




   1    THAT SUBSET OF THE SYNTHESIS IS. OKAY. AND THEN I WILL

   2    MAKE -- AND THEN ONCE I SEE IT, I WILL PROBABLY WANT SOME

   3    KIND OF SUBMISSIONS FROM YOU BOTH. AND MAYBE ON THE

   4    25TH, YOU ALL CAN SEND ME A SUBMISSION. IT DOESN'T HAVE

   5    TO BE PRETTY LONG BRIEFS. IT CAN JUST BE A LETTER. I'M

   6    HOPEFUL THERE'S NONE, BUT -- I HOPE THERE IS NONE, BUT IF

   7    THERE IS, I WANT YOU TO JUST WRITE A LETTER. YOU DON'T

   8    HAVE TO WRITE LONG BRIEFS OR ANYTHING. AND JUST GIVE ME

   9    THE FACTS, MA'AM. DON'T BE FINGER POINTING. OKAY.

   10     MR. ALPERT: I UNDERSTAND.

   11     THE COURT: OKAY. ALL RIGHT. AND THAT IS PRETTY

   12   MUCH A FULL MONTH. ALL RIGHT. HAVING SAID THAT, LET US

   13   TECHNICALLY EXTEND BACK DISCOVERY TO THE 25TH. DO YOU

   14   NEED THAT?

   15     MR. ALPERT: I THINK WHAT WE'RE GOING TO NEED,

   16   JUDGE, IS TO THE END OF JULY.

   17     THE COURT: BECAUSE YOU'RE GOING TO WANT DEPOSITIONS

   18   ON WHATEVER YOU GET.

   19     MR. ALPERT: ONCE WE GET THE DOCUMENTS, I DON'T KNOW

   20   HOW MUCH THERE'S GOING TO BE. LOAD THEM UP INTO

   21   SUMMATION. LET US REVIEW THEM. LET A CONSULTANT REVIEW

   22   THEM. WE'RE TALKING ABOUT POSSIBLY, POSSIBLY SOME

   23   TECHNICAL FINANCIAL ISSUES. I HAVEN'T SEEN THE

   24   DOCUMENTS. AND THEN THAT S US A WEEK OR TWO TO REVIEW

   25   THEM. AND WE CAN TAKE -- WE MAY NOT NEED TO TAKE ANY.




                                 41
Case 10-06112    Doc 1-8     Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                              to Remand Page 65 of 301




   1    WE MAY NEED TO TAKE UP TO SIX, BUT THAT GIVES US JULY TO

   2    TAKE THOSE DEPOSITIONS.

   3      THE COURT: ALL RIGHT.

   4      MR. ALPERT: I MEAN, I REALLY THINK, JUDGE -- GO

   5    AHEAD.

   6      MS. SHUMENER: WE HAVE NOT RECEIVED -- WE HAVE NOT

   7    RECEIVED, EXCEPT FOR A STACK LIKE THIS FROM TWO OF THE

   8    BANK PARTICIPANTS. I THINK THERE ARE EIGHT OF THEM. TWO

   9    OR THREE OF THEM THEY HAVE PRODUCED DOCUMENTS. THE REST

   10   WE'RE STILL WAITING ON. THEY'RE SUPPOSED TO GO THROUGH

   11   THEM AND THEY SAY THAT WE CONTROL ALL THESE ENTITIES.

   12     THE COURT: LET ME STOP YOU. I DON'T WANT TO GO TO

   13   FINGER POINTING AGAIN.

   14     MS. SHUMENER: I WOULD LIKE TO GET THE PARTICIPANTS'

   15   DOCUMENTS. AND IF THEY ARE GOING TO BE TAKING FACT

   16   DISCOVERY UNTIL THE END OF JULY, I WOULD LIKE TO COMPLETE

   17   MY DISCOVERY, TOO.

   18     THE COURT: YOU WILL, BUT REFRESH ME. WERE THOSE

   19   THIRD PARTY REQUESTS OR WERE THOSE DIRECT REQUESTS? I

   20   THOUGHT THEY WERE THIRD PARTY REQUESTS.

   21     MS. SHUMENER: THEY WERE THIRD PARTY REQUESTS. THE

   22   WAY WE AGREED -- JUST TO FILL YOU IN. THERE ARE PIECES

   23   GOING ON IN DIFFERENT ACTIONS. SOME OF THESE THIRD

   24   PARTIES ARE IN VIRGINIA, SO RATHER THAN GOING THROUGH

   25   THIS COURT TO GET A SUBPOENA, WE WENT, AS THEY HAVE DONE,




                                  42
Case 10-06112    Doc 1-8     Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                              to Remand Page 66 of 301




   1    THROUGH VIRGINIA TO GET THE SUBPOENA.

   2      THE COURT: OKAY.

   3      MS. SHUMENER: WHEN WE WERE ON THE PHONE WITH JUDGE

   4    HOMSHINER (PHONETIC) IN THE VIRGINIA ACTION, WE HAD

   5    AGREED THAT WITH MS. ROSSMAN'S DOCUMENTS, FOR EXAMPLE,

   6    BECAUSE THEY WERE MR. MINOR'S PERSONAL FINANCIAL

   7    DOCUMENTS, THEY WOULD COME TO US. WE WOULD REVIEW THEM

   8    AND PRODUCE THEM. WE DID THAT.

   9      WE ALSO AGREED THAT WITH THE PARTICIPANT DOCUMENTS

   10   THEY WOULD GO TO SFG'S COUNSEL. SFG'S COUNSEL WOULD

   11   REVIEW THEM AND TURN THEM OVER. TO DATE, WE HAVE ONLY

   12   GOTTEN SOMETHING LIKE TWO OR THREE OUT OF THE EIGHT, I

   13   THINK. WE HAVE NOT SEEN A WORD OF ANY DOCUMENTS AS TO

   14   THE REST OF THEM. AND --

   15     THE COURT: DO YOU HAVE ANY THAT YOU HAVE NOT

   16   PRODUCED BACK TO THEM?

   17     MR. ALPERT: NONE OF THOSE, JUDGE. WE'RE HAPPY TO

   18   GO AHEAD AND FILE, JUDGE, BUT YOU'RE TALKING ABOUT

   19   COMPARING APPLES AND ORANGES. WHILE MR. MINOR CLEARLY

   20   CONTROLS HIS ACCOUNTANT. WE HAVE NO CONTROL OVER THE

   21   PARTICIPATING BANKS.

   22     THE COURT: I DON'T WANT FINGER POINTING. I WANT

   23   THE INFORMATION, BUT IT SEEMS TO ME, MS. SHUMENER, YOUR

   24   REMEDY IS TO PUT THE HEAT ON THE THIRD PARTY REQUEST.

   25   AND IF YOU NEED AN ORDERED FROM THIS COURT, YOU PREPARE




                                43
Case 10-06112     Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                             to Remand Page 67 of 301




   1    IT THAT SAYS WITHIN TEN DAYS THEY SHOULD PRODUCE OR

   2    WHATEVER YOU WANT DONE, I WILL BE HAPPY ENTER A ORDER ON

   3    THE THIRD PARTY REQUEST. I KNOW IT GOES THROUGH THEM,

   4    BUT THEY GOT TO KICK THE BALL TO THE 50 SO THEY CAN

   5    RECEIVE IT.

   6      MS. SHUMENER: I HAVE TO UNDERSTAND SOMETHING. THEY

   7    DON'T CONTROL THEM AND YET EVERY COMMUNICATION THAT WE

   8    HAVE BEEN SEEKING FROM THEM OR THE VAST MAJORITY OF THEM

   9    ARE BASIC LOAN DOCUMENTS THEY CLAIM ARE PRIVILEGE OR

   10   ATTORNEY WORK PRODUCT BECAUSE THEY HAVE BEEN

   11   COMMUNICATING WITH DIFFERENT DEFENSE.

   12     MR. ALPERT: IT'S A JOINT DEFENSE PRIVILEGE.

   13     THE COURT: I UNDERSTAND. HANG ON EVERYBODY. AS I

   14   UNDERSTAND, THOUGH, THE WAY THE SCHEME IS SET UP, IT'S A

   15   THIRD PARTY REQUEST WITH THE LOOK, SEE FOR PRIVILEGE THAT

   16   YOUR PRIVILEGE ISN'T COMPROMISED BECAUSE ONCE IT'S OUT OF

   17   THE BAG, YOU CAN'T -- BUT AT THE GET-GO TO GET THE

   18   DOCUMENTS OFF THE DIME FROM THE THIRD PARTY RECIPIENT IS

   19   ON THEM AND THEN IT COMES TO YOU. YOU'RE NOT HOLDING ANY

   20   FROM THEM?

   21     MR. ALPERT: CORRECT.

   22     THE COURT: OKAY. SO YOUR REMEDY RIGHT NOW IS TO

   23   GET THESE FOLKS A KICK IN THE BUTT. AND I'M WILLING --

   24   AND THAT'S SORT OF LIKE GETTING OFF THE DIME ONLY IT'S A

   25   LITTLE MORE -- IT GOT A LITTLE MOR UMPH TO IT. YOU -- IF




                                 44
Case 10-06112    Doc 1-8    Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                             to Remand Page 68 of 301




   1    YOU NEED AN ORDER FROM ME ORDERING THEM WITHIN A TIME

   2    PERIOD TO DO THAT, I'M HAPPY TO GIVE THAT TO YOU. OKAY.

   3      THEN YOU GUYS CONTINUE -- PLAINTIFF, CONTINUE YOUR

   4    FAST TURN AROUND ON THAT BECAUSE YOU KNOW WHAT YOU'RE

   5    LOOKING FOR AT THIS POINT. YOU KNOW WHAT'S PRIVILEGE.

   6    YOU KNOW WHAT'S NOT. IT'S NOT GOING TO TAKE YOU THAT

   7    LONG.

   8      MR. ALPERT: AGREED, JUDGE.

   9      THE COURT: YOU WILL HAVE THAT SAME PERIOD TO GET

   10   THIS DONE. OKAY. ALL RIGHT.

   11     MR. ALPERT: IF I MIGHT PASS ON ONE PIECE OF

   12   INFORMATION. I UNDERSTAND THAT THERE ARE TWO

   13   PARTICIPATING BANKS THAT ARE STANDING READY, WILLING AND

   14   ABLE TO PRODUCE THEIR DOCUMENTS. THEY HAVE ASKED THE

   15   DEFENDANT TO PAY FOR THE COPYING COST PRIOR TO RELEASING

   16   THEM AND THE DEFENDANT SAID WE'RE NOT PAYING FOR IT.

   17     MS. SHUMENER: IF THEY'RE ASKING FOR AN INORDINATE

   18   COST, WE WILL NOT DO IT.

   19     THE COURT: ALL RIGHT. WELL YOU ALL WORK ON THAT

   20   ISSUE, BUT I THINK THAT'S THE PROCESS. THE PROCESS IS TO

   21   GET THEM TO GET OFF THE DIME. OKAY. BUT YOU GET THAT

   22   FIXED. IT'S GOOSE-GANDER. I'M NOT GOING TO GIVE THEM AN

   23   EXTENSION AND NOT YOU. THAT'S NOT FAIR.

   24     MS. SHUMENER: OKAY.

   25     THE COURT: ALL RIGHT. BUT YOU GOT TO GET ALL OF




                                   45
Case 10-06112    Doc 1-8     Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                              to Remand Page 69 of 301




   1    THIS DONE IN JULY IT HAS GOT TO HAPPEN.

   2      NOW HAVING SAID THAT, HOW ARE WE GOING TO PROCEED

   3    WITH THESE EXPERTS BECAUSE AS I UNDERSTAND IT BY

   4    SEPTEMBER 2ND, WE GOT MOTIONS FOR SUMMARY JUDGMENT AND

   5    DAUBERT, WHICH ALL ARE GOING IMPLICATE THE EXPERTS. CAN

   6    WE DO EXPERTS IN THIS TIMEFRAME? IT'S GOT TO BE DONE.

   7    AND IF NOT, WE CAN MOVE THAT, BUT NOT VERY FAR BECAUSE I

   8    GOT YOU-ALL STARTING A TRIAL ON THE 18TH OF OCTOBER.

   9      MR. ALPERT: MY HEART IS STARTING TO RACE, YOUR

   10   HONOR. CAN I GO OUTSIDE FOR A SECOND?

   11     THE COURT: ARE YOU OKAY.

   12     MR. ALPERT: I'M TEASING, BUT THE ANXIETY LEVEL OF

   13   ALL THIS REALLY --

   14     THE COURT: I KNOW. DO YOU NEED A BREAK?

   15     MR. ALPERT: NO.

   16     MS. SHUMENER: MY PROBLEM IS I DON'T HAVE A CLUE WHO

   17   THEIR EXPERTS ARE. I DON'T HAVE A CLUE WHAT THEIR

   18   EXPERTS ARE GOING TO SAY.

   19     THE COURT: I KNOW.

   20     MS. SHUMENER: AND THEY ARE SITTING NOW WITH OUR

   21   DOCUMENTS AND OUR EXPERT DESIGNATIONS FOR WHATEVER THE

   22   DATE WAS MAY 24TH OR MAY 26TH OR WHATEVER IT IS. AND I

   23   DON'T KNOW HOW WE FIX THAT.

   24     THE COURT: WELL, THE ONLY WAY -- AN EASY WAY IS TO

   25   MOVE THE TRIAL DATE. AND IT ALL DEPENDS ON HOW OPPOSED




                                46
Case 10-06112    Doc 1-8     Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                              to Remand Page 70 of 301




   1    EVERYBODY IS TO THAT.

   2      MR. ALPERT: I THINK THAT WE WOULD PROBABLY WANT TO

   3    TALK TO OUR CLIENT ABOUT IT, JUDGE, BUT I DON'T KNOW THAT

   4    I SEE -- I THINK WE JUST NEED TO LOOK AT THESE DATES

   5    BECAUSE I THINK WE'RE GOING TO -- I DO THINK IT'S GOING

   6    TO TAKE US TO THE END OF JULY TO FINISH THE DEPOSITIONS

   7    AND THE DISCOVERY. EVEN IF HAVE YOU TURN AROUNDS ON

   8    EXPERTS THE FIRST WEEK OF AUGUST, YOU ARE STILL GOING TO

   9    NEED AUGUST TO DO THE EXPERTS.

   10     THE COURT: THAT'S RIGHT. AND THAT'S AGGRESSIVE.

   11     MR. ALPERT: AND THAT'S AGGRESSIVE. AND THAT MEANS

   12   BRIEFING IN SEPTEMBER.

   13     THE COURT: THAT'S WHAT I'M THINKING.

   14     MR. ALPERT: I THINK THAT WE MAY NEED TO JUST LOOK

   15   AT THAT. I GUESS MY OWN -- THE THOUGHT IS YOU'VE CARVED

   16   OUT THREE WEEKS FOR A TRIAL. I REALLY DON'T THINK YOU

   17   NEED THREE WEEKS FOR A TRIAL.

   18     THE COURT: WHAT DO YOU THINK THAT I NEED?

   19     MR. ALPERT: I DON'T KNOW. THERE ARE -- NO JURY HAS

   20   BEEN REQUESTED. AND THE JURY HAS BEEN WAIVED IN THE

   21   DOCUMENTS, SO THERE IS NO JURY.

   22     MS. SHUMENER: WELL, THAT'S NOT TRUE. WE'VE

   23   REQUESTED A JURY.

   24     THE COURT: THIS IS A BENCH TRIAL?

   25     MS. SHUMENER: WE'VE REQUESTED A JURY AND WE'LL




                                 47
Case 10-06112    Doc 1-8    Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                             to Remand Page 71 of 301




   1    BRIEF THAT ISSUE.

   2      MR. ALPERT: EXCUSE ME. WE DIDN'T REQUEST A JURY.

   3    AND THERE'S A JURY WAIVER PROVISION IN THE LOAN

   4    DOCUMENTS.

   5      MS. SHUMENER: AND WE'LL DEAL WITH THAT, YOUR HONOR.

   6      THE COURT: BUT YOU WANT A JURY?

   7      MS. SHUMENER: WE WANT A JURY.

   8      MR. BRANNAN: YES, YOUR HONOR.

   9      THE COURT: DID YOU ASK FOR 12 OR SIX?

   10     MR. BRANNAN: I REALLY DON'T RECALL.

   11     THE COURT: YOU GOT TO DO WHAT YOU KNOW BEFORE THE

   12   END OF TERM. YOU GUYS HAVE PLENTY OF TIME TO DO IT.

   13   SOMETIMES YOU DO IT IN THE ANSWER, SIR.

   14     MR. BRANNAN: YEAH, I JUST DON'T RECALL.

   15     THE COURT: OKAY. WELL, HAVING SAID THAT THEN, I

   16   CAN GIVE YOU -- SO WHEN YOU SAY THREE, ARE YOU TALKING

   17   ABOUT JUST STARTING ON 25TH OF OCTOBER?

   18     MR. ALPERT: I WAS TALKING ABOUT GOING TO THE BACK.

   19     THE COURT: WHAT DO YOU MEAN?

   20     MR. ALPERT: I'M TAKING THE LAST WEEK IN NOVEMBER.

   21   WE HAVE GOT THE LAST TWO WEEKS OF OCTOBER.

   22     MS. SHUMENER: AND THE FIRST WEEK IN NOVEMBER.

   23     MR. ALPERT: AND THE FIRST WEEK IN NOVEMBER.

   24     THE COURT: AND WHAT WERE YOU TALKING ABOUT DOING

   25   THEN?




                               48
Case 10-06112    Doc 1-8    Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                             to Remand Page 72 of 301




   1      MR. ALPERT: I MEAN, I GUESS OUR POSITION IS -- AND,

   2    AGAIN, I UNDERSTAND THERE'S A DISPUTE ON THIS. OUR

   3    POSITION IS WE DIDN'T ASK FOR A JURY. THERE'S A JURY

   4    WAIVER PROVISION IN THE DOCUMENTS THAT'S CLEAR AND THAT'S

   5    ENFORCEABLE UNDER GEORGIA LAW AND THAT IF IT'S A BENCH

   6    TRIAL, THAT THIS SHOULDN'T TAKE BUT A WEEK.

   7      MS. SHUMENER: MR. MINOR'S GUARANTOR IS NOT WAIVED.

   8      THE COURT: OKAY. SO, ANYWAY, LET'S SAY IT'S TWO

   9    WEEKS. WHAT IF I GAVE YOU -- THE OTHER THING I CAN DO, I

   10   CAN GIVE YOU A NOVEMBER TIME BECAUSE I WILL JUST MOVE --

   11   IF WE DON'T HAVE YOUR CASE, I WILL MOVE MY CRIMINAL INTO

   12   WHAT WAS CIVIL AND I WILL GIVE YOU GUYS -- I WILL GIVE

   13   YOU THOSE.

   14     MS. SHUMENER: YOU MEAN THE FIRST TWO WEEKS OF

   15   NOVEMBER?

   16     THE COURT: IT SOUNDS LIKE IT WOULD BE TWO MAYBE

   17   THREE. NOW I DON'T HAVE EVERY DAY. FOR EXAMPLE, I DON'T

   18   HAVE THE 5TH. I DON'T HAVE THE 11TH. I HAVE A SHORT DAY

   19   15TH. OTHER THAN THAT, I HAVE THE FIRST THREE WEEKS OF

   20   NOVEMBER.

   21     MS. SHUMENER: WELL THEN LET'S DO THAT. IT'S GOING

   22   BE DARK ON THE 5TH, YOUR HONOR -- THE 11TH.

   23     THE COURT: I'M DARK ON THE 5TH. THE COURTHOUSE IS

   24   DARK ON THE 11TH. OKAY. AND I CAN CHANGE THE 15TH. THE

   25   15TH I CAN CHANGE. THAT'S A DOCTOR'S APPOINTMENT FOR MY




                                 49
Case 10-06112      Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                              to Remand Page 73 of 301




   1    MOTHER.

   2      MS. SHUMENER: NO.

   3      THE COURT: NO, NO, NO. THAT'S NOVEMBER FOR CRYING

   4    OUT LOUD. I CAN CHANGE THAT. THAT'S ONE OF THOSE WHEN

   5    YOU CHECK OUT, GIVE ME A DATE. IT'S FLEXIBLE.

   6      MR. ALPERT: MY SENSE OF IT IS, JUDGE, THAT IF YOU

   7    GOT A COMPLETE LOOK AT SOME OF THE THINGS YOU'VE SAID

   8    TODAY. COMPLETING THE FACTS AND GETTING THE DOCUMENTS

   9    DONE IN JUNE, GETTING THE REMAINING THE FACT WITNESS

   10   DEPOSITIONS DONE IN JULY, EXPERTS IN AUGUST, BRIEFING IN

   11   SEPTEMBER AND THEN THE MOTION FOR SUMMARY JUDGMENT THE

   12   BEGINNING OF OCTOBER?

   13     THE COURT: THE MIDDLE -- I'M GOING ON A MISSION TO

   14   AFRICA. I'M SO EXCITED. IT'S GOOD WORK FOR THE LORD, BUT

   15   -- SO AFTER I GET BACK FROM THERE, WE WOULD HAVE PLENTY

   16   OF TIME.

   17     MR. DOUGLASS: WHAT LOOKS GOOD TO YOU?

   18     THE COURT: THE WEEK WE ARE GOING TO START THE

   19   TRIAL, THE 18TH.

   20     MS. SHUMENER: OH, THAT'S WONDERFUL.

   21     THE COURT: THE WEEK OF THE 18TH.

   22     MR. ALPERT: OH, THE WEEK WE WERE GOING TO.

   23     THE COURT: YES, SIR. I HAVE NEVER DONE THIS

   24   BEFORE, BUT I AM TOLD THAT I AM NOT GOING TO BE WORTH A

   25   WHOLE LOT THAT WEEK WHEN I GET BACK, THAT I AM GOING TO




                                50
Case 10-06112    Doc 1-8     Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                              to Remand Page 74 of 301




   1    HAVE MALARIA, MY HUSBAND DOES STILL LOVE ME OR B, I'M

   2    JUST GOING TO HAVE SOME GERM THING OR BE REALLY, REALLY

   3    TIRED. I'VE BEEN TOLD THAT THE WEEK YOU GET BACK YOU'RE

   4    JUST NOT -- THE FLIGHTS ARE 19, 20 HOURS. I GET BACK THE

   5    8TH.

   6      MR. ALPERT: SO THE WEEK OF THE 18TH --

   7      THE COURT: SO THE 11TH I CAN KIND OF CATCH UP AND

   8    BE WAY READY TO GO ON THE 18TH. DOES THAT WORK OR

   9    EVERYBODY?

   10     MR. ALPERT: GREAT. IS THERE A DAY THAT WEEK THAT

   11   WORKS BEST FOR YOU?

   12     THE COURT: YOU TELL ME.

   13     MR. ALPERT: BETTY, DO YOU WANT TO TRAVEL ON THE

   14   WEEKEND OR DO WANT TO DO IT ON A TUESDAY OR WEDNESDAY?

   15     THE COURT: NO, DON'T TRAVEL ON THE WEEKEND.ENJOY

   16   YOUR FAMILY.

   17     MS. SHUMENER: LET'S TUESDAY OR WEDNESDAY.

   18     THE COURT: LET'S DO WEDNESDAY. I WILL JUST CHANGE

   19   ALL MY CRIMINAL STUFF AROUND. ALL RIGHT. SFG AND WE'LL

   20   START AT 9:00 WEDNESDAY.

   21     MR. ALPERT: AND I THINK WHAT WE CAN PROBABLY DO,

   22   JUDGE, IS BASED ON THE FRAMEWORK YOU'VE GIVEN US, I THINK

   23   WE CAN TAKE THE AMENDED CASE MANAGEMENT OVER. WE'RE

   24   HAPPY TO TAKE THE LEAD ON THIS AND GO GET SOMETHING SENT

   25   OVER. WE'LL TRY TO GET YOU SOMETHING THIS FRIDAY, ALONG




                                 51
Case 10-06112     Doc 1-8     Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                               to Remand Page 75 of 301




   1    WITH OUR SYNTHESIS.

   2      MS. SHUMENER: I STILL HAVE TO FIGURE OUT WHAT WE'RE

   3    GOING TO DO WITH THE EXPERTS.

   4      THE COURT: YEAH. WE NEED TO WORK. WELL, WE GOT

   5    THE TIME FRAME NOW, SO WE'LL WORK THROUGH THAT, YES,

   6    MA'AM .

   7      SO WHAT YOU ALL ARE TALKING ABOUT DOING IS HAVING

   8    THE 1ST, THE 8TH AND THE WEEK OF THE 15TH, IF YOU NEED

   9    IT, WITH THE UNDERSTANDING WE HAVE A FOUR-DAY WEEK. WE

   10   START ON THE 1ST.

   11     MR. ALPERT: RIGHT, FOUR DAYS ON THE 8TH AND FOUR

   12   DAYS --

   13     THE COURT: YES, THAT'S CORRECT. AND THEN WHOLE

   14   WEEK OF -- WELL, YOU CAN HAVE A LONG WEEKEND. WE MAY

   15   JUST WANT TO HAVE THAT MONDAY OFF ANYWAY SO YOU CAN GO

   16   HOME.

   17     MR. ALPERT: RIGHT.

   18     MS. SHUMENER: THEN ARE WE GOING TO DO THE 12TH OFF

   19   OR KEEP THE 12TH. DO YOU SEE WHAT I'M SAYING? IT WOULD

   20   ALMOST BE BETTER TO KEEP THE 12TH OFF.

   21     THE COURT: I DON'T CARE. THE DOCTOR'S APPOINTMENT

   22   WE'LL MOVE. I'M NOT WORRIED ABOUT THAT. YOU TELL ME.

   23   WHAT I'M GOING TO DO IS GET THOSE THREE WEEKS. I WILL

   24   JUST GET THOSE THREE WEEKS AND WHATEVER WORKS WITHIN

   25   THOSE THREE WEEKS. YES, MA'AM. IT WOULD BE NICE IF




                                 52
Case 10-06112    Doc 1-8    Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                             to Remand Page 76 of 301




   1    YOU'RE GOING TO FLY TO CALIFORNIA AND HAVE THOSE FOUR

   2    DAYS AND I WILL MOVE THAT APPOINTMENT. I WILL MOVE IT TO

   3    THAT FRIDAY THE 12TH.

   4      MS. SHUMENER: THAT WILL BE WONDERFUL.

   5      MR. ALPERT: WE'RE GOING TO BE DARK ON THE 12TH AND

   6    DARK ON THE 11TH. ARE WE GOING TO BE DARK ON THE 15TH?

   7      THE COURT: NO, SIR. YOU DON'T HAVE TO RECORD THIS.

   8    (WHEREUPON, AN OFF-THE-RECORD DISCUSSION OCCURRED.)

   9      THE COURT: WE NEED TO HAVE A DISCUSSION ABOUT THIS

   10   EXPERT DESIGNATION DEPO SHOULD GO IN LIGHT OF THE NEW

   11   TIME FRAME. DO YOU THINK THAT'S APPROPRIATE.

   12     MR. ALPERT: NO. I THINK WE PROBABLY DO, YOUR

   13   HONOR.

   14     THE COURT: DOES ANYBODY NEED A BREAK?

   15     MR. ALPERT: I'M FINE.

   16     THE COURT: YOUR ANXIETY LEVEL IS BACK DOWN SINCE WE

   17   PUT TRIAL ONLY OFF BY A COUPLE OF WEEKS?

   18     MR. ALPERT: LISTEN, WITH JEFF AND JONATHAN CAME

   19   BACK IN THE ROOM I IMMEDIATELY FELT BETTER.

   20     THE COURT: ALL RIGHT. SO LET'S LOOK AT THIS. NOW

   21   CORRECT ME IF I'M WRONG, IT HAS BEEN 13 YEARS SINCE I'VE

   22   TRIED A CASE, AT LEAST AS A LAWYER. IT'S BEEN AN

   23   AFTERNOON SINCE I TRIED ONE THIS MORNING.

   24     (WHEREUPON, AN OFF THE RECORD DISCUSSION OCCURRED.)

   25     THE COURT: LET'S GO BACK ON THE RECORD. WHAT WE




                                  53
Case 10-06112    Doc 1-8    Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                             to Remand Page 77 of 301




   1    HAVE SO FAR AGREED NOW WITH RESPECT TO TAKING OF THE

   2    EXPERT -- WELL, WITH RESPECT TO EXPERT DESIGNATION, WE

   3    HAVE AGREED THAT ON JULY 29TH THERE WILL BE 30(B)6

   4    DEPOSITIONS TAKEN, ONE FOR SFG AND ONE FOR THE MINOR

   5    FAMILY HOTELS. WE HAVE AGREED THAT WILL TAKE PLACE IN

   6    THIS COURTROOM, THAT I WILL BE HERE FOR PART OF THEM, BUT

   7    I WILL BE AT LEAST AVAILABLE FOR ALL OF THEM TO RESOLVE

   8    ANY OBJECTIONS OR ANY PROBLEMS.

   9      WE ARE NOW LOOKING AT THE POTENTIAL SCHEDULE FOR THE

   10   RESPECTIVE DESIGNATION OF EXPERTS AND THE DESIGNATION OF

   11   EXPERTS. MS. SHUMENER HAS MADE A REQUEST THAT HER PRIOR

   12   SUBMISSIONS TO SFG WITH RESPECT -- I THINK IT'S TWO

   13   EXPERTS, AM I RIGHT?

   14     MS. SHUMENER: TWO EXPERTS.

   15     THE COURT: WITH TWO REPORTS BEING SENT BACK AND

   16   MR. ALPERT HAVE NO PROBLEM.

   17     MR. ALPERT: NO, PROBLEM, JUDGE. WE'LL SEND THEM

   18   BACK.

   19     THE COURT: THAT WILL HAPPEN. OKAY. NOW HAVING

   20   SAID THAT -- WHATEVER TIME YOU-ALL WANT.

   21     MR. ALPERT: WE'RE DOING BOTH. IT WILL PROBABLY BE

   22   ALL DAY. WE CAN START AT 9:30.

   23     THE COURT: 9:30 IS FINE.

   24     MR. ALPERT: SO WE CAN AVOID THE TRAFFIC A LITTLE

   25   BIT AND THEN GO TO 1:30, HALF HOUR, HOUR BREAK FOR LUNCH




                                 54
Case 10-06112    Doc 1-8     Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                              to Remand Page 78 of 301




   1    AND START THE SECOND ONE IN THE AFTERNOON.

   2      THE COURT: FINE. ABSOLUTELY FINE. ALL RIGHT. NOW,

   3    WE HAVE NOW, AS FAR AS I CAN TELL, THE ENTIRE MONTH OF

   4    AUGUST AND THE ENTIRE MONTH OF SEPTEMBER TO EFFECTUATE

   5    THE DEPOSITIONS. AND, ACTUALLY, WE HAVE UP UNTIL OCTOBER

   6    20TH, WHICH IS THE DATE OF THE HEARING TO EFFECTUATE

   7    DESIGNATIONS, DEPOSITIONS AND BRIEFING, CORRECT?

   8      MR. ALPERT: CORRECT.

   9      THE COURT: SO, TELL ME THE FIRST -- TELL ME WHAT

   10   YOU ALL WANT TO DO WITH RESPECT TO DESIGNATION? YOU'RE

   11   GOING TO NEED A LITTLE TIME, I WOULD THINK, AFTER THE

   12   29TH TO SYNTHESIZE. SO WHAT DO YOU-ALL PROPOSE?

   13     MR. ALPERT: I THINK THAT DESIGNATIONS, YOUR HONOR,

   14   BY THE 10TH.

   15     THE COURT: TUESDAY THE 10TH OF AUGUST?

   16     MR. ALPERT: YES.

   17     THE COURT: THAT'S ABOUT TWO WEEKS, A LITTLE OVER.

   18   IS THAT AGREEABLE?

   19     MS. SHUMENER: SURE. THAT'S FINE.

   20     THE COURT: COB, CLOSE OF BUSINESS ON THE 10TH.

   21   SOMEBODY IS WRITING ALL THIS DOWN AND WE'LL PUT THIS IN A

   22   SCHEDULING ORDER. ALL RIGHT.

   23     MS. SHUMENER: AND WE CAN SEND THEM OUT BY FEDERAL

   24   EXPRESS THAT DAY.

   25     THE COURT: THAT DAY BY FED EX.




                                 55
Case 10-06112    Doc 1-8    Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                             to Remand Page 79 of 301




   1      MR. ALPERT: THAT'S FINE.

   2      THE COURT: AND THEY'RE GOING FOLLOW RULE 26. OKAY.

   3    WE'RE ALL AGREED ON THAT. FEDERAL RULE 26.

   4      MR. ALPERT: DO YOU WANT TO DO -- HOW ABOUT THE

   5    27TH? THAT WILL GIVE US 17 DAYS TO DEPOSE THE EXPERTS.

   6      MS. SHUMENER: THAT'S NOT ENOUGH.

   7      THE COURT: YOU THINK THAT IS ENOUGH?

   8      MR. ALPERT: WELL, I'M STARTING TO THINK ABOUT THE

   9    BRIEFING ON THE BACK END AND KEEPING THE OCTOBER 18TH

   10   DAY.

   11     THE COURT: I KNOW, BUT I THINK YOU NEED 30 DAYS OF

   12   DEPOSITIONS FOR EXPERTS GIVEN THE FACT THAT YOU LIVE

   13   DIFFERENT COASTS.

   14     MR. ALPERT: I'M SORRY, JUDGE. I WAS GOING TO

   15   TRANCHE IT WITH EXPERTS, REBUTTAL.

   16     THE COURT: OKAY. SO YOU'RE TALKING -- WHAT ARE YOU

   17   TALKING ABOUT?

   18     MR. ALPERT: INITIAL EXPERTS DISCLOSED ON THE 10TH.

   19   LET'S SAY UNTIL THE 31ST. DEPOSE THEM BY THE 31ST AND

   20   THEN NAME REBUTTAL EXPERTS BY THE 13TH.

   21     THE COURT: LET ME ASK YOU FIRST. HOW MANY EXPERTS

   22   POTENTIALLY ARE WE LOOKING AT -- TO TAKE FROM THE 10TH TO

   23   THE 31ST? THAT'S THREE WEEKS. HOW MANY ARE WE LOOKING

   24   AT? POTENTIALLY?

   25     MR. ALPERT: BETTY, Y'ALL HAVE TWO?




                                56
Case 10-06112    Doc 1-8    Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                             to Remand Page 80 of 301




   1      MS. SHUMENER: PROBABLY SO FAR.

   2      THE COURT: MAYBE THREE? MAYBE THREE?

   3      MR. ALPERT: SO MAYBE MORE.

   4      THE COURT: MAYBE THREE.

   5      MR. ALPERT: I THINK WE'RE IN THE SAME BOAT.

   6      THE COURT: SIX. SO CAN YOU-ALL DO SIX EXPERT

   7    DEPOSITIONS IN THREE WEEKS?

   8      MS. SHUMENER: YES.

   9      THE COURT: OKAY. IMPRESSIVE.

   10     MS. SHUMENER: UNTIL THE 31ST. WE'RE GOING TO THE

   11   31ST IS WHAT YOU'RE SAYING?

   12     THE COURT: YES.

   13     MS. SHUMENER: AND I THINK ONE OF MY EXPERTS, BUT I

   14   DON'T KNOW -- ASSUMING I DON'T CHANGE MY MIND ABOUT HIM,

   15   IS HERE IN ATLANTA, BUT ONE OF THEM IS IN LOS ANGELES, SO

   16   I DON'T KNOW WHERE YOURS ARE.

   17     MR. ALPERT: I DON'T THINK IT'S GOING TO BE

   18   DIFFICULT TO DO, JUDGE.

   19     THE COURT: OKAY. FAIR ENOUGH. YOU ALL KNOW BETTER

   20   THAN I. ALL RIGHT. SO THEN HERE WE ARE. WE GOT

   21   EVERYBODY IN THE FIRST ROUND DEPOSED. NOW WE WANT TO

   22   TALK ABOUT A POTENTIAL FOR REBUTTAL EXPERTS.

   23     MR. ALPERT: SO IF YOU DEPOSE THEM BY THE 31ST, WHAT

   24   ABOUT REBUTTAL, IDENTIFYING REBUTTAL EXPERTS BY THE 10TH?

   25   I MEAN, IT SHOULD BE ABLE TO -- I MEAN, AT LEAST WITH




                                  57
Case 10-06112    Doc 1-8    Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                             to Remand Page 81 of 301




   1    RESPECT TO WHAT WE DO --

   2      THE COURT: TEN DAYS EASILY.

   3      MR. ALPERT: I MEAN, YOU'RE STARTING THAT PROCESS

   4    LONG BEFORE YOU TAKE THE DEPOSITION. YOU'RE STARTING

   5    THAT ONCE YOU GET --

   6      MS. SHUMENER: THAT'S FINE.

   7      MR. ALPERT: SO BY THE 10TH. AND THEN REBUTTAL, IF

   8    YOU WANT TO DEPOSE REBUTTAL EXPERTS BY THE 24TH?

   9      THE COURT: YEAH, BECAUSE AT MOST YOU MAY HAVE ONE I

   10   WOULD THINK.

   11     MR. ALPERT: I AGREE.

   12     MS. SHUMENER: WE AGREE.

   13     THE COURT: AND THEN YOUR BRIEFING SCHEDULE STARTS

   14   ON THE 24TH AND YOU HAVE ALL THE WAY THROUGH THE 20TH TO

   15   DO YOUR BRIEFING.

   16     MR. ALPERT: RIGHT NOW WE HAVE INITIAL MOTIONS BY

   17   BOTH PARTIES, RIGHT?

   18     MR. DOUGLASS: WE'RE ALREADY ON THE RECORD. WE GOT

   19   RESPONSE BRIEFS AND REPLIES RAW SURPRISE.

   20     THE COURT: AND DAUBERT POTENTIALLY.

   21     MR. ALPERT: YEAH, AND DAUBERT.

   22     MS. SHUMENER: I THINK WE HAVE TO MOVE THE REST,

   23   YOUR HONOR, BECAUSE WHEN DO WE FILE THE OPPOSITIONS AND

   24   REPLIES TO THE SUMMARY JUDGMENT MOTIONS?

   25     THE COURT: THAT'S WHAT WE'RE TALKING ABOUT RIGHT




                                 58
Case 10-06112    Doc 1-8    Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                             to Remand Page 82 of 301




   1    NOW.

   2      MS. SHUMENER: IT DOESN'T LOOK POSSIBLE IF WE'RE

   3    DOING DEPOSITIONS AND REBUTTAL EXPERTS UP UNTIL THE 24TH.

   4      THE COURT: RIGHT. BUT WE HAVE MOVED UNTIL OCTOBER

   5    20TH. YOU HAVE ALMOST A MONTH TO ARGUE THIS.

   6      MR. ALPERT: I MIGHT CAN SAVE --

   7      MS. SHUMENER: THE QUESTION IS: WHEN DO WE DO THE

   8    OPPOSITIONS?

   9      THE COURT: RIGHT. YOU HAVE THREE WEEKS IN THERE.

   10     MR. ALPERT: I THINK IT'S DOABLE. I MEAN, I GUESS

   11   THE OTHER THOUGHT, JUDGE, IS YOU KNOW GEORGIA PROCEDURE

   12   DOES NOT PROVIDE FOR A REPLY BRIEF AND I KNOW THAT

   13   OFTENTIMES WE DO IT.

   14     THE COURT: AND SUR-REPLIES IN Y'ALL'S CASE.

   15     MS. SHUMENER: AND, SUR, SUR, SUR.

   16     MR. ALPERT: AND THE ISSUES ARE FAIRLY IDENTICAL IN

   17   THE MOTIONS, BUT THE OTHER THING IS WE'RE GETTING A FULL

   18   DAY FOR A MOTION FOR SUMMARY JUDGMENT HEARING. I, MEAN

   19   OFTENTIMES, WE'LL FILE A REPLY. WE DON'T KNOW WHETHER

   20   WE'RE GOING TO GET ORAL ARGUMENT.

   21     THE COURT: YOU CAN GET IT. I AGREE WITH THAT.

   22   THERE IS REALLY UNNECESSARY REPLIES. THE ONLY THING YOU

   23   GOT TO DO IS IF YOU GOT AN AFFIDAVIT. THAT'S GOT TO

   24   FOLLOW THAT RULE.

   25     MS. SHUMENER: I DON'T HAVE A PROBLEM WITH THAT.




                                59
Case 10-06112    Doc 1-8     Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                              to Remand Page 83 of 301




   1      THE COURT: YEAH. I SAY WE NOT HAVE A LOT OF THAT

   2    BECAUSE I WILL GIVE YOU THE WHOLE DAY. IF WE HAVE TO GO

   3    INTO THE NEXT DAY, I WILL GIVE YOU THE NEXT DAY, WHATEVER

   4    IT TAKES TO GET THIS DONE, WE'LL DO IT.

   5      MR. ALPERT: WHAT DID WE JUST AGREE TO ON THE

   6    REBUTTAL EXPERT DEPOSITIONS, BY WHEN?

   7      MS. SHUMENER: THE 24TH.

   8      MR. ALPERT: WHAT DO YOU-ALL THINK ABOUT BRIEFS,

   9    BETTY?

   10     MS. SHUMENER: I LOVE HAVING THE WEEKENDS. CAN WE

   11   DO THE 11TH. WOULD THAT UPSET YOU, YOUR HONOR? IS THAT

   12   ENOUGH TIME FOR YOU? BECAUSE THAT'S YOUR FIRST DAY BACK.

   13     THE COURT: I WON'T BE READING ANYTHING PROBABLY

   14   UNTIL -- THAT WILL BE FINE WITH ME.

   15     MR. ALPERT: WHEN WILL YOU BE BACK?

   16     THE COURT: I'LL BACK THE 8TH, BUT TO ME IT WILL BE

   17   9TH IN MY BRAIN.

   18     MR. ALPERT: RIGHT. YOU ARE NOT GOING TO BE REALLY

   19   LOOKING AT ANYTHING PROBABLY UNTIL THE 12TH.

   20     THE COURT: I'M HOPING BY THE 12TH. I MEAN I WILL

   21   START ON THE 11TH, BUT IT WOULD HAVE TO BE REDONE BY THE

   22   12TH. AND I HAVE A NONJURY WEEK THERE SO THAT'S FINE.

   23     MR. ALPERT: WHY DON'T WE SAY -- IF IT'S OKAY WITH

   24   YOU, BETTY, THE 12TH.

   25     MS. SHUMENER: THAT'S FINE WITH ME.




                                 60
Case 10-06112    Doc 1-8    Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                             to Remand Page 84 of 301




   1      THE COURT: THAT WILL GIVE YOU THAT EXTRA DAY. I

   2    WILL PROBABLY HAVE A STACK OF MAIL AND STUFF TO GO

   3    THROUGH HERE. I WILL HAVE PLENTY TO DO HERE THAT DAY.

   4      MR. ALPERT: AND DO WANT TO DO -- THOSE ARE THE

   5    RESPONSES. NOW I GUESS THE OTHER THOUGHT IS TO THE

   6    EXTENT THERE ARE DAUBERT MOTIONS THAT HAVE NOT BEEN

   7    BRIEFED, SO YOU WANT A DAUBERT -- WHAT ABOUT DAUBERT

   8    BRIEFS ON THE 8TH AND RESPONSES ON THE 15TH?

   9      MS. SHUMENER: WHY DON'T WE DO THE DAUBERT ON THE

   10   15TH AND THE RESPONSES ON THE 19TH? I MEAN, IS THAT

   11   CRAZY TO LEAVE THEM FOR THE TAIL?

   12     THE COURT: IT'S FINE WITH ME.

   13     MS. SHUMENER: I DON'T -- TO ME, THOSE ARE STRAIGHT

   14   FORWARD EVIDENTIARY ISSUES.

   15     THE COURT: I DON'T NEED A LOT OF BRIEFING ON THE

   16   DAUBERT. I DO A LOT OF DAUBERT. I TEACH ON DAUBERT

   17   THROUGHOUT THE COUNTRY. IT DOESN'T MEAN I GET IT RIGHT,

   18   BUT I DON'T NEED A LOT OF BRIEFING. BUT WHAT I DO -- YOU

   19   CAN DO A DOWN AND DIRTY DAUBERT. THIS IS WHAT YOU DO.

   20   YOU TELL ME HERE'S THE EXPERT. THE CHALLENGE IS BASED ON

   21   WHICH PART OF THE STATUTE -- BECAUSE GEORGIA HAS A

   22   STATUTE AS YOU ALL KNOW. OF COURSE, WE DO FOLLOW THE

   23   CASE AUTHORITY. AND THEN YOU TELL ME WHETHER IT'S A

   24   QUALIFICATIONS ISSUE OR WHETHER IT'S RELIABILITY OR THAT

   25   BEING RELIABLY APPLIED, WHATEVER IT IS. AND THEN YOU




                                61
Case 10-06112    Doc 1-8     Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                              to Remand Page 85 of 301




   1    TELL ME WHY AND YOU TELL ME WHAT'S IN THE DEPOSITION THAT

   2    CAUSES YOU TO BRING IT. OKAY. AND THEN, YOU LET ME KNOW

   3    WHETHER YOU ARE GOING TO BRING THIS PERSON LIVE. AND I

   4    SUGGEST TO YOU IF IT'S A REAL SERIOUS DAUBERT MOTION, YOU

   5    BRING YOUR PERSON LIVE BECAUSE I LIKE TO TALK TO THEM AND

   6    ASK THE QUESTIONS BECAUSE SOMETIMES I CAN'T TELL WHETHER

   7    THE PERSON IS CREDIBLE UNLESS I HAVE YOU-ALL EXAMINE HIM

   8    AND THEN I CAN ASK HIM OR HER QUESTIONS. BUT I'M SAYING

   9    YOUR BOILER PLATE DAUBERT NEED NOT BE LONG. I DON'T NEED

   10   A HISTORY OF DAUBERT. I GOT ALL THAT. I HAVE MOST OF

   11   THE CASES BACK THERE ON MY DESK ON DAUBERT. IT WILL SAVE

   12   YOU A LOT OF WRITING.

   13     MS. SHUMENER: THEN WHY DON'T WE -- THEN MY

   14   RECOMMENDATION WOULD BE TO DO THE DAUBERT MOTIONS BY THE

   15   15TH AFTER THE SUMMARY JUDGMENT MOTIONS ARE DONE, THE

   16   OPPOSITIONS.

   17     MR. ALPERT: THAT'S FINE.

   18     MS. SHUMENER: AND THEN WE DO THE OPPOSITIONS SAY BY

   19   THE 19TH. AND THEN WE HAVE THEM HEARD AND HAVE OUR

   20   DAUBERT WITNESSES HERE MAYBE ON THE 21ST? IS THE COURT

   21   AVAILABLE?

   22     THE COURT: I THINK WE OUGHT TO SCHEDULE BOTH THESE

   23   DAYS JUST IN CASE.

   24     MR. ALPERT: THE 20TH AND 21ST.

   25     THE COURT: HERE'S THE DEAL. WELL, WE HAVE TO DO




                                62
Case 10-06112     Doc 1-8    Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                              to Remand Page 86 of 301




   1    THE DAUBERT I THINK BEFORE THE SUMMARY JUDGMENT BECAUSE

   2    IF YOU DON'T KNOW WHAT YOUR EXPERTS ARE IN HERE ABOUT --

   3      MR. ALPERT: YEAH. AGREED. GOOD POINT.

   4      THE COURT: SO YOU HAVE TO DO IT THAT WAY. SO IF

   5    THERE IS -- LET'S RESERVE THE 20TH AND THE 21ST, IF BY

   6    THE GRACE OF GOD THERE ARE NO DAUBERIES, WE'LL JUST DO

   7    SUMMARY JUDGMENT ON THE 20TH. IF THERE ARE DAUBERTS,

   8    WE'LL DO DAUBERTS ON THE 20THH AND SUMMARY JUDGMENT ON

   9    THE 21ST. FAIR ENOUGH. I WILL GIVE YOU TWO DAYS.

   10     MR. ALPERT: THE REPLY -- SO WE'RE GOING TO DO

   11   REPLIES ON THE 19TH? CAN WE ASK AS COURTESY TO HAVE THE

   12   RESPONSE BRIEFS ON DAUBERIES BY THE CLOSE OF BUSINESS,

   13   EASTERN ON THE 19TH?

   14     THE COURT: YEAH, BECAUSE I WON'T READ THEM AFTER

   15   THAT, TO BE HONEST WITH YOU. I DON'T PULL LEXIS-NEXIS

   16   AND E-FILE AT HOME. I JUST DON'T. I HAVE A BOUNDARY.

   17   MY HUSBAND IS LAWYER. WE HAVE HAD TO SET SOME BOUNDARIES

   18   AND THAT'S A BOUNDARY.

   19     MS. SHUMENER: SO 5:00 EASTERN.

   20     THE COURT: THE EARLIER THE BETTER IF YOU WANT ME TO

   21   READ IT. I'M JUST BEING HONEST. IF I HAVE IT BY 3:00 MY

   22   TIME, IT WILL GET READ. I LIKE TO READ.

   23     MS. SHUMENER: 3:00 IS WONDERFUL.

   24     MR. ALPERT: THAT'S FINE. 3:00 ON THE 19TH. 3:00

   25   EASTERN. SAME -- CAN WE DO THE SAME THING ON THE 15TH?




                                 63
Case 10-06112     Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                             to Remand Page 87 of 301




   1      THE COURT: WHATEVER YOU WANT TO DO ON THAT?

   2      MS. SHUMENER: THAT'S TOO HARD FOR ME.WE'LL BE DOING

   3    SUMMARY JUDGMENTS.

   4      MR. ALPERT: WE WANT TO BE FAIR.

   5      THE COURT: I WILL READ THEM ALL TOGETHER. IT

   6    DOESN'T MATTER TO ME. IN OTHER WORDS, I WON'T READ THE

   7    ONES WITHOUT A REPLY. I WAIT UNTIL I GET THEM ALL

   8    TOGETHER. IT'S MORE BALANCED THAT WAY. WHATEVER YOU

   9    DECIDE IS FINE.

   10     MS. SHUMENER: HOW ABOUT 3:00 P.M. YOUR TIME

   11     MR. ALPERT: THAT'S FINE.

   12     MS. SHUMENER: AND SO WE'RE ASSUMING THAT IF THERE

   13   ARE DAUBERTS, THEY ARE GOING TO BE HEARD ON THE 20TH

   14   INITIALLY. AND THEN IF THEY ARE, ARE WE FLOWING FROM

   15   THAT RIGHT INTO THE SUMMARY JUDGMENT?

   16     THE COURT: YES.

   17     MS. SHUMENER: OKAY. SO EITHER WAY THAT'S GOING TO

   18   TAKE, WHAT, 15 MINUTES TO DECIDE?

   19     THE COURT: CORRECT. WELL, MY PLAN WOULD BE, YOU

   20   KNOW, TO DAUBERT -- AND I'M HOPEFUL THAT I WILL BE ABLE

   21   TO RESOLVE IT. USUALLY I RULE FROM THE BENCH. THAT'S MY

   22   PRACTICE. IT MIGHT NOT BE A PRETTY RULE, BUT I WILL

   23   RULE. AND THEN WE GO RIGHT INTO SUMMARY JUDGMENT. IF

   24   YOU NEED A BREAK TO KIND OF REGROUP, BECAUSE DEPENDING

   25   WHAT HAPPENS ON DAUBERT, THERE MIGHT NEED TO BE A REGROUP




                                64
Case 10-06112       Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                               to Remand Page 88 of 301




   1    TIME, WE CAN DO THAT. BUT JUST TO PROTECT OURSELVES,

   2    LET'S HAVE THE 20TH AND 21ST IN THIS CASE WE NEED IT.

   3      MR. ALPERT: AGREED.

   4      MS. SHUMENER: AND THE WITNESSES NEED TO BE HERE ON

   5    THE 2OTH?

   6      THE COURT: WELL, IT SEEMS TO ME, I LIKE IT. YOU'RE

   7    NOT REQUIRED BY STATUTE TO BRING THEM. BUT IF YOU HAVE A

   8    DAUBERT CHALLENGE AND, PARTICULARLY, IF IT'S YOUR PERSON

   9    THAT'S BEING CHALLENGE AND YOU WANT TO CONVINCE ME THAT

   10   THEY NEED DAUBERT. IT REALLY HELPS FOR ME TO EYEBALL

   11   THEM AND TALK WITH THEM. I LET YOU-ALL QUESTION THEM AND

   12   THEN I JUMP IN IF I DON'T UNDERSTAND. THIS IS HIGH

   13   FINANCING AND I HAVE SOME QUESTIONS. IT'S BEEN A LONG

   14   TIME SINCE I TOOK THIS STUFF.

   15     OKAY. AND THEN THAT -- SAY, HOPEFULLY, I WILL BE

   16   ABLE TO GIVE YOU A RULING WITHIN REALLY A SHORT TIME AND

   17   THAT GIVES US AN ENTIRE WEEK AFTER ALL THE MOTIONS,

   18   ASSUMING THAT NO SUMMARY JUDGMENT IS GRANTED OR EVEN IF

   19   SOME ARE AND SOME AREN'T AND WE GO TO TRIAL AND PICK OUR

   20   JURY ON MONDAY, THE 1ST; IS THAT RIGHT?

   21     MR. ALPERT: I'M SURE THERE'S GOING TO BE SOME

   22   BRIEFING ON WHETHER OR NOT THERE'S GOING TO BE A JURY,

   23   BUT, YES.

   24     THE COURT: RIGHT. ASSUMING THERE'S A JURY.

   25   MR. BRANNAN IS QUITE SURE.




                                 65
Case 10-06112    Doc 1-8    Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                             to Remand Page 89 of 301




   1      MR. BRANNAN: YES.

   2      THE COURT: YOU KNOW WHAT I WOULD LOVE TO DO. WHILE

   3    I GOT YOU HERE FOR TWO DAYS, LET'S JUST NAIL THAT.

   4    MOTIONS IN LIMINE AT THE SAME TIME. THIS IS HOW I DO

   5    MOTIONS IN LIMINE. I HAVE TOLD YOU THIS. I DON'T LIKE A

   6    WHOLE LOT OF PAPER. NOW THERE MAY BE SOME THAT YOU CAN'T

   7    ANTICIPATE AT THIS TIME BECAUSE YOU HAVEN'T HAD TIME TO

   8    SYNTHESIZE EVERYTHING THAT HAPPENED IN THESE TWO DAYS.

   9    BOILER PLATE STUFF I WANT YOU ALL TO AGREE ON. DON'T

   10   FILE A WHOLE LOT OF PAPER. JUST BRING TO ME ANY MOTIONS

   11   IN LIMINE THAT YOU ALL DON'T AGREE ON. IN OTHER WORDS,

   12   EVERYBODY KNOWS GENERALLY LIKE TORT INSURANCE, COLLATERAL

   13   SOURCE, I DON'T NEED A MOTION IN LIMINE ON THAT. YOU ALL

   14   KNOW. ALL THE STUFF THAT YOU ALL KNOW IS GRANTED, IT

   15   DOESN'T COME IN. I DON'T NEED THAT. YOU ALL JUST AGREE

   16   ON THAT AND PUT IN A STIPULATION. AND THEN WHATEVER

   17   YOU-ALL ARE FUSSING OVER IN TERMS OF EVIDENCE -- AND I

   18   NEED TO GET -- IF YOU WANT ME TO TAKE THOSE UP ON THE

   19   21ST, AGAIN, I WOULD LIKE TO HAVE THOSE BY THE 19TH AS

   20   WELL. YOU SEEM LIKE YOU'RE HAVING ANOTHER ANXIETY ATTACK

   21   OVER THERE, MR. ALPERT.

   22     MR. ALPERT: WELL, I GUESS MY QUESTION, JUDGE, IS

   23   DEPENDING UPON WHAT HAPPENS, DEPENDING UPON WHAT HAPPENS

   24   AT THE DAUBERT HEARING AND WHAT HAPPENS AT THE MOTION FOR

   25   SUMMARY JUDGMENT HEARING, THAT MAY SIGNIFICANTLY PARE




                                  66
Case 10-06112    Doc 1-8     Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                              to Remand Page 90 of 301




   1    DOWN POTENTIAL MOTIONS IN LIMINE. AND WE'RE GOING TO BE

   2    WORKING SO HARD PREPARING FOR THAT HEARING --

   3      THE COURT: WHEN DO YOU WANT TO DO THE MOTIONS.

   4      MR. ALPERT: I WAS THINKING ABOUT GIVING US A CHANCE

   5    TO REGROUP AT THE END OF THAT WEEK AND THEN MAYBE THE

   6    FOLLOWING WEEK.

   7      THE COURT: OKAY.

   8      MS. SHUMENER: THE FOLLOWING WEEK, MEANING 25TH?

   9    BUT YOU GOT YOUR CRIMINAL CALENDAR.

   10     THE COURT: OH, I DON'T CARE ABOUT THAT. WHAT I

   11   PROBABLY AM NOT GOING TO DO THEN IS HAVE A WHOLE LOT OF

   12   ORIGINAL ARGUMENT. I DON'T MEAN TO DRAG YOU ALL BACK

   13   DOWN HERE FOR ORAL ARGUMENT.

   14     MR. ALPERT: CAN WE JUST TAKE IT UP ON THE 1ST? TO

   15   THE EXTENT IF THERE'S ANYTHING YOU WANT TO HEAR MORE

   16   ABOUT.

   17     THE COURT: IF THERE'S ANYTHING I WANT TO HEAR MORE

   18   ABOUT, WE'LL TAKE IT UP ON THE 1ST.

   19     MS. SHUMENER: OKAY. SO THAT I UNDERSTAND. SO WHEN

   20   ARE WE FILING MOTIONS IN LIMINE BY?

   21     THE COURT: NOT UNTIL THE 25TH.

   22     MS. SHUMENER: OKAY.

   23     MR. ALPERT: THE 25TH.

   24     THE COURT: AND AFTER EVERYTHING HAS BEEN

   25   SYNTHESIZED.




                                  67
Case 10-06112    Doc 1-8    Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                             to Remand Page 91 of 301




   1      MR. ALPERT: AND RESPONSE BY THE 29TH.

   2      THE COURT: WELL, THE 28TH. THAT S ME THE 29TH TO

   3    GET YOU ALL READY AND GEARED UP. WE CAN'T USUALLY GET

   4    OUR JURORS DOWN HERE -- OUR JURIES DO NOT USUALLY ARRIVE

   5    UNTIL ABOUT 10:30, SO WE HAVE THAT MONDAY MORNING TIME TO

   6    GO OVER ANY OF THIS STUFF. BUT, OTHERWISE, WHAT I WOULD

   7    LIKE TO DO, IF IT'S NOT TOO MUCH TO ASK IS GO AHEAD AND

   8    NAIL DOWN THE PROPOSED PRETRIAL ORDER BY THE TIME YOU ALL

   9    LEAVE HERE ON THE 21ST.

   10     MR. ALPERT: OKAY. WE'LL BE PREPARED TO TALK ABOUT

   11   THAT AS WELL.

   12     THE COURT: THAT CAN BE HUGE ON THE MORNING OF TRIAL

   13   IF THAT HADN'T BEEN NAILED DOWN. OKAY. AND I GUESS

   14   WORSE CASE SCENARIO, WE CAN PICK A JURY ON ELECTION DAY,

   15   TUESDAY. IT'S ALWAYS A PROBLEM HAVING A JURY ON ELECTION

   16   DAY, PARTICULARLY -- BUT IF I DO, I USUALLY JUST DON'T

   17   START UNTIL 10:30. I SAY IF YOU ARE GOING TO VOTE, GO

   18   VOTE IN THE MORNING SO WE DON'T HAVE TO GIVE EVERYBODY A

   19   LUNCHTIME VOTE AND A NIGHTTIME VOTE AND WE HAVE EVERYBODY

   20   KIND OF GOING AT ONE TIME. OFF THE RECORD.

   21      (WHEREUPON, AN OFF-THE-RECORD DISCUSSION OCCURRED.)

   22     THE COURT: OKAY.

   23     MS. SHUMENER: SO JUST TO RECAP THE MOTIONS ON

   24   SUMMARY JUDGMENT OPPOSITIONS. SO IN JUNE WE ARE GOING TO

   25   SFG'S DOCUMENT LIST TELLING US WHAT DOCUMENTS THERE ARE




                                  68
Case 10-06112    Doc 1-8     Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                              to Remand Page 92 of 301




   1    MISSING, ET. CETERA. JUNE 18TH, WE RESPOND, MINOR

   2    RESPONDS, RIGHT?

   3      THE COURT: ASK THEM.

   4      MS. SHUMENER: JUNE 25TH WE WRITE LETTERS TO THE

   5    COURT IF WE CAN'T AGREE, RIGHT?

   6      MR. DOUGLASS: THAT'S RIGHT.

   7      MS. SHUMENER: THEN I'VE GOT THAT WE ARE GOING TO BE

   8    HERE IN COURT TAKING 30(B)6 DEPOSITIONS IN JULY ON THE

   9    29TH. AND MY ONLY QUESTION IS: DO WE HAVE ANYTHING SET

   10   WITH RESPECT TO THAT AS TO TOPICS, IN OTHER WORDS,

   11   DEADLINES WHERE WE AGREE WHAT THE TOPICS WILL BE?

   12     THE COURT: YOU NEED TO DO THAT. YOU NEED A

   13   DEADLINE FOR THAT.

   14     MR. DOUGLASS: WHY DON'T WE EXCHANGE TOPIC LISTS AT

   15   THE SAME TIME WE EXCHANGE THE DOCUMENT LIST AND THAT WAY

   16   WE CAN SUBMIT ANYTHING DISPUTED TO THE COURT AT THE SAME

   17   TIME.

   18     MR. ALPERT: I FEEL LIKE THE TOPIC LIST WE HAVE KIND

   19   OF TALKED ABOUT, BUT TO THE EXTENT WE HAVE TO PUT IT IN

   20   WRITE, WE WILL.

   21     THE COURT: I WANT IT IN WRITING FOR BOTH SIDES.

   22   THE DEVIL IS IN THE DETAILS.

   23     MS. SHUMENER: I AGREE. SO THE TOPICS LIST -- TOPICS

   24   AND THE OPPOSITIONS REGARDING THE TOPICS AND THE LETTERS

   25   TO THE COURT WILL ALL BE AGAIN THE 11TH, 18TH AND 25.




                                 69
Case 10-06112      Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                              to Remand Page 93 of 301




   1    OKAY. AND THEN ALL I HAVE FOR JULY THEN IS THE 30(B)6

   2    MOTIONS.

   3      THE COURT: AND DOCUMENT PRODUCTION AND FACT

   4    DISCOVERY.

   5      MS. SHUMENER: WHEN IS THE FACT DISCOVERY CUT OFF

   6    DATE BECAUSE I DON'T HAVE THAT?

   7      MR. ALPERT: I THINK WHAT WE TALKED ABOUT IS THE END

   8    OF JULY, JULY 30TH. SO IF YOU GOT FACT DISCOVERY, I MEAN

   9    OBVIOUSLY WE NEED TO GET THE DOCUMENTS AND THEN WE GOT A

   10   NUMBER OF PEOPLE WHO WE HAVE IDENTIFIED WE WANT TO

   11   DEPOSE. AND SO, WE'LL HAVE THROUGH JULY 30TH TO FINISH

   12   THOSE.

   13     THE COURT: CORRECT.

   14     MS. SHUMENER: SO DOCUMENTS AND DEPOS AND EVERYTHING

   15   ELSE, WE'RE GOING TO BE FINE DOING ALL OF THAT UNTIL THE

   16   END OF JULY?

   17     THE COURT: YES, MA'AM.

   18     MS. SHUMENER: WE ARE GOING TO DESIGNATE EXPERTS ON

   19   AUGUST 10TH? THAT'S ALL I HAVE FOR JULY, BY THE WAY; IS

   20   THAT CORRECT?

   21     MR. ALPERT: I THINK SO.

   22     THE COURT: THAT'S RIGHT.

   23     MS. SHUMENER: SO AUGUST 10 IS EXPERT WITNESS

   24   DESIGNATION.

   25     MR. ALPERT: CORRECT.




                                 70
Case 10-06112    Doc 1-8     Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                              to Remand Page 94 of 301




   1      MS. SHUMENER: AUGUST 31ST IS THE DEADLINE BY WHICH

   2    TO COMPLETE EXPERT DEPOS.

   3      MR. DOUGLASS: THAT'S RIGHT.

   4      MS. SHUMENER: SEPTEMBER 10TH. AND THAT'S ALL I

   5    HAVE BY THE WAY FOR AUGUST. SO IF THERE'S SOMETHING ELSE

   6    THAT I'M MISSING.

   7      MR. DOUGLASS: I DON'T THINK SO.

   8      MS. SHUMENER: OKAY. SEPTEMBER 10TH, I HAVE REBUTTAL

   9    WITNESSES DESIGNATIONS, ALL OF THESE ARE MUTUAL.

   10     MR. DOUGLASS: RIGHT.

   11     MS. SHUMENER: AND SEPTEMBER 24TH IS THE DEADLINE BY

   12   WHICH TO DEPOSE REBUTTAL EXPERTS.

   13     MR. DOUGLASS: RIGHT.

   14     MS. SHUMENER: AND NOW MY CALENDAR IS LITTLE LESS

   15   MESSY. BUT NOW WE'RE IN OCTOBER. AND OCTOBER 12TH IS

   16   THE DEADLINE FOR THOSE SUMMARY JUDGMENT OPPOSITIONS.

   17     THE COURT: TO BE FILED WITH ME.

   18     MS. SHUMENER: YES. CORRECT. AND THE DEADLINE BY

   19   WHICH TO FILE THE DAUBERT MOTIONS IS THE 15TH OF OCTOBER.

   20     THE COURT: CORRECT.

   21     MS. SHUMENER: AND THEN WE HAVE UNTIL THE 19TH, BY

   22   THE CLOSE OF BUSINESS.

   23     THE COURT: 3:00.

   24     MS. SHUMENER: 3:00 P.M. EASTERN ON THE 19TH TO FILE

   25   THE OPPOSITIONS TO THE DAUBERT MOTIONS. AND THEN ON THE




                                 71
Case 10-06112     Doc 1-8    Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                              to Remand Page 95 of 301




   1    20TH WE HAVE THE DAUBERT -- THE HEARINGS FOR THE DAUBERT

   2    MOTIONS, FOLLOWED BY THE HEARINGS OF THE SUMMARY JUDGMENT

   3    MOTION.

   4      THE COURT: YES, MA'AM. THE 20TH AND 21ST.

   5      MS. SHUMENER: AND THE 21ST FOR MORE SUMMARY

   6    JUDGMENT ISSUES.

   7      THE COURT: AND MOTIONS IN LIMINE.

   8      MR. BRANNAN: AND THE PROPOSED PRETRIAL.

   9      THE COURT: AND THE PROPOSED PRETRIAL ORDER, YES,

   10   SIR, PROPOSED, CONSOLIDATED PRETRIAL ORDER WILL BE TAKEN

   11   UP ON THE 21ST AS WELL, OKAY.

   12     MS. SHUMENER: AND THEN ON THE 25TH WE'RE DOING

   13   MOTIONS IN LIMINE.

   14     THE COURT: YES, MA'AM. AND, REMEMBER, SYNTHESIZED.

   15   IN OTHER WORDS, JUST THINGS THAT I.

   16     MS. SHUMENER: JUST DISPUTES.

   17     THE COURT: DISPUTED MOTIONS IN LIMINE. AND YOU

   18   CONFER IN GOOD FAITH BEFORE YOU FILE THEM. I REQUIRE

   19   THAT -- TO TRY TO MAKE THEM NOT DISPUTED.

   20     MS. SHUMENER: AND THEN THE 28TH WE'RE GOING TO BE

   21   FILING OPPOSITIONS TO THE MOTIONS IN LIMINE.

   22     THE COURT: ALL RIGHT. AND THEN WE HAVE MOTIONS

   23   LIMINE DECIDED ON THE MORNING OF THE 1ST.

   24     MS. SHUMENER: IS THERE ARGUMENT?

   25     THE COURT: IF I NEED IT.




                                 72
Case 10-06112    Doc 1-8    Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                             to Remand Page 96 of 301




   1      MS. SHUMENER: OKAY.

   2      THE COURT: IT'S PARTLY MORE LIKE A CONVERSATION AS

   3    OPPOSED TO AN ARGUMENT. GENERALLY I AM ABLE TO RESOLVE

   4    THESE VERY QUICKLY.

   5      MS. SHUMENER: OKAY. PICKING A JURY AND THEN WE

   6    START.

   7      THE COURT: AND WE HAVE RESERVED POTENTIALLY THREE

   8    WEEKS WITH THE UNDERSTANDING WE'RE LIKELY ONLY GOING TO

   9    NEED TWO. FOR WHAT I KNOW IN THIS CASE, I WOULDN'T THINK

   10   IT WOULD TAKE MORE THAN TWO, BUT WE HAVE 11TH AND 12TH

   11   DARK AND THE 5TH.

   12     MR. ALPERT: THE 5TH, THE 11TH AND 12TH ARE DARK .

   13     THE COURT: ALL RIGHT. THAT WAY THE JURY WILL KNOW

   14   THAT IN ADVANCE. AND WHEN YOU HAVE A JURY OVER TWO

   15   WEEKS, THEY LIKE TO HAVE SOME TIME TO BE WITH FAMILY AND

   16   ALSO TO KNOW THEY HAVE LONG WEEKENDS TO GO BACK TO THEIR

   17   OFFICE AND THAT KIND OF THING.

   18     MS. SHUMENER: AND WE CAN ALL COLLAPSE ON THE WEEK

   19   OF THANKSGIVING?

   20     THE COURT: OKAY. ALL RIGHT. WHO IS OUR SCRIBNER?

   21   ALL RIGHT?

   22     MR. DOUGLASS: I THINK WE WERE GOING TO TAKE A CRACK

   23   AT SUBMITTING AN AMENDED CASE MANAGEMENT ORDER.

   24     THE COURT: ABSOLUTELY.

   25     MS. SHUMENER: BY WHEN WILL I GET THE -- AND BY THE




                                73
Case 10-06112    Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                            to Remand Page 97 of 301




   1    WAY WE EVEN RESPONDED TO A LETTER RECENTLY SENT TO US

   2    ABOUT INFORMATION AND DOCUMENTS REGARDING OUR EXPERTS AND

   3    I WOULD LIKE EVERYTHING BACK REGARDING THAT. WHAT WE

   4    PAID THE EXPERTS, EVERYTHING. EVERY SHRED OF PAPER.

   5      THE COURT: SEND IT BACK.

   6      MR. ALPERT: AND WE ULTIMATELY GOT THAT STUFF

   7    AFTERWARDS.

   8      THE COURT: WHEN YOU GOING TO GIVE IT BACK? I DON'T

   9    NEED A BUNCH OF FINGER POINTING. COME ON. SEND IT BACK.

   10     MR. ALPERT: YEAH. WE'RE GOING TO GET IT, BUT

   11   OBVIOUSLY WE'RE GOING TO GET IT BACK RIGHT WHEN YOU MAKE

   12   YOUR DISCLOSURE.

   13     MS. SHUMENER: MAYBE.

   14     THE COURT: YEAH. SEND IT BACK. SEND IT BACK AS IF

   15   IT NEVER WAS SENT. WITHIN A WEEK. WITHIN A WEEK.

   16     MR. ALPERT: WHAT? TO SEND IT BACK?

   17     MR. DOUGLASS: WE'LL SEND IT BACK BY THE END OF THIS

   18   WEEK.

   19     THE COURT: THE END OF THIS WEEK. THANK YOU. ALL

   20   RIGHT. FAIR ENOUGH. GREAT JOB EVERYBODY. I HAVE BEEN

   21   VERY IMPRESSED HOW WE CAN SIT DOWN AND WORK THROUGH

   22   PROBLEMS. THE NEXT TIME THERE'S A PROBLEM, BEFORE WE

   23   HAVE THIS AMOUNT OF PAPER AND THIS AMOUNT OF FINGER

   24   POINTING, MAKE THIS THE LAST RESORT. MAKE THE FIRST TO

   25   JUDGE SCHAFER AND HE'LL MAKE SURE THAT JUDGE FORSLING HAS




                               74
Case 10-06112    Doc 1-8    Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                             to Remand Page 98 of 301




   1    A TELEPHONE CONVERSATION WITH YOU-ALL OR I MAY BE A BRIEF

   2    WITH YOU-ALL SO WE CAN MOVE THIS FASTER. I DON'T WANT TO

   3    MOVE THE TRIAL DATE AGAIN, BUT I UNDERSTAND THE NEED

   4    SOMETIMES TO DO ALL THIS PAPER AND I UNDERSTAND THAT

   5    YOU-ALL FELT YOU HAD RESPECTIVE POSITIONS THAT NEED TO BE

   6    ARTICULATED AND PROTECTED, BUT I'M ABOUT GETTING THIS

   7    DONE. SO NEXT TIME, JUST CALL AND WE'LL DO THIS FIRST

   8    INSTEAD OF THIS. FAIR ENOUGH TO EVERYBODY? I WILL MAKE

   9    MYSELF AVAILABLE TO YOU. THANK YOU VERY MUCH. ALL RIGHT.

   10     (WHEREUPON, THE HEARING CONCLUDED.)

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                                75
Case 10-06112     Doc 1-8        Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                                  to Remand Page 99 of 301




   1

   2           CERTIFICATE

   3 STATE OF GEORGIA:

   4 FULTON COUNTY:

   5

   6      I HEREBY CERTIFY THAT THE FOREGOING TRANSCRIPT WAS

   7 TAKEN DOWN, AS STATED IN THE CAPTION, AND THE QUESTIONS AND

   8 THERETO WERE REDUCED TO TYPEWRITING UNDER MY DIRECTION; THAT

   9 THE FOREGOING PAGE 1 THROUGH 76 COMPLETES AND REPRESENTS A

   10 TRUE AND CORRECT TRANSCRIPT OF THE EVIDENCE GIVEN UPON SAID

   11 HEARING, AND I FURTHER CERTIFY THAT I AM NOT OF KIN OR COUNSEL

   12 TO THE PARTIES IN THE CASE; AM NOT IN THE REGULAR EMPLOY OF

   13 COUNSEL FOR ANY OF SAID PARTIES NOR AM I IN ANYWISE INTERESTED

   14 IN THE RESULT OF SAID CASE.

   15 THIS 16TH OF JUNE, 2010.

   16

   17         _____________________________

   18         OCTAVIA L. WINFREY, CSR B-2422

   19          MY COMMISSION EXPIRES THE

   20           31ST DAY OF MARCH 2011

   21

   22

   23

   24

   25




                                    76
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 100 of 301




                    EXHIBIT “2”
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 101 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 102 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 103 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 104 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 105 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 106 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 107 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 108 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 109 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 110 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 111 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 112 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 113 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 114 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 115 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 116 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 117 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 118 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 119 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 120 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 121 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 122 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 123 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 124 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 125 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 126 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 127 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 128 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 129 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 130 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 131 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 132 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 133 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 134 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 135 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 136 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 137 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 138 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 139 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 140 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 141 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 142 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 143 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 144 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 145 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 146 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 147 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 148 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 149 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 150 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 151 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 152 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 153 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 154 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 155 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 156 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 157 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 158 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 159 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 160 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 161 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 162 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 163 of 301




                    EXHIBIT “3”
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 164 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 165 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 166 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 167 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 168 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 169 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 170 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 171 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 172 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 173 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 174 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 175 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 176 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 177 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 178 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 179 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 180 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 181 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 182 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 183 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 184 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 185 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 186 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 187 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 188 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 189 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 190 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 191 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 192 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 193 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 194 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 195 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 196 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 197 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 198 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 199 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 200 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 201 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 202 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 203 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 204 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 205 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 206 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 207 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 208 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 209 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 210 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 211 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 212 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 213 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 214 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 215 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 216 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 217 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 218 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 219 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 220 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 221 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 222 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 223 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 224 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 225 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 226 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 227 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 228 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 229 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 230 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 231 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 232 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 233 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 234 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 235 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 236 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 237 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 238 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 239 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 240 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 241 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 242 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 243 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 244 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 245 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 246 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 247 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 248 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 249 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 250 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 251 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 252 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 253 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 254 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 255 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 256 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 257 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 258 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 259 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 260 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 261 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 262 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 263 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 264 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 265 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 266 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 267 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 268 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 269 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 270 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 271 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 272 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 273 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 274 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 275 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 276 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 277 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 278 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 279 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 280 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 281 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 282 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 283 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 284 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 285 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 286 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 287 of 301




                    EXHIBIT “5”
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 288 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 289 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 290 of 301
Case 10-06112   Doc 1-8   Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                          to Remand Page 291 of 301




                          EXHIBIT “6”
Case 10-06112       Doc 1-8    Filed 09/13/10 Entered 09/13/10 11:15:41  Desc of
                                                                   State Court Motion
                                                                                 Fulton County
                               to Remand Page 292 of 301                 ***EFILED***
                                                                           LexisNexis Transaction ID: 30664699
                                                                                Date: Apr 20 2010 9:28AM
                                                                                  Mark Harper, Clerk
                     IN THE STATE COURT OF FULTON COUNTY
                               STATE OF GEORGIA

SPECIALTY FINANCE GROUP, LLC,                   )
                                                )
       Plaintiff/Counter-Defendant,             )
                                                )       CIVIL ACTION
v.                                              )
                                                )       NO. 2009EV006754F
MINOR FAMILY HOTELS, LLC                        )
and HALSEY MINOR,                               )
                                                )
       Defendants/Counter-Plaintiffs/           )
       Third-Party Plaintiffs,                  )
                                                )
v.                                              )
                                                )
LEE DANIELSON and                               )
HOTEL CHARLOTTESVILLE, LLC,                     )
                                                )
       Third-Party Defendants.                  )

                                            ORDER

       This case involves a loan made by Plaintiff Specialty Finance Group, LLC (“SFG”) to

Defendant Minor Family Hotels, LLC (“MFH”) and guaranteed by Defendant Halsey Minor

(“Mr. Minor”) (MFH and Mr. Minor collectively as “Minor”). SFG’s January 5, 2010 motion

(“Motion”) requests the Court to shift certain of SFG’s discovery costs to Minor, specifically the

costs SFG incurred in connection with restoring, processing and reviewing emails from SFG’s

email backup tapes. SFG seeks reimbursement for: (a) $52,000 in e-discovery vendor costs

associated with restoring emails from SFG’s email backup tapes; (b) $56,235.50 in e-discovery

vendor costs associated with processing the restored emails into a reviewable format; and (c)

$51,698.30 in attorneys’ fees associated with SFG’s counsel reviewing the restored emails for

production to Minor. For the reasons set forth below, the Court GRANTS SFG’s Motion as to

the shifting of the e-discovery vendor costs SFG incurred in connection with the restoration and


                                                                                         2728864 v02
Case 10-06112       Doc 1-8     Filed 09/13/10 Entered 09/13/10 11:15:41          Desc Motion
                                to Remand Page 293 of 301




processing of the emails from SFG’s backup tapes, and DENIES SFG’s Motion as to the

attorneys’ fees SFG incurred in connection with having its counsel review the restored emails for

production.

I.     Background Facts

       On March 12, 2008, MFH entered into a loan agreement with SFG. As part of the loan

agreement, MFH contemporaneously executed a promissory note to SFG. That same day, Minor

entered into a guaranty agreement with SFG, in which Minor guaranteed payment of the note

when due. The loan proceeds were to be used in connection with the construction of a hotel

project in Charlottesville, Virginia. In this lawsuit, SFG alleges that MFH defaulted under the

terms of the loan agreement and note and that Minor is liable as guarantor for amounts owed

under the note. Minor denies SFG’s allegations and has filed counterclaims against SFG and a

third-party complaint against the project developer.

       Minor has propounded extensive discovery to SFG in this case, which includes requests

for production of SFG’s electronic documents. Upon receipt of these requests, SFG conducted a

search of its “hard copy” documents and its electronic documents, including documents available

on shared network drives, personal network drives, email servers and employee hard-drives.

This search required SFG, with the assistance of an outside e-discovery vendor, to process over

25 million pages of documents. The undisputed evidence shows that SFG spent over $500,000

to search for, process, review and produce the responsive electronic documents from this search.

       As part of identifying and searching for responsive electronic documents, SFG

determined that certain emails responsive to Minor’s document requests may reside on SFG’s

email backup tapes. Backup tapes are high capacity storage tapes used by some companies to




                                           -2-
Case 10-06112            Doc 1-8       Filed 09/13/10 Entered 09/13/10 11:15:41           Desc Motion
                                       to Remand Page 294 of 301




back up large amounts of data for disaster recovery and other business purposes.1 It is not

possible to easily access or review data from backup tapes without first restoring and processing

the data into a reviewable format.

          Prior to May 2008, SFG’s emails were located on SFG’s “active” email server in the

particular mailbox from which the emails were sent or received. SFG backed up its active server

on a regular basis, and these backups were then rolled into monthly backup tapes. If a sender or

recipient deleted an email from the active server, that particular copy of that email would only be

available on a backup tape. However, if an email was addressed to more than one of SFG’s

employees, and at least one recipient did not delete it from their mailbox, then that particular

copy of the email remained on the active email server. Moreover, if any sender or recipient of an

email was not an employee of SFG (e.g. Mr. Minor, the project developer, etc.), that email could

also reside on that recipient’s email system.

          After May 2008, SFG installed a second email server, on which SFG keeps a copy of

every email sent from or received by a user of SFG’s email system, regardless of whether that

email was later deleted. This is referred to as the “archive” server.

          Thus, in summary:

              •    Any email sent or received after May 2008 is available, at a minimum, on
                   SFG’s archive server;

              •    Any email not deleted from any user mailbox as of May 2008 (regardless
                   of when it was sent or received) is also available, at a minimum, on SFG’s
                   archive server; and

              •    Only those emails that were (a) sent or received before May 2008, (b)
                   deleted by all senders and recipients before May 2008, and (c) included
                   only SFG’s employees as senders and recipients would be exclusively
                   available on SFG’s backup tapes. All other emails would be available on
                   SFG’s active/archive servers or from other sources (e.g. non-SFG
                   recipients of the email).

   1   While SFG utilized such tapes as part of its business operations, Minor did not.


                                                     -3-
Case 10-06112          Doc 1-8      Filed 09/13/10 Entered 09/13/10 11:15:41                   Desc Motion
                                    to Remand Page 295 of 301




          SFG informed Minor that based on the above system and the date of the parties’ loan

agreement (March 2008), a search of SFG’s backup tapes was unlikely to yield a substantial

amount of responsive, important emails that were not already available on SFG’s active/archive

servers or from other sources. Notwithstanding this, Minor requested SFG to move forward with

restoring and searching its 104 backup tapes. SFG again reiterated its belief that such a search

was unnecessary and expensive, and requested that Minor bear the costs associated with Minor’s

requested restoration and search. Minor refused SFG’s request.

          In the Fall of 2008, as requested by Minor, SFG moved forward with the restoration and

processing of its backup tapes, but reserved its right to shift such costs to Minor after the process

was completed. The restoration process required SFG to retain the services of an outside e-

discovery vendor to restore the backup tapes and to process the restored emails into a format

reviewable by SFG’s attorneys, at a total cost of $108,235.50.2 After removing duplicate emails

and applying an appropriate date filter, SFG identified 169,168 emails for further review. Of

these 169,168 emails, less than .2% were discoverable, and SFG produced these documents to

Minor. After SFG’s production was complete, SFG again requested reimbursement from Minor

of SFG’s costs to complete this process. Minor refused to reimburse SFG for such costs, and

SFG’s Motion followed.

II.       Discussion

          Discovery matters, such as SFG’s Motion, are within the inherent discretionary authority

of this Court. See Georgia Emission Testing Co. v. Reheis, 269 Ga. App. 560, 564 (2004). This

Court applies Georgia law. The Court is not aware of any reported Georgia case specifically

addressing the shifting of costs for email backup tapes. However, in Reheis, the Georgia Court

      2
      SFG has submitted the affidavits of Jason Eakes, counsel for SFG, and Kevin Jacobs, Vice-President of SFG’s
e-discovery vendor, detailing these costs and the process undertaken by SFG. Minor has not disputed this
information.


                                                 -4-
Case 10-06112        Doc 1-8      Filed 09/13/10 Entered 09/13/10 11:15:41           Desc Motion
                                  to Remand Page 296 of 301




of Appeals did address some circumstances under which cost-shifting may be appropriate. The

Court of Appeals’ holding in that case is instructive.

        The plaintiff in Reheis, an emissions inspection company, sued various Georgia public

officials and agencies to recover fees that the plaintiff claimed were improperly assessed under

Georgia’s Motor Vehicle Emission Inspection and Maintenance Act. 269 Ga. App. at 561. The

plaintiff filed suit on its behalf and on behalf of 113 other emission testing centers in the metro

Atlanta area. Id. During discovery, the plaintiff made a request for documents evidencing the

total number of emission tests performed between 1996 and 2001, the number of test certificates

purchased by each tester during that time period and the date of each purchase. Id. at 564-65.

        In response, the defendants noted that the requested information should already have

been available to plaintiff and/or the emission testing centers plaintiff purported to represent. Id.

at 565. Defendants also responded that such information was only available to defendants in an

electronic database and was not available in a regularly produced report. Id. Production of this

information would therefore require an outside contractor to create a special report, with an

associated expense for the outside contractor’s work. Id. Defendants provided the plaintiff with

estimates to create the special report. Id. While the plaintiff acknowledged that the information

would have to be extracted from a massive electronic database at a significant cost, the plaintiff

insisted that the defendants produce the special report, at their expense, and moved to compel

such production. Id. The trial court granted the plaintiff’s motion to compel and ordered the

parties to split the associated cost. Id.

        Defendants appealed. The Court of Appeals affirmed the trial court’s ruling compelling

production of the special report, but found the trial court’s splitting of costs “more troublesome”

because:




                                            -5-
Case 10-06112       Doc 1-8     Filed 09/13/10 Entered 09/13/10 11:15:41               Desc Motion
                                to Remand Page 297 of 301




       [The Plaintiff] requested information from the defendants that (1) should have
       been available in [plaintiff’s] own records and the records of the other stations
       that it purportedly represented . . . and (2) involved the creation of a report that (a)
       otherwise did not exist and involved information that was not the subject of a
       regularly produced report, and (b) had to be specially created for [plaintiff] by a
       nonparty contractor at a significant cost to [defendants].”

Id. Based on these facts, the Court of Appeals reversed the trial court’s splitting of costs and

held that the plaintiff should be solely responsible for costs associated with creating the special

report. Id. In so holding, the Court of Appeals recognized that where requested discoverable

information is not reasonably accessible, it may be appropriate to shift the costs associated with

producing such information to the requesting party.

       There are significant similarities between the facts in Reheis and the cost-shifting issue

currently before the Court. Here, Minor requested SFG to search for and produce emails that

were only available to SFG on its backup tapes. Like the electronic databases of the defendants

in Reheis, emails on SFG’s backup tapes are not easily accessible. In order to access and review

these emails, SFG was required to retain and pay for an outside e-discovery vendor to restore and

process the emails into a reviewable format. The Court also notes that at least some of these

restored emails would have been sent to people outside of SFG and, therefore, may also have

been available to Minor from sources other than SFG’s backup tapes. Based on the above, the

Court finds the Reheis decision instructive in connection with the issue of whether to shift

certain of the costs SFG incurred in connection with restoring and processing emails from its

backup tapes for production to Minor.

       Minor makes three primary arguments as to why Minor believes cost-shifting is not

appropriate. First, Minor argues that restoration of SFG’s email backup tapes was necessary

because the backup tapes at issue were made during the time period relevant to this litigation

and, therefore, likely contained responsive emails.       However, the issue is not whether the



                                            -6-
Case 10-06112          Doc 1-8       Filed 09/13/10 Entered 09/13/10 11:15:41                     Desc Motion
                                     to Remand Page 298 of 301




requested emails are responsive to Minor’s discovery requests or generally discoverable in this

litigation, but rather which party should appropriately bear the costs for accessing those emails.

Again, Reheis is instructive in this regard, as the Court of Appeals recognized that the requested

special report was discoverable, but still ordered the requesting party to bear the costs of its

creation and production. Reheis, 268 Ga. App. at 564-65.

        Second, Minor argues that cost-shifting is not appropriate because it was impossible for

the Minor to know what responsive emails existed on the backup tapes without first restoring

them. This argument likewise does not weigh against cost-shifting. SFG advised Minor of its

belief (and reasons for this belief) that restoration of the backup tapes was not likely to yield a

significant number of significant discoverable emails that Minor did not already have in its

possession or were not otherwise available from other sources, and SFG also advised Minor that

SFG would seek reimbursement for the costs of this process. Even so, Minor requested that SFG

move forward with the process. Minor accepted the risk that the backup tape restoration would

not yield a significant number of relevant emails, and Minor cannot now seek to avoid paying

SFG’s costs because the process yielded fewer emails than Minor had expected.3

        Finally, Minor argues that cost-shifting is not appropriate because restoration of the

backup tapes was only necessary as a result of SFG’s failure to preserve emails in its system, and

that SFG should have taken steps to prevent responsive emails from being deleted from SFG’s

active email server. While the parties dispute when their respective obligations to preserve

evidence began,4 it is not necessary for the Court to resolve this issue to decide SFG’s Motion.

Because SFG’s archive server included copies of all emails still on the active server as of May

    3
       It is also worth noting that this is not a case where Minor was aware of a specific document that it believed
should have existed, but did not appear in SFG’s document production. In fact, Minor did not wait until SFG had
completed its document production before requesting SFG to undertake the backup tape restoration process.
     4 Minor asserts that SFG should have reasonably anticipated litigation in April 2008, one month before SFG

transitioned from backup tapes to its archive server, while SFG disputes Minor’s contention.


                                                   -7-
Case 10-06112           Doc 1-8       Filed 09/13/10 Entered 09/13/10 11:15:41                     Desc Motion
                                      to Remand Page 299 of 301




2008, and also included certain emails from April 2008 as a result of the transition in SFG’s

backup system, it is unlikely that many, if any, emails would have been deleted by SFG during

the one month that Minor claims SFG failed to preserve emails. Moreover, there is no evidence

in the record that any SFG employees intentionally deleted emails during this limited timeframe

for the purpose of preventing their use in this litigation.5

         In addition to the guidance provided by Reheis, the Court is also aware of, and the parties

have briefed, the federal case law regarding apportionment of costs for restoration of backup

tapes, including Zubulake v. UBS Warburg LLC, 217 F.R.D. 309 (S.D.N.Y 2003) and its

progeny. Under Zubulake, the central question for the Court to determine is whether the request

for production of documents from inaccessible sources imposes an “undue burden or expense”

on the responding party. Id. at 322. Zubulake sets forth seven factors for a court to consider in

answering this central question, including:

         1.       The extent to which the request is specifically tailored to discover relevant
                  information;
         2.       The availability of such information from other sources;
         3.       The total cost of production, compared to the amount of controversy;
         4.       The total cost of production, compared to the resources available to each
                  party;
         5.       The relative ability of each party to control costs and its incentive to do so;
         6.       The importance of the issues at stake in the litigation; and
         7.       The relative benefits to the parties of obtaining the information.

         Id. While the Court is not required to follow this federal case law, the Court has

reviewed the analysis advocated in Zubulake, including the factors set forth above. Applying

that analysis to this case would not dictate a different result.

    5
       As explained by SFG at the March 19, 2010 hearing, SFG’s transition from backup tapes to archive server in
May 2008 was part of SFG’s normal business operations and was not related to this lawsuit. Moreover, this
transition resulted in more, rather than less, emails being accessible to SFG. Specifically, and as noted above, prior
to May 2008, certain of SFG’s emails would have only been available on backup tape, while after the installation of
SFG’s archive server in May 2008, all emails were available for review and production without having to restore
backup tapes. SFG searched these emails on its archive server and produced them to Minor at a significant cost -- a
cost that SFG does not seek to recover from Minor in its Motion.



                                                   -8-
Case 10-06112       Doc 1-8    Filed 09/13/10 Entered 09/13/10 11:15:41            Desc Motion
                               to Remand Page 300 of 301




III.   Conclusion

       Based on the Court of Appeals’ guidance in Reheis, the reasons set forth above, the

pleadings and submissions by the parties, as well as argument presented to the Court at the

March 19, 2010 hearing, and for good cause shown, the Court finds that Minor should bear the

costs associated with SFG’s restoration and processing of emails from its email backup tapes.

With respect to SFG’s request for reimbursement of attorneys’ fees associated with reviewing

the emails restored from the backup tapes, the Court finds no authority that dictates the shifting

of such costs to Minor under these circumstances. Accordingly, SFG’s January 5, 2010 Motion

is GRANTED as to SFG’s request to recover costs associated with SFG’s restoration and

processing of emails from its email backup tapes in the amount of $108,235.50 and DENIED as

to SFG’s request to recover its attorneys’ fees associated with reviewing the emails restored from

its backup tapes.

       Minor is ORDERED to remit payment to SFG in the amount of $108,235.50 by May 3,

2010, which is forty-five (45) days from the date SFG’s Motion was initially ruled upon by the

Court at the March 19, 2010 hearing.

       In addition, after considering the pleadings and submissions by the parties, as well as

argument presented to the Court at the March 19, 2010 hearing, and for good cause shown, IT IS

HEREBY ORDERED that SFG’s Request for Admission No. 2 to Minor is deemed admitted,

pursuant to O.C.G.A. § 9-11-36(a)(3), without waiving Minor’s right to explain why the project

remains uncompleted. Minor reserves all other objections to this Request for Admission.


       SO ORDERED this 20th day of April, 2010.



                                             Susan B. Forsling, Judge
                                             State Court of Fulton County


                                           -9-
Case 10-06112      Doc 1-8    Filed 09/13/10 Entered 09/13/10 11:15:41   Desc Motion
                              to Remand Page 301 of 301




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                                      - 10 -
